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16                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
17                                  SAN FRANCISCO DIVISION
18
     IN RE WELLS FARGO & COMPANY                   Case No. 3:22-cv-05173-TLT
19   CONSOLIDATED DERIVATIVE
     SHAREHOLDER LITIGATION                        SECOND AMENDED CONSOLIDATED
20                                                 STOCKHOLDER DERIVATIVE
                                                   COMPLAINT
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                                                   JURY TRIAL DEMANDED
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 1   I.     NATURE OF THE ACTION
 2          Lead Plaintiffs City of Pontiac Reestablished General Employees’ Retirement System
 3   (“Pontiac”), the City of Plantation Police Officers’ Retirement Fund (“Plantation”), and Amy J. Cook
 4   (together, “Plaintiffs”), by and through their undersigned attorneys, submit this Second Amended
 5   Consolidated Stockholder Derivative Complaint (the “Second Amended Complaint”) against certain
 6   current and/or former members of the Board of Directors (the “Board”) and/or executive management of
 7   Wells Fargo & Company (“Wells Fargo” or the “Company”) for breaches of fiduciary duty and related
 8   causes of action in connection with their failure to meaningfully monitor Wells Fargo’s discriminatory
 9   lending and hiring practices.
10          Pursuant to the Court’s Order Granting-In-Part And Denying-In-Part Defendants’ Motions To
11   Dismiss (ECF No. 176), this Second Amended Complaint amends the prior complaint solely to (1) add a
12   sub-section in the Demand Futility section alleging that a demand on the Director Defendants would have
13   been futile with respect to claims against Officer Defendants Scott Powell, Carly Sanchez, and Kleber
14   Santos under Section 10(b), Rule 10b-5, and Section 20(a) for misstatements relating to discriminatory
15   hiring practices (see Order, ECF No. 176 at 49, §(6)), and (2) remove all other claims that the Court
16   dismissed with or without prejudice.
17          Except for the allegations specifically pertaining to Plaintiffs, which are based upon Plaintiffs’
18   personal knowledge, the allegations in the Second Amended Complaint are based upon the investigation
19   conducted by Plaintiffs’ counsel, which included, among other things, a review of filings made with the
20   U.S. Securities and Exchange Commission (“SEC”); review of internal Company documents provided
21   by Wells Fargo in connection with a books-and-records demand pursuant to title 8, section 220 of the
22   Delaware General Corporation Law, 8 Del. C. § 220 (“Section 220” or “§ 220”); review of internal
23   company documents produced in other litigation involving Wells Fargo; California Corporations Code
24   § 1600 et seq.; interviews by Plaintiffs’ counsel’s investigators of former Wells Fargo employees with
25   first-hand knowledge of the Company’s business practices and operations; and counsel’s review of filings
26   in other lawsuits, press releases, news reports, and other publicly available documents. Counsel believe
27   discovery will elicit further evidentiary support for Plaintiffs’ allegations.
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 1   II.    INTRODUCTION

 2          1.      Plaintiffs bring this consolidated action derivatively on behalf of Wells Fargo and against

 3   the Individual Defendants for breaching their fiduciary duties of oversight (Count One); against all

 4   Defendants under Section 10(b) of the Exchange Act for making or causing the Company to make

 5   materially false and misleading statements (Count Two); against the Individual Defendants under Section

 6   20(a) of the Exchange Act as “controlling persons” of the Company (Count Three); and against Defendant

 7   Santos for violating Section 20A of the Exchange Act by engaging in insider stock sales (Count Four).

 8   These narrowly focused claims all arise out of the actions of the Board and senior officers, who publicly

 9   denied (or proclaimed to be addressing) Wells Fargo’s discriminatory lending and hiring practices, while

10   knowingly or recklessly failing to actually do so. These discriminatory practices have affected a

11   significant number of borrowers and job applicants and caused Wells Fargo to endure costly regulatory

12   scrutiny, class action litigation, and reputational harm, among other damages.

13          2.      Defendants’ failure to cure the deficiencies in Wells Fargo’s internal controls, including a

14   failure to monitor for discriminatory impact, is a third rail for its business model and for the country. For

15   millions of Americans, an important key to obtaining fair housing and creating lasting wealth is having

16   an equal opportunity to apply for a mortgage. Similarly, equal access to employment requires the

17   opportunity for a legitimate job interview.        Regrettably, however, discrimination against Black

18   Americans and other minority groups in the business world—including the market for mortgages and

19   jobs—is nothing new. While unequal, unfair, and exclusionary practices date back centuries, laws have

20   been on the books for more than 50 years providing for equal access to opportunities to obtain credit and

21   employment. This includes laws like the Fair Housing Act of 1968, the Equal Credit Opportunity Act of

22   1974, and the Civil Rights Acts of 1866, 1964, and 1991, among others—passed to ensure that the

23   discriminatory practices that existed for generations would no longer be tolerated.

24          3.      The evidence of widespread and systematic discrimination in lending by this Company

25   has had significant repercussions. Wells Fargo is consistently ranked among the three largest mortgage

26   lenders in the United States. In 2019, the Company was America’s top lender with $201.8 billion in

27   volume that year. Wells Fargo is also one of American’s largest corporate employers, consistently

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 1   employing more than 200,000 people. As one of the nation’s largest lenders and employers, Wells Fargo

 2   and its Board have an obligation to put in place and monitor internal controls to ensure that the Company

 3   operates within the boundaries of U.S. laws as they pertain to its lending and hiring practices. Its failure

 4   to do so has changed lives and fortunes of qualified and deserving individuals.

 5             4.   Wells Fargo’s Board of Directors (the “Board”) and senior management have a duty to be

 6   aware of laws that govern the Company’s core business—which includes lending and diverse hiring—

 7   and to ensure that the Company and its employees actually follow those laws. This duty not only arises

 8   under established federal law, but also under corporate law. As a Delaware corporation, the Board of

 9   Wells Fargo owes fiduciary duties, including a duty of oversight, to affirmatively monitor and control the

10   Company’s compliance with legal obligations—especially when it comes to “mission-critical” legal and

11   compliance risks. This issue is particularly acute for Wells Fargo since in February 2018 the Federal

12   Reserve placed a crippling asset cap on Wells Fargo due to its weak internal controls. To be sure, the

13   longer Wells Fargo takes to convince the Federal Reserve that it has effective internal controls over

14   critical enterprise risks the Federal Reserve will keep the asset cap in place.

15             5.   It is this area—oversight and monitoring of core legal risk related to discriminatory

16   lending and diverse hiring—where Wells Fargo’s Board has breached its duties, and why Plaintiffs, long-

17   term Wells Fargo stockholders, have filed this action to hold the Board and senior management

18   accountable to the Company and its stockholders. As set forth herein, the fourteen Director Defendants

19   in this action ignored repeated red flags in these mission critical areas of compliance over a multi-year

20   period.

21             6.   The failures, omissions, and misrepresentations of the Defendants in this action are framed

22   by events of the recent past. On February 3, 2018, the Federal Reserve Board issued a Consent Order

23   which placed a $1.93 trillion asset cap on the Company. This cap has limited the Company’s development

24   and any subsequent investigations or lawsuits, especially those with serious consequences such as those

25   that have been filed related to discriminatory hiring and lending, will hamper the Company’s future

26   growth as well by increasing the length the Company could be subject to the asset cap, or worse still

27   resulting in the imposition of even stricter penalties by regulators.

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 1          7.      Months after Defendant Scharf’s October 21, 2019 appointment as CEO, U.S. House of

 2   Representatives Maxine Waters and Al Green submitted a detailed 74-page Report Prepared by the House

 3   Majority Staff of the Committee on Financial Services, titled “The Real Wells Fargo: Board &

 4   Management Failures, Consumer Abuses, and Ineffective Regulatory Oversight” on March 4, 2020. This

 5   report was a scathing indictment of Wells Fargo’s discriminatory policies in lending and hiring.

 6   Following the report, Wells Fargo’s directors and officers were on notice that preventing discriminatory

 7   hiring and lending was a mission critical issue for the Company.

 8          8.      In direct response to this report, just twelve days later on March 16, 2020, Wells Fargo

 9   implemented its “Diverse Search Requirement,” a process mandating that: (a) at least half of the

10   candidates interviewed for open jobs with a salary over $100,000 be diverse (a “diverse slate”); and (b)

11   an interviewer on the hiring panel represent at least one diversity dimension. CEO and Defendant Scharf

12   was personally in charge of the Diverse Slate program. The Board’s Human Resources Committee

13   (“HRC”) had direct oversight responsibility over the program. At the same time Wells Fargo falsely

14   stated in its SEC filings that it was “dedicated to recruitment and career development practices that

15   support our employees and promote diversity in our workforce at all levels of our Company, including

16   leadership positions.”

17          9.      Rather than focus its efforts on combating discrimination Defendants began a public

18   relations campaign to make it appear the Company had actually taken meaningful steps to address its

19   historic lending and hiring discrimination. This public-facing campaign was not consistent with the

20   Company’s actual efforts and was intended to mollify stakeholders, not engage in meaningful reform.

21          10.     Management lavishly compensated themselves for these publicly-touted “DEI” efforts.

22   For example, in the Company’s March 14, 2022 Proxy, “[t]he Board determined that Mr. Scharf’s

23   individual performance achievement level [in 2021] was 121%,” based on the premise that “Mr. Scharf

24   exhibited strong leadership in driving key initiatives” including “increased diverse representation . . . . .”

25   Ultimately, Scharf was awarded $22 million in “variable incentive compensation” in 2021. He was not

26   alone. Wells Fargo’s proxy statements disclose that the Company awarded tens of millions of dollars to

27   multiple corporate insiders for their work, including their (alleged) progress on DEI initiatives.

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 1          11.     While Wells Fargo was rewarding senior management for achievements in diversity,

 2   internal reports and whistleblowers told a different story about the progress of Wells Fargo’s DEI

 3   programs and efforts to ensure compliance with fair lending laws. In 2020, for example, Wells Fargo

 4   was the only major lender to reject more refinancing applications from Black homeowners than it

 5   accepted. In contrast, other lenders approved 74% of all Black refinancing applications. In addition,

 6   Wells Fargo was the only major lender to approve a smaller share of refinancing applications from Black

 7   homeowners in 2020 than it did a decade earlier in 2010.

 8          12.     On February 18, 2021, Phillip Miller, an “external job applicant,” sent an “email to Wells

 9   Fargo’s Board of Directors” where he “complain[ed] that he experienced discrimination in the form of

10   racist and offensive statement[s] directed toward him by the hiring manager of a position he applied for

11   on 9/28/20 when the Wells Fargo manager told Miller ‘you don’t sound black’” and after which “a white

12   female was selected for the position.”

13          13.     On May 6, 2021, six Wells Fargo employees with PhDs published an article titled Bias,

14   Fairness, and Accountability with AI and ML Algorithms on arXiv (the “May 2021 Article”). Wells

15   Fargo employees well-positioned to understand whether the Company’s lending algorithm resulted in

16   disparate impact towards minorities wrote the May 2021 Article and set forth the reasons lending

17   algorithms, if not appropriately monitored, can result in digital redlining. The Board did not even bother

18   to discuss the article at a single board or committee meeting.

19          14.     On September 7, 2021, whistleblower Joseph Bruno, a former Wells Fargo executive in

20   the wealth management division, sent an email to over 250 Wells Fargo employees, including four senior

21   Wells Fargo officers at the time: Scharf (CEO), Scott Powell (SVP and COO), Kleber Santos (“Santos”)

22   (then-Head of Diverse Segments, Representation and Inclusion), and Mary Mack (CEO of Consumer and

23   Small Business Banking), raising concerns regarding Wells Fargo’s practice of conducting sham

24   interviews to comply with the Company’s diverse hiring initiative.         Despite the email’s obvious

25   importance, due to Wells Fargo’s weak internal controls, it was never provided to the full Board.

26          15.     On February 17, 2022, a class action lawsuit was against Wells Fargo in the Northern

27   District of California on behalf of loan applicants who suffered racial and ethnic discrimination when

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 1   applying for home loans and refinancing and were either denied or received higher interest rates compared

 2   to similarly situated White borrowers (the “Mortgage Discrimination Class Action”).

 3          16.     On March 11, 2022, Bloomberg conducted an analysis of public housing data showing

 4   that Wells Fargo—a behemoth in the mortgage world—was a significant outlier among its peers (JP

 5   Morgan Chase & Co., Citigroup Inc., and Bank of America) in terms of originating mortgages to Black

 6   and Hispanic Americans. Bloomberg’s analysis also found that in 2020, Wells Fargo was the only major

 7   lender in 2020 to reject more refinancing applications from Black homeowners than it accepted: only

 8   47% of Black and 53% of Hispanic homeowners who completed refinance applications were approved,

 9   compared with 72% of White homeowners. In contrast, other lenders approved 74% of all Black

10   refinancing applications. Perhaps most surprising, this disparity appeared to be part of a near decade-

11   long trend as Wells Fargo was the only major lender to approve a smaller share of refinancing applications

12   from Black homeowners in 2020 than it did ten years earlier in 2010.

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 1            17.     Bloomberg also found that Wells Fargo granted a higher percentage of loans to White

 2   applicants with yearly incomes below $63,000 than to Black applicants with yearly incomes between

 3   $120,000 and $168,000.

 4            18.     As set forth herein, internal Company documents produced in the Mortgage

 5   Discrimination Class Action demonstrate that Bloomberg’s analysis was confirmed to be accurate, “on

 6   the nose . . . like 100%,” by Wells Fargo’s data analytics team.

 7            19.     The data above is even more striking when viewed alongside internal Board-level

 8   documents that Plaintiffs have obtained, pursuant to Delaware law, prior to filing suit. Specifically,

 9   according to the Company’s April 2022 meeting minutes and presentation materials, upon learning of

10   Bloomberg’s March 2022 reports, Wells Fargo’s Head of Home Lending admitted that the Bloomberg

11   article was “factually accurate” and that “mistakes were made with respect to stakeholder engagement

12   following publication of the [Bloomberg] article.” 1 Defendant Scharf agreed that “mistakes . . . were

13   made [by the Company] in the ordinary course.” “Scharf [also] noted the reasons the Company did not

14   conduct sufficient stakeholder engagement early on, including because the Company did not have all

15   necessary data until recently.”

16            20.     These same meeting minutes admitted Wells Fargo needed “to address” the Company’s

17   “approval gap” as to “African American (AA) approval rates” and confirmed that the “approval gap”

18   between “African American” and “White, Non-Hispanic” applicants—which the Company also called

19   its “Denial Rate Gap”—exceeded 24% in 2020 and 21% in 2021 and involved hundreds of thousands of

20   applications.

21            21.     On March 18, 2022, Senator Sherrod Brown announced that he, joined by Senators Dick

22   Durbin, Tina Smith, Raphael Warnock, Elizabeth Warren, Ron Wyden, Jon Ossoff, Jeff Merkley, Alex

23   Padilla, Bernie Sanders, and Mark Warner had sent a letter to the Department of Housing & Urban

24   Development (“HUD”) and Consumer Financial Protection Bureau (“CFPB”) to request a review of

25   Wells Fargo’s mortgage loan refinance processes amid concerns and reporting that suggested Black and

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         All emphasis is added unless otherwise noted.
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 1   Hispanic borrowers were less likely to be approved for refinance loans in 2020 as interest rates hit record

 2   lows.

 3           22.    Despite Bloomberg’s “factually accurate” findings and the Company’s acknowledgment

 4   of its “Denial Rate Gap,” for nearly a decade Wells Fargo’s Board was not monitoring this issue prior to

 5   the Bloomberg investigation. Indeed, as internal documents produced in the Mortgage Discrimination

 6   Class Action show, disparate impact towards minorities has been a long-standing problem: “since about

 7   2013 we have gotten progressively worse . . . . this is a systemic [Wells Fargo] policy issue . . . . [w]hen

 8   we only prioritize non confirming loans and the most affluent/profitable customers . . . . we shouldn’t

 9   be overly surprised by the results.”

10           23.    In August 2020, following a 12-month business unit review presented to the Board’s Risk

11   Committee, in discussing “current and emerging Fair Lending Issues and Trends,” the Company

12   concluded that “monitoring activities had not identified any systematic fair lending risk”; that “control

13   effectiveness has improved”; and that “fair lending Compliance . . . provides challenge to business

14   controls as isolated risks are identified.” But isolated discussions about fair lending risk are hardly the

15   same as active and routine monitoring of fair lending compliance. Nearly eighteen months went by before

16   another fair lending discussion occurred at the Board level. By then, the Bloomberg article was already

17   in the works and Wells Fargo knew it because reporters contacted the Company seeking pre-publication

18   comment. At all times the Board should have been aware of the potential that Wells Fargo’s lending

19   policies and practices resulted in disparate impact towards minorities, and should have implemented a

20   serious, good faith monitoring program to consistently track this issue. For nearly a decade, they failed

21   to do so.

22           24.    The Board’s failure to correct these significant issues continues today.          After the

23   Bloomberg article was published, on April 25-26, 2022, the Board’s Corporate Responsibility Committee

24   (“CRC”) and full Board held meetings at which the Board discussed Bloomberg’s findings. The minutes

25   do not reflect any consideration of whether the Company’s automated lending systems or algorithm

26   resulted in disparate impact towards minorities, despite the Company’s Head of Home Lending admitting

27   that the Bloomberg article was “factually accurate.”

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 1          25.    On May 3, 2022, shortly before the truth about the fake interviews was revealed,

 2   Defendant Santos, at the time the Head of the Diverse Segments, Representation and Inclusion, sold

 3   22,700 shares of his Wells Fargo stock. Given Santos’ role it is inconceivable that he did not have

 4   material non-public information about the Company’s discriminatory conduct when these stock sales

 5   occurred, which resulted in personal proceeds of more than $1 million.

 6          26.    On May 19, 2022, The New York Times published an article titled “At Wells Fargo, a

 7   Quest to Increase Diversity Leads to Fake Job Interview.”         The article highlighted Mr. Bruno’s

 8   whistleblower allegations, which did not go to the Board. Rather than take the issue seriously, Wells

 9   Fargo embarked on a PR campaign against The New York Times article.

10          27.    At a June 28, 2022 meeting of the HRC, which was attended by Board members Black,

11   Hewitt, Morris and Sargent, the Directors were given a detailed update on the Company’s Diverse Slate

12   program by Santos. During the meeting the Board members were advised that the interview progression

13   rates for Black applicants for job positions with a salary of at least $100,000 were below that of white

14   applicants and the Company as a whole and that Black applicants who applied for positions at Wells

15   Fargo covered by the Diverse Slate Program were only being hired at 50% the rate of white applicants.

16          28.    On June 28, 2022, Congresswoman Maxine Waters (again) wrote a letter to HUD, the

17   Federal Board of Governors of the Federal Reserve System, the Federal Deposit Insurance Corporation

18   (“FDIC”), the CFPB and the Office of the Comptroller of the Currency (“OCC”) regarding Wells Fargo’s

19   unchecked misconduct. Representative Waters urged these agencies to “properly penalize Wells Fargo

20   for its continuous wrongdoing.”

21          29.    On December 11, 2023, CNBC reported that Wells Fargo was under federal investigation

22   by the CFPB for the very same discriminatory practices that came to light years earlier in settlements

23   with the U.S. Department of Justice (“DOJ”) in 2012 and the City of Philadelphia in 2019: offering

24   White borrowers “pricing exceptions,” or discounted interest rates and fees that were not offered to

25   minority borrowers. The federal investigation remains on-going.

26          30.    In addition to state-law breach of fiduciary duty claims, Plaintiffs have alleged violations

27   of Sections 14(a), 10(b), 20(a) and 20(A) of the Exchange Act in connection with false and misleading

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 1   statements about Wells Fargo’s lending and hiring practices. By way of example, Defendant Santos

 2   publicly denied and refuted findings from Bloomberg and The New York Times: “[w]e don’t have

 3   proprietary credit-underwriting models. We follow the guidelines of the GSEs” and “[w]e researched all

 4   the specific hiring-practice allegations” and “could not corroborate these allegations as factual.” These

 5   and other statements were not true.

 6           31.     One cannot square the Company’s external reporting with its internal knowledge,

 7   deliberate misstatements, and failure to monitor for and cure these endemic and serious problems. The

 8   Board’s and senior management’s misconduct was the result of its repeated failures to adopt and

 9   implement robust and effective internal controls over fair lending compliance and the Diverse Search

10   Requirement, both of which were critical enterprise risks facing the Company.

11           32.     The Defendants breached their duty of loyalty to Wells Fargo and acted in bad faith. To

12   date, the Board has taken no steps to hold its members or the Company’s senior executives responsible

13   for the substantial harm caused. Significantly, even though Wells Fargo has one of the broadest executive

14   clawback policies of any publicly-traded company which was implemented in 2021 in the heat of public

15   scrutiny, the HRC, which is responsible for enforcement of the clawback policy, the Company has not

16   taken any action against its executives’ wrongdoing.

17           33.     Plaintiffs did not make a pre-suit litigation demand on the Board because at least half of

18   Wells Fargo’s fourteen directors could not have exercised their independent business judgment in

19   evaluating such a demand. Under applicable Delaware law, a director cannot adequately consider a pre-

20   suit demand if the director faces a substantial likelihood of personal liability in connection with the

21   challenged misconduct. Here, a majority of the Board faced such liability for, among other things,

22   (i) consciously failing to exercise oversight concerning the Company’s discriminatory lending and hiring

23   practices, and (ii) approving false public disclosures. Numerous red flags were waived in front of the

24   Board in the form of whistleblowers, multiple troubling reports to Board committees, congressional

25   reports, prior settlements, news articles, the 2018 Consent Order, the 2020 pre-suit litigation demand, and

26   even an article published by Wells Fargo PhDs. But the Board consciously failed to monitor these issues,

27   precipitating this action.

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 1   III.    JURISDICTION AND VENUE

 2           34.     This Court has jurisdiction over the subject matter of Plaintiffs’ federal securities claims

 3   in accordance with 28 U.S.C. § 1331 and supplemental jurisdiction over Plaintiffs’ state-law breach-of-

 4   fiduciary-duty claims in accordance with 28 U.S.C. § 1367.

 5           35.     This Court has jurisdiction over each of the Defendants because each Defendant is either

 6   a resident of California or otherwise has sufficient minimum contacts with California (or, in the case of

 7   Plaintiffs’ federal securities claims, with the United States as a whole) to render the exercise of

 8   jurisdiction by this Court permissible under California Code of Civil Procedure § 410.10 as well as the

 9   United States and California Constitutions. Additionally, in connection with the misconduct alleged in

10   this Second Amended Complaint, Defendants, directly or indirectly, used the means and instrumentalities

11   of interstate commerce, including the United States mail, interstate telephone communications, and the

12   facilities of the national securities markets.

13   IV.     PARTIES

14           36.     Plaintiff Pontiac is a stockholder of nominal defendant Wells Fargo with current holdings

15   of 8,120 shares. Pontiac has owned Wells Fargo stock continuously since at least January 2019. Pontiac

16   is a citizen of Michigan.

17           37.     Plaintiff Plantation is a stockholder of nominal defendant Wells Fargo with current

18   holdings of 14,710 shares. Plantation has owned Wells Fargo stock continuously since at least July 2019.

19   Plantation is a citizen of Florida.

20           38.     Plaintiff Amy Cook is a current shareholder of Wells Fargo. Plaintiff has continuously

21   held Wells Fargo stock since June 17, 2008, and continues to hold such stock. Plaintiff will hold her

22   shares of Wells Fargo stock through the conclusion of this lawsuit.

23           39.     Nominal Defendant Wells Fargo is a Delaware corporation with its principal executive

24   offices located in San Francisco, and thus is a citizen of Delaware and California. Wells Fargo operates

25   as a diversified financial services company. The Company provides banking, insurance, investments,

26   mortgage, leasing, credit cards, and consumer finance. In 2022, Wells Fargo generated nearly $1.4 billion

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 1   in revenue from its mortgage banking business, nearly another $1.4 billion on lending-related fees, and

 2   $4.35 billion on card fees.

 3          40.     Defendant Steven D. Black (“Black”) has been a Director of Wells Fargo since April

 4   2020 and is the Chair of the Finance Committee. Black is currently the Board Chairman and a member

 5   of the HRC. Black is a citizen of Utah.

 6          41.     Defendant Mark A. Chancy (“Chancy”) has been a Director of Wells Fargo and a

 7   Director of WF Bank since August 2020. Chancy also is a member of Wells Fargo’s Audit Committee

 8   and the Finance Committee. Chancy is a citizen of Georgia.

 9          42.     Defendant Celeste A. Clark (“Clark”) has been a Director of Wells Fargo and a Director

10   of WF Bank since January 2018 and is the Chair of the Corporate Responsibility Committee (“CRC”) of

11   the Wells Fargo Board. Clark also is a member of the Governance & Nominating Committee of the Wells

12   Fargo Board. Clark is a citizen of Michigan.

13          43.     Defendant Theodore F. Craver, Jr. (“Craver”) has been a Director of Wells Fargo and

14   a Director of WF Bank since January 2018 and is the Chair of the Audit Committee of the Wells Fargo

15   Board. Craver also is a member of the Finance Committee and the Governance & Nominating Committee

16   of the Board. Craver is a citizen of California.

17          44.     Richard K. Davis (“Davis”) has been a Director of Wells Fargo since April 2022. Davis

18   has been a member of the Risk Committee. Davis is a citizen of Minnesota.

19          45.     Defendant Wayne M. Hewett (“Hewett”) has been a Director of Wells Fargo since

20   January 2019. Hewett has also been member of the Risk Committee, the HRC and the Governance &

21   Nominating Committee. Hewett is a citizen of Florida.

22          46.     Defendant Donald M. James (“James”) was a Director of Wells Fargo between 2009 and

23   2020. James was a member of the HRC including during the period 2018 to 2020. James is a citizen of

24   California.

25          47.     Defendant Cecelia G. Morken (“Morken”) has been a Director of Wells Fargo since

26   2022. Morken has also been a member of the CRC. Morken is a citizen of California.

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 1          48.    Defendant Maria R. Morris (“Morris”) has been a Director of Wells Fargo and a Director

 2   of WF Bank since January 2018 and is the Chair of the Risk Committee of the Wells Fargo Board. Morris

 3   also is a member of the HRC. Morris is a citizen of New York.

 4          49.    Defendant Felicia F. Norwood (“Norwood”) has been a Director of Wells Fargo since

 5   April 2022. Norwood has also been a member of the Risk Committee. Norwood is a citizen of Indiana.

 6          50.    Defendant Charles H. Noski (“Noski”) was a Director of Wells Fargo between 2019 and

 7   2021. Noski served as Board Chairman and on the Audit Committee. Noski is a citizen of Connecticut.

 8          51.    Defendant Richard B. Payne, Jr. (“Payne”) has been a Director of Wells Fargo since

 9   October 2019 and a Director of WF Bank since 2020. Payne also is a member of the Risk Committee

10   and the Chair of the Credit Subcommittee of the Wells Fargo Board. Payne is a citizen of North Carolina.

11          52.    Defendant Scott E. Powell (“Powell”) has been the Senior Executive Vice President and

12   Chief Operating Officer (“COO”) of Wells Fargo since 2019. He also serves on the Wells Fargo

13   Operating Committee.

14          53.    Defendant Juan A. Pujadas (“Pujadas”) was a Director of Wells Fargo between 2017

15   and 2022. Pujadas served on the Risk Committee and Finance Committee. Pujadas is a citizen of

16   California.

17          54.    Defendant Carly Sanchez (“Sanchez”) is a Senior Executive in Human Resources at

18   Wells Fargo. From 2013 to 2022, Sanchez was VP, Talent Acquisition, AA/EEO, Diversity Recruiting

19   at the Company. Sanchez is a citizen of Texas.

20          55.    Defendant Kleber R. Santos (“Santos”) has been Senior Executive Vice President and

21   CEO of Consumer Lending and a member of the Operating Committee at Wells Fargo since July 2022.

22   Santos is responsible for consumer lending products and services, including Home Loans, Auto Loans,

23   Personal Lending, Credit Cards, Retail Services, and Merchant Services. Previously, between November

24   2020 and July 2022, Santos was Head of the Diverse Segments, Representation and Inclusion group—a

25   role in which Santos reported directly to CEO Charles Scharf, and served on the Company’s Operating

26   Committee. Santos is a citizen of Washington, D.C.

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 1          56.     Defendant Ronald L. Sargent (“Sargent”) has been a Director of Wells Fargo since

 2   February 2017 and is the Chair of the HRC. Sargent also is a member of the Audit Committee and a

 3   member of the Governance & Nominating Committee.

 4          57.     Defendant Charles W. Scharf (“Scharf”) has been the CEO and President of Wells Fargo

 5   and WF Bank and a Director of Wells Fargo and WF Bank since October 2019. The head of the

 6   Company’s Diverse Segments, Representation and Inclusion Group (Defendant Santos) reported directly

 7   to Scharf. Scharf is a citizen of New York.

 8          58.     Defendant Suzanne M. Vautrinot (“Vautrinot”) has been a Director of Wells Fargo since

 9   February 2015 and is a member of the CRC and a member of the Risk Committee. Vautrinot is a citizen

10   of Colorado.

11          59.     Collectively, Defendants Black, Chancy, Clark, Craver, Davis, Hewett, James, Morken,

12   Morris, Norwood, Noski, Payne, Powell, Pujadas, Sanchez, Santos, Sargent, Scharf, Vautrinot, and are

13   referred to herein as the “Individual Defendants.”

14          60.     Collectively, Defendants Black, Chancey, Clark, Craver, Davis, Hewett, Morken, Morris,

15   Norwood, Payne, Sargent, Scharf, and Vautrinot are referred to herein as the “Demand Defendants.”

16          61.     Collectively, Defendants Black, Chancy, Clark, Craver, Davis, Hewett, James, Morken,

17   Morris, Norwood, Noski, Payne, Pujadas, Sargent, Scharf, and Vautrinot are referred to herein as the

18   “Director Defendants.”

19   V.     PROCEDURAL HISTORY OF PLAINTIFFS’ INVESTIGATIONS THROUGH
            TWO BOOKS-AND-RECORDS PROCEEDINGS
20

21          62.     As part of Plaintiffs’ pre-suit investigation, Plaintiffs, through counsel, sought and

22   obtained inspection of certain books and records of the Company in California pursuant to California

23   Corporations Code § 1600 et seq. and in separate proceeding in Delaware state court pursuant to Section

24   220 of the Delaware General Corporation Law. These books and records, taken together, included nearly

25   7,000 pages of Board-level documents, including meeting minutes and presentation materials, from the

26   Company. The categories of documents that Wells Fargo agreed to search and produce were described

27   by Wells Fargo’s counsel as follows:

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                 Wells Fargo & Co. agrees to search formal Board materials for the full Board and for the
 1               [HRC] between January 1, 2020 and the date of the demand, and produce non-privileged
 2               material that concerns:

 3               •     Discrimination in home lending, including mortgage refinancing;

 4               •     Hiring and promotion practices and policies related to increasing workforce diversity,
                       including any materials relating to the Diverse Slates Guidelines; and
 5
                 •     Discrimination in hiring and promotion;
 6

 7               Wells Fargo also agrees to produce the Diverse Slates Guidelines and conduct a reasonable
                 search for other relevant company-wide policies.
 8

 9               63.      Plaintiffs’ first Section 220 demand was made on August 29, 2022, by another institutional

10   stockholder, City of Hartford Municipal Employees Retirement Fund. 2 After producing thousands of

11   pages of documents, on March 17, 2023, Wells Fargo’s counsel sent Plaintiffs’ counsel a letter

12   representing that “[b]arring any small clean-up production(s) that may result from our final quality control

13   checks, Wells Fargo’s production in this matter is now complete.” 3 On May 12, 2023, Wells Fargo’s

14   counsel again confirmed the “Completeness of Wells Fargo’s Production.” 4 Because Wells Fargo

15   agreed to produce Board-level materials regarding discriminatory lending and hiring practices, and has

16   since certified its production’s substantial completion, Plaintiffs are entitled to a pleading-stage inference

17   that the Board never discussed the Company’s discriminatory lending or hiring practices outside of the

18   materials produced. 5

19
     2
20       Ex. A
     3
         Ex. B at 2.
21
     4
      Ex. C at 4. On June 9, 2023, Plaintiff Plantation made a further Section 220 demand on Wells Fargo,
22   which the Company responded to on June 26, 2023, and September 8, 2023, by producing additional
     documents. See Ex. D; Ex. E; Ex. F.
23   5
       See, e.g., Ontario Provincial Council of Carpenters’ Pension Tr. Fund v. Walton, 2023 WL 3093500,
24   at *4 (Del. Ch. Apr. 26, 2023) (“Walmart represented that its Section 220 production was complete, so
     when there are no indications of non-privileged discussions, the plaintiffs are entitled to an inference that
25   the discussions and decisions did not occur.”); In re China Agritech, Inc. S’holder Litig., 2013 WL
     2181514, at *58 (Del. Ch. May 21, 2013) (plaintiffs entitled to inference of bad faith due to complete
26
     lack of minutes discussing financial reporting discrepancies); In re Boeing Co. Deriv. Litig., 2021 WL
27   4059934, at *32 (Del. Ch. Sept. 7, 2021) (sustaining oversight claims based on, inter alia, the “lack
     of…any board minutes or documents suggesting that [the Board] regularly discussed safety”).
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 1          64.     On June 9, 2023, Plaintiff Plantation made a further Section 220 demand on Wells Fargo,

 2   which the Company responded to on June 26, 2023, and September 8, 2023, by producing additional

 3   documents. See Ex. D; Ex. E; Ex. F. On September 8, 2023, Defendant indicated it had completed its

 4   production.

 5          65.     Wells Fargo’s books and records, along with other information obtained by Plaintiffs

 6   through their investigation, evidence the fact that Wells Fargo’s Board failed to live up to its fiduciary

 7   duties to (1) engage in meaningful and effective oversight; and (2) fail to act on red flags relating to the

 8   Company’s systematic discriminatory lending and hiring practices.

 9   VI.    SUBSTANTIVE ALLEGATIONS

10          A.      Background on Wells Fargo

11          66.     Wells Fargo is a registered bank holding company that is incorporated in Delaware and

12   headquartered in San Francisco, California. The Company was founded on March 18, 1852, and, through

13   internal growth and a variety of mergers and acquisitions, including a merger with Wachovia Corporation

14   in 2008, has grown into one of the largest financial institutions in the U.S.

15          67.     Wells Fargo ranked 41st on Fortune’s 2022 rankings of America’s largest corporations

16   and, as of June 2023, had a market capitalization of more than $150 billion. Wells Fargo’s revenue in

17   2022 exceeded $74 billion.

18          68.     The Company consistently ranks as one of the largest employers in the U.S. and has more

19   than 250,000 employees operating out of more than 7,000 locations.

20          69.     Wells Fargo wholly owns and controls WF Bank, headquartered in Sioux Falls, South

21   Dakota. WF Bank is the fourth largest bank in the U.S. by total assets. Together with JPMorgan Chase,

22   Bank of America, and Citigroup, WF Bank is one of the “Big Four Banks” of the United States, with

23   approximately $1.9 trillion in assets as of the end of 2022.

24          70.     Wells Fargo has one of the largest consumer banking footprints in the country and is

25   consistently among the three largest mortgage lenders in the United States. It also is among the largest

26   lenders providing auto loans and other types of consumer lending. Overall, Wells Fargo provides some

27   type of financial services to nearly one-third of all U.S. households.

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                 B.    Wells Fargo’s Lending Practices Discriminate Against Minority
 1                     Borrowers
 2
                        1.    Mortgage Lenders in the United States Have a Long History of
 3                            Discriminating Against Minorities

 4               71.   Homeownership is the primary source of wealth for American householders. 6 A 2022
 5   study by the National Association of Realtors found that the average homeowner who purchased a single-
 6   family home in 2012 would have built $225,000 in home-equity over the next ten years. 7
 7               72.   Empirical data demonstrates that homeownership confers a myriad of benefits that are
 8   passed down generationally. Harvard University’s Joint Center for Housing Studies found that “children
 9   of homeowners have better home environments, high[er] cognitive test scores, and fewer behavior
10   problems than do children of renters.” 8 Children of owners were found to have “math scores up to nine
11   percent higher, reading scores up to seven percent higher, and reductions in children’s behavior problems
12   of up to three percent.” 9 This was true even after controlling for a multitude of economic, social, and
13   demographic variables. 10 In other words, on average, children of homeowners are better off than children
14   of renters even if their parents have similar salaries, backgrounds, and education. 11
15               73.   The United States has a well-documented history of systematically denying
16   homeownership and the benefits it confers to Black Americans through a process known as “redlining.”12
17   The term “redlining” originates from federal government programs instituted in the wake of the Great
18   Depression through which the government insured certain qualifying mortgages in an effort to lift
19
     6
      Scholastica Coraton, Single-family Homeowners Typically Accumulated $225,000 in Housing Wealth
20   Over 10 Years, NAT’L ASSN. OF REALTORS, (Jan. 7, 2022), https://www.nar.realtor/blogs/economists-
21   outlook/single-family-homeowners-typically-accumulated-225K-in-housing-wealth-over-10-years.
     7
         Id.
22   8
       Donald R. Haurin, Toby L. Parcel, & R. Jean Haurin, The Impact of Homeownership on Child
23   Outcomes, JOINT CENTER FOR HOUSING STUDIES OF HARVARD UNIV. (Oct. 2001),
     https://www.jchs.harvard.edu/sites/default/files/liho01-14.pdf.
24   9
         Id.
25   10
          Id.
26   11
          Id.
     12
27      See, e.g., Candace Jackson, What is Redlining, NEW YORK TIMES, (Aug. 17, 2021),
     https://www.nytimes.com/2021/08/17/realestate/what-is-redlining.html.
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 1   individuals out of poverty through homeownership. 13 The federal government, in coordination with

 2   banks and local real estate agents, drew color-coded maps of neighborhoods, ranking them on a scale

 3   from least-risky to most-risky, and drawing neighborhoods deemed most-risky in red. 14 The government

 4   used these maps to determine whether or not to guarantee loans; banks used these maps to determine

 5   whether or not to give loans. 15 Banks typically denied credit, or extended credit on much worse terms,

 6   to applicants living in red-drawn neighborhoods. 16 Due to an explicitly racially-discriminatory formula,

 7   neighborhoods in which Black or other minority citizens lived were virtually always drawn in red, and

 8   Black and minority American families were thus denied the benefits of homeownership while White

 9   citizens were given the opportunity to build generational wealth through homeownership. 17

10               74.   In the first half of the twentieth century, racially restrictive covenants were commonly

11   found in housing deeds that forbid the purchase, lease, or occupation of a house to Black Americans.18

12   These covenants were often used as an excuse by lenders to deny mortgages to Black applicants. 19

13               75.   The lasting impact of historical redlining has been documented by economists at the

14   Federal Reserve Bank of Chicago, who found that neighborhoods drawn in red in the 1930s continue to

15   have lower homeownership rates, lower home values, and residents with lower credit scores. 20

16   Economics professors Robert Margo and William Collins found that the gap in homeownership between

17   Black and White Americans has changed very little over the last century, which helps to explain the

18   13
          Id.
19   14
       Khristopher J. Brooks, Redlining’s legacy: Maps are gone, but the problem hasn’t disappeared, CBS
     NEWS, (last updated June 12, 2020), https://www.cbsnews.com/news/redlining-what-is-history-mike-
20   bloomberg-comments/.
21   15
       City of New York, A brief history of redlining,                       (Jan.    6,   2021),   https://a816-
     dohbesp.nyc.gov/IndicatorPublic/beta/data-stories/redlining/.
22   16
          Id.
23   17
          Id.
24   18
        Russell Fowler, The Ugly History of Redlining: A Federal Policy ‘Full of Evil’, TENN. BAR ASS’N,
     (Jan. 1, 2023), https://www.tba.org/?pg=Articles&blAction=showEntry&blogEntry=85873.
25
     19
          Id.
26   20
       Emily Badger, How Redlining’s Racist Effects Lasted for Decades, NEW YORK TIMES, (Aug. 24,
27   2017), https://www.nytimes.com/2017/08/24/upshot/how-redlinings-racist-effects-lasted-for-
     decades.html?action=click&module=RelatedLinks&pgtype=Article.
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 1   enduring wealth gap between White and Black Americans that has actually continued to widen in recent

 2   decades. 21

 3               76.    In 2016, according to a report commissioned by the National Association of Real Estate

 4   Brokers (“NAREB”), the homeownership rate for Black Americans today is lower than the national rate

 5   during the Great Depression years of the 1930s. 22

 6               77.    In addition to illegal redlining, regulators have long been focused on the practice of

 7   discriminatory pricing exceptions where discounted lending rates are offered to White borrowers but not

 8   also (or equally) extended to minority borrowers. As the CFPB explained in December 2021, bank

 9   examiners acknowledged that this discriminatory practice exists within the banking industry:

10               Examiners found fair lending violations
11               CFPB examiners identified several violations of the Equal Credit Opportunity Act
12               (ECOA) by mortgage lenders. The examination team found that mortgage lenders
                 discriminated against African American and female borrowers in the granting of pricing
13               exceptions, compared to non-Hispanic white and male borrowers.

14               Specifically, examiners found lenders lacked oversight and control over how mortgage
                 loan officers granted pricing exceptions to customers. Examiners identified lenders with
15               statistically significant disparities for incidences of pricing exceptions for African
16               American and female applications compared to similar non-Hispanic white and male
                 borrowers.
17
                 CFPB examiners also found that lenders improperly considered small business applicants’
18               religion in their credit decisions. For religious institutions applying for small business
                 loans, some lenders improperly utilized a questionnaire that contained explicit inquiries
19
                 about an applicant’s religion. 23
20
                 78.    Notably, nearly a decade before the CFPB identified the violations referenced above, the
21
     banking industry was on notice that pricing exceptions unfairly and illegally discriminated against
22
     minority borrowers. For example, in October 2014, Charles River Associates, an economic consulting
23

24   21
          Id.
     22
25       James H. Carr, et al., State of Housing in Black America (2016), https://www.nareb.com/site-
     files/uploads/2016/08/NAREB-SHIBA-REPORT-2016-final.pdf.
26   23
        “CFPB Report Highlights Supervisory Findings of Wide-Ranging Violations of Law in 2021” (Dec. 8,
27   2021), https://www.consumerfinance.gov/about-us/newsroom/cfpb-report-highlights-supervisory-
     findings-of-wide-ranging-violations-of-law-in-2021.
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 1   firm, published the following white paper on the issue of pricing exceptions (which it referred to as

 2   “pricing discretion”):

 3          As advisors to mortgage lenders on operations, risk management and compliance, clients
            often ask us about “best practices” in various aspects of mortgage lending. Among other
 4          things, clients ask us how other mortgage lenders approach managing the fair lending risk
            attached to pricing discretion: how much discretion is given to loan officers versus others
 5
            in the organization, what are common justifications for pricing adjustments, how should
 6          the justifications be documented, etc. Motivated by the industry’s and our own interest,
            we performed a benchmarking survey of clients and industry acquaintances to gather some
 7          systematic information about lender approaches to this important risk issue. In this paper,
            we discuss the results of the survey and the conclusions we draw from it about the current
 8          state of fair lending risk management with respect to mortgage pricing.
 9
                                                       ***
10
            Our survey confirms that discretionary pricing remains pervasive in the mortgage industry,
11          and many lenders appear to find it necessary for competing effectively in the marketplace,
            accommodating customer preferences and needs, and providing good customer
12          service. We also found that pricing discretion is commonly exercised to help comply with
            certain regulatory requirements or regulation-driven business policies. Even though the
13          typical reasons for discretionary pricing adjustments appear to be grounded in legitimate
14          business needs, the pervasiveness of discretion needs to be matched with adequate controls
            to avoid potential fair lending issues or enhanced regulatory scrutiny.
15
                                                       ***
16
            Discretion in consumer loan pricing has been a major focus of fair lending regulatory and
17          enforcement attention for several years. Numerous large-dollar settlements have been
            reached by the U.S. Department of Justice with mortgage and other lenders based on
18          allegations that the lenders discriminated on the basis of race or ethnicity in their loan
19          pricing. According to the government’s legal theories, the lenders’ policies or practices of
            allowing discretion to be exercised in loan pricing had a “disparate impact” on minority
20          borrowers, which regulatory enforcement agencies consider to constitute illegal
            discrimination under the Fair Housing Act and Equal Credit Opportunity Act. 24
21

22          79.     In 2014, in a “Supervisory Highlight” to the banking industry the CFPB addressed the

23   discriminatory nature of pricing exceptions. The highlight included the suggestion that lenders, among

24   other things, should “define the circumstances when the institution allows exceptions to be made to its

25   credit standards” and “require documentation appropriate to that specific exception that is, at a minimum,

26
     24
27        https://media.crai.com/sites/default/files/publications/Managing-the-Fair-Lending-Risk-of-Pricing-
     Discretion-Whitepaper-Oct-2014.pdf
28
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 1   sufficient to effectively monitor compliance with the exceptions policies” in the bank’s policies and

 2   procedures. 25

 3               80.     Thus, the practice of offering illegal pricing exceptions to select classes of borrowers has

 4   been a concern for banking regulators for more than a decade.

 5                        2.    Congress and the Courts Have Long Recognized that Discriminatory
                                Lending Practices, Such as Redlining and Discretionary Pricing, Are
 6                              Illegal
 7               81.     In 1948, the U.S. Supreme Court held that racially restrictive covenants were
 8   unenforceable. See Shelly v. Kraemer, 334 U.S. 1 (1948).
 9               82.     In 1968, Congress passed the Fair Housing Act (“FHA”) which made it illegal for lenders
10   to consider race in credit analyses. Lending discrimination continued, however, and zoning ordinances
11   began to be used in an effort to stop Black Americans from living in areas adjacent to predominately
12   White neighborhoods. In the landmark case of United States v. City of Black Jack, 508 F.2d 1179 (8th
13   Cir. 1974), the Eighth Circuit struck down a racially-motivated zoning plan that involved a neighborhood
14   of White citizens living in an unincorporated St. Louis suburb incorporating and passing zoning
15   restrictions in an effort to stop the construction of townhouses in which a majority of the residents would
16   be Black. 26
17               83.     In 1974, Congress passed the Legal Services Corporation Act to federally fund legal-aid
18   organizations whose mission it was to litigate FHA claims on behalf of those being discriminated
19   against. 27       In 1975 and 1977, respectively, Congress passed the Home Mortgage Disclosure Act
20   (“HDMA”) and the Community Reinvestment Act (“CRA”), which unequivocally outlawed redlining by
21   private banks and allowed for the imposition of penalties on banks that discriminated in lending. 28 In
22   2017, Congress passed the Equal Credit Opportunity Act, 15 U.S.C. § 1691, et seq., which makes it
23   “unlawful for any creditor to discriminate against any applicant, with respect to any aspect of a credit
24
     25
25        https://files.consumerfinance.gov/f/201405_cfpb_supervisory-highlights-spring-2014.pdf
     26
26        Russell Fowler, supra note 18.
     27
          Id.
27
     28
          Id.
28
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 1   transaction – (1) on the basis of race, color, religion, national origin, sex or marital status, or age (provided

 2   the applicant has the capacity to contract); (2) because all or part of the applicant’s income derives from

 3   any public assistance program.” The Equal Credit Opportunity Act (“ECOA”) applies to applications for

 4   residential loans for original purchase mortgages, mortgage refinancing, and other forms of credit. This

 5   means that discrimination in any aspect of a credit decision violates the ECOA, among other fair lending

 6   laws and regulations.

 7                    3.     Discriminatory Lending Continues Today Through Automated
                             Underwriting Systems and “Digital Redlining”
 8
             84.     For more than 20 years, banks and other lenders have relied on what has been referred to
 9
     by regulators as automated lending where banks enter information from an applicant into a computer
10
     along with information collected from credit reporting agencies. The automated underwriting system
11
     then weighs this information to determine the likelihood that a loan will be fully and timely repaid, based
12
     on the way similar mortgages with comparable borrower, property and loan characteristics have
13
     performed in the past. Automated underwriting systems (theoretically) assess the riskiness of the loan
14
     based on a comprehensive evaluation.          Lenders using such systems are able to make faster and
15
     (theoretically) more accurate loan decisions, and, by consistently applying (theoretically) uniform
16
     standards of creditworthiness, automated underwriting systems can (theoretically) provide objective
17
     treatment of all borrowers.
18
             85.     Modern automated lending practices, however, like their predecessors, have also been
19
     shown to result in discriminatory lending, including what regulators have referred to as “algorithmic” or
20
     “digital redlining.” As Bankrate, a consumer services company, explains: “digital redlining can mean
21
     not just the ways technology perpetuates low property values in historically redlined neighborhoods, but
22
     also other ways that all kinds of tech can be subtly or overtly discriminatory. ‘Redlining, historically,
23
     created a disparity in valuation in majority-Black neighborhoods,’ says Mark Alston, public affairs
24
     chairman of the National Association of Real Estate Brokers (“NAREB”). ‘If you have a perfect appraisal
25
     in a majority-Black neighborhood today with perfect comps and no bias on the part of the appraiser,’ it’s
26

27

28
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 1   likely still going to be valued lower compared to a similar property in a majority-white neighborhood

 2   because of that historical bias.” 29

 3             86.     The NAREB in 2016 also specifically identified “sophisticated technology” and new

 4   “proprietary financial models” as a primary cause of the current disparities in lending to Black Americans

 5   as compared to non-Hispanic Whites:

 6             Rather than breaking the barriers of discrimination, financial firms use sophisticated
               technology systems, driven by proprietary financial models, to justify their limited [loan]
 7             originations to Blacks. These proprietary models are unavailable for public scrutiny.
 8             Continued lack of access to home mortgage credit for Blacks is neither fair nor
               insurmountable; increasing home ownership demands only the removal of discriminatory,
 9             unfair, and deceptive barriers to credit access, including those that are programmed into
               the technologies and practices of our modern housing finance system. 30
10
               87.     The U.S. Consumer Financial Protection Bureau (“CFPB”) and Department of Justice
11
     (“DOJ”) have also recognized the discriminatory impact of automated or algorithmic underwriting and
12
     digital redlining. The “CFPB has prioritized digital redlining, including bias in algorithms and
13
     technologies marketed as AI. As part of this effort, the CFPB is working with federal partners to protect
14
     homebuyers and homeowners from algorithmic bias within home valuations and appraisals through
15
     rulemaking.” 31 CFPB’s Director, Rohit Chopra, further noted in 2021 that “[d]igital redlining may simply
16
     engrain old forms of discrimination.” 32
17
               88.     In 2021, the DOJ reached “a settlement with Trustmark National Bank” that resolve[d]
18
     allegations that Trustmark engaged in lending discrimination by redlining predominantly Black and
19
     Hispanic neighborhoods in Memphis, Tennessee.” 33 In remarking on this settlement, which was the
20

21

22   29
        See Zach Wichter, Appraisal Bias and digital redlining: No one-step solution (May 9, 2022),
23   https://www.bankrate.com/mortgages/appraisal-bias-and-digital-redlining/.
     30
24        See Carr, et al., supra note 22.
     31
          See https://www.justice.gov/opa/pr/justice-department-announces-new-initiative-combat-redlining.
25
     32
       See https://www.cbsnews.com/news/justice-department-redlining-investigation-digital-racist-
26   practices/.
     33
27     See https://www.justice.gov/opa/speech/attorney-general-merrick-b-garland-delivers-remarks-
     announcing-new-initiative-combat.
28
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 1   DOJ’s “second redlining settlement in less than two months,” U.S. Attorney General Merrick Garland

 2   discussed the harms of redlining:

 3               Redlining is a process by which lenders deny services to individuals in a neighborhood
                 because of the race or national origin of the people who live in those communities.
 4
                                                             ***
 5
                 Lending discrimination runs counter to fundamental promises of our economic system.
 6
                 When a person is denied credit simply because of their race or national origin, their ability
 7               to share in our nation’s prosperity is all but eliminated.

 8                                                           ***

 9               Redlining contributed to the large racial wealth gap that exists in this country. The practice
                 made it extremely difficult for people of color to accumulate wealth through the purchase,
10               refinancing, or repair of their homes. That discrepancy in wealth is clearly reflected in
                 current homeownership rates.
11

12                                                           ***

13               Today, we are committing ourselves to addressing modern-day redlining by making far
                 more robust use of our fair lending authorities. 34
14
                 89.    In July 2023, Michael S. Barr, Vice Chair for Supervision, Board of Governors of the
15
     Federal Reserve Bank, discussed “digital redlining” at the National Fair Housing Alliance’s (“NFHA”)
16
     2023 National Conference in Washington, D.C. 35 Mr. Barr described the “risks” faced by “bank[s]” that
17
     engage in “digital redlining” and how those “risks are amplified when a [bank’s] model is opaque and
18
     lacks a sufficient degree of explainability” as to how the bank’s “data, variables, and other features inform
19
     [its] credit decisions”:
20
                 If we determine that a bank has engaged in a pattern or practice of discrimination, we refer
21               the matter to the Department of Justice (DOJ). Federal Reserve referrals have resulted in
22               DOJ actions in critical areas, such as redlining . . . . [D]igital redlining in marketing—the
                 use of criteria to exclude majority-minority communities or minority applications—is one
23               risk, and it has already been the subject of several settlements, including one several years

24
     34
25        Id.
     35
        Michael S. Barr, Vice Chair for Supervision, Board of Governors of the Federal Reserve Bank,
26
     Furthering the Vision of the Fair Housing Act, at “Fair Housing at 55—Advancing a Blueprint for
27   Equity,” National Fair Housing Alliance 2023 National Conference, Washington, D.C.,
     https://www.federalreserve.gov/newsevents/speech/barr20230718a.htm.
28
                                                     24
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            ago involving the NFHA and Facebook. 36 Digital redlining may result if advertisers select
 1          their audiences based on a characteristic that is correlated with protected characteristics.
 2          New technologies can also result in “reverse redlining,” or steering in the advertisement of
            more expensive or otherwise inferior products to minority communities.
 3
                                                        ***
 4
            These risks are amplified when a model is opaque and lacks a sufficient degree of
 5          explainability—the degree to which the bank can understand how data, variables, and other
 6          features inform the credit decisions.

 7                    4.     Wells Fargo’s Board Knew that Compliance With Fair Lending
                             Laws Was a Mission-Critical Risk for the Company
 8
            90.      Wells Fargo has a long history of discriminatory lending practices that have cost the
 9
     Company and its stockholders hundreds of millions of dollars. For example, in July 2012, the DOJ
10
     announced a $184.3 million settlement with Wells Fargo stemming from claims that, between 2004 and
11
     2008, the Company engaged in a pattern or practice of steering Black and Hispanic applicants into
12
     mortgages with higher interest rates and fees compared to similarly situated White applicants.37
13
     Specifically, the DOJ alleged that Wells Fargo “discriminat[ed] against more than 34,000 African-
14
     American and Hispanic borrows in the operation of its residential mortgage lending . . . from at least 2004
15
     to 2009[.]” 38 The DOJ further alleged:
16
            •     “As a result of Wells Fargo’s policies and practices, between 2004 and 2008,
17
                  approximately 4,000 qualified African-American and Hispanic wholesale borrowers,
18                who received Wells Fargo loans through mortgage brokers, received subprime loans
                  rather than prime loans from Wells Fargo because of their race or national origin, not
19                based on their creditworthiness or other objective criteria related to borrower risk.
                  These African-American and Hispanic borrowers were placed into subprime loans,
20                with adverse terms and conditions such as high interest rates, excessive fees, pre-
21

22   36
       Id. (citing NFHA, et. al, Summary of Settlements Between Civil Rights Advocates and Facebook (Mar.
23   19, 2019), https://nationalfairhousing.org/wp-content/uploads/2022/01/3.18.2019-Joint-Statement-
     FINAL-1.pdf).
24   37
        Press Release, Justice Department Reaches Settlement with Wells Fargo Resulting in More Than
25   $175 Million in Relief for Homeowners to Resolve Fair Lending Claims (July 12, 2012),
     https://www.justice.gov/opa/pr/justice-department-reaches-settlement-wells-fargo-resulting-more-175-
26   million-relief.
     38
27     United States v. Wells Fargo Bank, NA, No. 1:12-cv-01150 (D.D.C. July 12, 2012) (COMPLAINT,
     ECF No. 1).
28
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          payment penalties, and unavoidable future payment hikes, when similarly qualified
 1        non-Hispanic white . . . borrowers received prime loans.” Id. ¶ 1.
 2
      •   “[B]etween at least 2004 and 2009, approximately 30,000 African-American and
 3        Hispanic wholesale borrowers paid Wells Fargo higher fees and costs for their home
          mortgages than white borrowers because of their race or national origin, not based on
 4        their creditworthiness or other objective criteria related to borrower risk.” Id. ¶ 3.
 5
      •   “Wells Fargo had information about each borrower’s race and national origin. Wells
 6        Fargo also knew or had reason to know based on its own internal monitoring and
          reporting that its policies of giving unguided discretion to its loan originators was
 7        resulting in discrimination. . . . Wells Fargo’s internal documents reveal that senior
          officials were aware of the numerous tactics that subprime originators employed to
 8        keep loans in the subprime division, and that a significant percentage of borrowers were
 9        receiving subprime loans when they could have qualified for prime loans. Wells Fargo
          did not act to adequately compensate borrowers who were victims of discrimination
10        nor did it take effective action to change its policies or practices to eliminate tile
          discrimination.” Id. ¶ 7.
11
      •   “African-American and Hispanic customers of Wells Fargo in at least 82 geographic
12
          market across at least 36 states and the District of Columbia were victims of Wells
13        Fargo’s discriminatory practices.” Id. ¶ 8.

14    •   “Between 2004 and 2008, Wells Fargo placed approximately 2,350 African-American
          and 1,650 Hispanic wholesale borrowers, as well as additional retail borrowers, into
15        subprime loans even though white borrowers who had similar credit qualifications were
          placed into prime loans. As a result of being placed in a subprime loan, an African-
16
          American or Hispanic borrower paid, on average, tens of thousands of dollars more for
17        a Wells Fargo loan, and was subject to possible pre-payment penalties, increased risk
          of credit problems, default, and foreclosure, and the emotional distress that
18        accompanies such economic stress.” Id. ¶ 23.
19    •   “For the combined time period of 2004 to 2007, in the high-volume markets with
20        statistically significant odds ratio disparities, the odds of an African-American [or a
          Hispanic] borrower receiving a subprime wholesale loan in a given year were up to 8.3
21        times [or 6.1 times] as high as the odds for a similarly-situated white borrower.” Id.
          ¶¶ 44-45.
22
      •   “Between 2004 and 2008, Wells Fargo charged more than 12,850 African-American
23
          [and more than 17,150 Hispanic] wholesale borrowers higher fees and costs than white
24        borrowers, not based on their creditworthiness or other objective criteria related to
          borrower risk, but because of their race. Id. ¶ 51.
25
      •   “Wells Fargo charged more than 7,660 individually identifiable African-American
26        borrowers” and “17,150 individually identifiable Hispanic borrowers in the high
27        loan­volume markets from 2004 to 2008 higher prices of varying amounts than white

28
                                          26
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                  borrowers for their prime wholesale loans, not based on their creditworthiness or other
 1                objective criteria related to borrower risk, but because of their race.” Id. ¶¶ 70-71.
 2          91.      In 2019, the Company settled similar fair lending claims brought by the City of
 3   Philadelphia (“Philadelphia”). 39 The Philadelphia Action, which was filed in May 2017, averred that
 4   beginning in 2004, Wells Fargo violated the FHA by steering African-American and Hispanic borrowers
 5   toward higher interest rate loans even when those borrowers qualified for more advantageous loans.
 6   Philadelphia claimed that the Company was not only aware of this practice but incentivized the marketing
 7   of high-cost or high-risk loans to minorities. Without admitting liability, Wells Fargo agreed to settle the
 8   Philadelphia Action for $10 million, with $8.5 million allocated to grants for down payments and closing
 9   cost assistance for low- and moderate-income persons and households in Philadelphia. 40
10          92.      In March 2020, Maxine Waters and Al Green submitted a detailed 74-page report prepared
11   by the Majority Staff of the Committee on Financial Services, U.S. House of Representatives, titled “The
12   Real Wells Fargo: Board & Management Failures, Consumer Abuses, and Ineffective Regulatory
13   Oversight.”    The report concluded that Wells Fargo “failed to correct serious deficiencies in its
14   infrastructure for managing consumers and complying with the law. As a result, Wells Fargo’s customers
15   have been exposed to countless abuses, including racial discrimination . . . .” The report further concluded
16   that “Wells Fargo’s board failed to hold senior management accountable for the Bank’s lack of progress
17   under the consent orders, despite the performance concerns raised by regulators and certain board
18   members.” 41
19

20
     39
       City of Philadelphia v. Wells Fargo & Co., No. 17-cv-02203-AB (E.D. Pa. 2019), ECF No. 1. See also
21   Jeff Blumenthal, Wells Fargo agrees to settle discriminatory lending lawsuit brought by City of
22   Philadelphia,              Phila.           Bus.            J.           (Dec. 16,           2019),
     https://www.bizjournals.com/philadelphia/news/2019/12/16/wells-fargo-agrees-to-settlement-
23   discriminatory.html#:~:text=The%20City%20of%20Philadelphia%20has%20reached%20a%20settlem
     ent%20in%20its,%2D%20and%20moderate%2Dincome%20residents.
24   40
        See Press Release, City of Philadelphia and Wells Fargo Resolve Litigation (Dec. 16, 2019),
25   https://www.phila.gov/2019-12-16-city-of-philadelphia-and-wells-fargo-resolve-litigation.
     41
       The Hon. Maxine Waters & The Hon. Al Green, The Real Wells Fargo: Board & Management
26
     Failures, Consumer Abuses, And Ineffective Regulatory Oversight, U.S. HOUSE OF REPRESENTATIVES
27   (March 2020), https://www.congress.gov/116/meeting/house/110719/documents/HHRG-116-BA00-
     20200311-SD003.pdf.
28
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 1             93.       In August 2020, Wells Fargo issued its 2020 ESG Report which was based on interviews

 2   with key stakeholders and stockholders, including the California State Teachers’ Retirement System, that

 3   DEI issues were a top priority for the Company’s stockholders. The ESG Report stated that the topics

 4   “most significant to our internal and external stakeholder . . . [included] . . . [d]iversity and inclusion.”

 5             94.       On December 3, 2020, Wells Fargo shareholders sent a demand letter (the “December

 6   2020 Demand”) to the Board (whose members then included a majority of the Demand Directors, as

 7   defined herein). 42 The December 2020 Demand “allege[d] breaches of fiduciary duty by over two dozen

 8   current or former directors and officers of the Company in connection with certain of the Company’s

 9   business practices” and “request[ed] that the Company take action to recover damages for alleged

10   misconduct and correct alleged deficiencies in the Company’s controls relating to . . . minority borrowing

11   practices . . . .” 43 In response, on January 26, 2021, the Board delegated consideration of the December

12   2020 Demand to a Demand Review Committee consisting of Board members Black and Chancy. 44

13             95.       While the Demand Review Committee evaluated its response to the December 2020

14   Demand, on May 6, 2021, six Wells Fargo employees with PhDs published an article titled Bias, Fairness,

15   and Accountability with AI and ML Algorithms on arXiv, an open-access Cornell University archive of

16   scholarly articles in the fields of computer science, quantitative finance, statistics, and economics, among

17   others. 45 The May 2021 Article relied on several Wells Fargo Internal Reports and was authored by

18   Wells Fargo employees well-positioned to understand whether Wells Fargo’s lending algorithm resulted

19   in discrimination: Nengfeng Zhou (SVP, Principal Quantitative Analytics Consultant), Zach Zhang

20   (former Wells Fargo Machine Learning and AI Research employee), Vijayan N. Nair (Head, Statistical

21   Learning and Advanced Computing), Harsh Singhal (former Wells Fargo Head of Decision Science and

22   AI Validation, Managing Director), Jie Chen (Head of Decision Science and Artificial Intelligence Model

23   Validation, Corporate Model Risk), and Agus Sudjianto (EVP, Head of Corporate Model Risk).

24   42
       Ex. G, Minutes of the Regular Meetings of the Boards of Directors of Wells Fargo & Co. and Wells
25   Fargo Bank Nat’l Assoc. Held on Oct. 25-26, 2021 (WF_DS_000001943 at 1959-62).
     43
26        Id. at 1960.
     44
          Id. at 1962.
27
     45
          https://arxiv.org/pdf/2105.06558 (last visited May 9, 2024).
28
                                                      28
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 1            96.   The May 2021 Article stated that a “hot topic” regarding the use of artificial intelligence

 2   (“AI”) and machine learning (“ML”) to make financing decisions is the “potential for bias and lack of

 3   fairness.” The article explains that both the data supporting a lending algorithm and its machine learning

 4   can result in discrimination, “[h]istorical data are often skewed towards, or against, particular groups . . .

 5   . insufficient attention is being paid to inherent biases in the data collection mechanisms and lack of

 6   representation.” The article also noted that “[d]ata bias together with poor optimization of algorithms

 7   can cause severe harm to protected groups.” The article then provided proposed solutions for de-biasing

 8   and mitigating unfairness in lending algorithms.

 9            97.   Despite the clear magnitude of the risk that discriminatory lending practices were

10   occurring at Wells Fargo as evidenced by the May 2021 Article, the Company’s history of fair lending

11   related settlements, the Director Defendants did nothing to address or even assess whether Wells Fargo’s

12   automated lending programs or algorithms resulted in disparate impact towards minorities or whether the

13   Company’s lending practices included the same discriminatory pricing exceptions at issue in the DOJ

14   action and the Philadelphia Action.

15            98.   On October 26, 2021, Defendant Chancy provided a “Demand Review Committee

16   Report” to the Board which stated that “after weighing all of the above considerations, the [Demand

17   Review] Committee recommends that the Board reject the [December 2020] Demand because it is not in

18   the Company’s best interests to conduct further investigation into the Demand’s subject matter or the

19   merits of the allegations, commence litigation, alter ongoing Company and Board compliance efforts or

20   take other action as requested in the Demand at this time.” 46 In other words, after ten months of

21   (allegedly) looking into Wells Fargo’s “minority borrowing practices,” including discriminatory pricing

22   exceptions, the Board and Demand Review Committee decided that “alter[ing] its compliance efforts”

23   in this area or commencing further investigation or action is unnecessary. Yet, five months later, the

24   March 11, 2022 Bloomberg article was published. And late last year, in December 2023, CNBC reported

25   that Well Fargo is under federal investigation (again) for not preventing discriminatory pricing exceptions

26   from occurring at the Company.

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          Ex. G at WF_DS_000001961.
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                         5.    The Mortgage Discrimination Class Action Alleges Wells Fargo’s
 1                             Systematic Discrimination Against Minority Borrowers
 2               99.    Wells Fargo is currently a defendant in the consolidated Mortgage Discrimination Class
 3   Action pending in the Northern District of California before the Hon. James Donato, which is brought by
 4   (and on behalf of) loan applicants who allege that they suffered racial and ethnic discrimination when
 5   applying for home loans and refinancing. 47 The plaintiffs allege that in determining home loans, interest
 6   rates, and mortgage points, Wells Fargo used factors to determine eligibility for home loan rates, terms,
 7   and conditions that result in disparate impact towards minority borrowers. 48 As a result, Wells Fargo is
 8   alleged to have violated the Equal Credit Opportunity Act (15 U.S.C. § 16901, et seq.), the Fair Housing
 9   Act of 1968 (42 U.S.C. § 3601, et seq.), the Unruh Civil Rights Act (California Civil Code § 51), the
10   California Unfair Competition Law, and 42 U.S.C. § 1981.
11               100.   The automated lending systems or algorithms at banks like Wells Fargo have been
12   described by the director of the CFPB as “black boxes behind brick walls.” 49 “When consumers and
13   regulators do not know how decisions are made by the algorithms, consumers are unable to participate in
14   a fair and competitive market free from bias.” 50 Despite this limited public information, the Mortgage
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17      On February 17, 2022, Christopher Williams filed a class action lawsuit against Wells Fargo for lending
     discrimination. See No. 3:22-cv-00990 (N.D. Cal.). Winfred Thomas and Michelle Sims filed suit on
18   March 26, 2022 (No. 3:22-cv-01931). On April 12, 2022, Gia Gray, Bryan Brown, and Paul Martin
     joined the pending Braxton Action (No. 3:22-cv-01748). On April 14, 2022, Sam Albury and Shaia
19   Beckwith Simmons joined the pending Williams action (No. 3:22-cv-00990). Ifeoma Ebo filed suit on
20   April 26, 2022 (No. 3:22-cv-02535) (the “Ebo Action”). Elretha Perkins and Laronica Johnson filed suit
     on June 10, 2022 (No. 3:22-cv-03455). Terah Kuykendall-Montoya joined the Ebo Action on November
21   4, 2022 (No. 3:22-cv-0235). On January 18, 2023, Judge James Donato issued an order consolidating
     these class actions and on March 24, 2023, Lead Counsel in the Mortgage Discrimination Class Action
22   filed an Amended and Consolidated Class Action Complaint. See No. 3:22-cv-00990 (N.D. Cal.) (ECF
     No. 114).
23
     48
        According to Wells Fargo’s own internal documents, the Board does not appear to have even bothered
24   to discuss Mortgage Discrimination Class Action after it was filed.
     49
25      Remarks of Director Rohit Chopra at a Joint DOJ, CFPB, and OCC Press Conference on the Trustmark
     National Bank Enforcement Action (Oct. 22, 2021), https://www.consumerfinance.gov/about-
26   us/newsroom/remarks-of-director-rohit-chopra-at-a-joint-doj-cfpb-and-occ-press-conference-on-the-
     trustmark-national-bank-enforcement-action.
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     50
          Id.
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                                                     30
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 1   Discrimination Class Action brought to light numerous ways in which Wells Fargo’s lending algorithm

 2   results in digital redlining, several of which are discussed below.

 3               101.   Among the overlays utilized by Wells Fargo—collectively known as its “CORE/ECS”

 4   system (see Section VI.B.7 infra)—are various overlays or “rules” which result in disparate (and adverse)

 5   treatment of borrowers from racial and ethnic minorities—including African-American and Hispanic

 6   borrowers—the effect of which is modern-day redlining (both geographic and demographic). Borrowers

 7   seeking to refinance properties in Black-majority neighborhoods are deemed by the CORE/ECS system

 8   to be a greater lending risk than similarly situated White borrowers seeking to refinance property in non-

 9   Black-majority neighborhoods. Wells Fargo’s CORE/ECS system effectuates this racial signaling by

10   comparing address data provided in the borrower’s Form 1003 to low- and moderate-income census tract

11   data within Wells Fargo’s internal systems, identifying borrowers with property in Black-majority

12   neighborhoods as more of a lending risk than borrowers with property in White-majority neighborhoods.

13               102.   Before March 2020, Wells Fargo generally required borrowers to be able to show 12

14   months of post-close reserves in order to close their loans. Following the Covid-19 pandemic, Wells

15   Fargo programmed its system to only approve borrowers who could show 18 months of post-close

16   liquidity for W-2 wage earners, and 24 months for self-employed K-1 borrowers. Wells Fargo further

17   changed the definition of post-close liquidity to allow only 50% of the post-close liquidity to come from

18   retirement accounts. Wells Fargo knew this policy change would have a racially disparate impact. As

19   explained in an April 2020 JP Morgan Chase Institute report, for every dollar in liquid assets held by

20   White Americans, Black Americans held 32 cents. 51 In addition, while Black families have, on average,

21   $2,000 or less in liquid savings, the typical White family has more than four times that amount. 52

22               103.   Wells Fargo’s automated underwriting processes use Bayesian Improved Surname

23   Geocoding, a method that applies Bayes’ Rule to predict the race or ethnicity of an individual utilizing

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     51
        JP Morgan Chase & Co. Institute Presentation, Racial Gaps in Financial Outcomes (April 2020),
26   https://www.jpmorganchase.com/content/dam/jpmc/jpmorgan-chase-and-co/institute/pdf/institute-race-
     report.pdf.
27
     52
          Id.
28
                                                     31
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 1   the individual’s surname and geocoded location, when that information is not otherwise provided. 53 This

 2   process requires an internal determination by the Wells Fargo algorithm of which neighborhoods are

 3   associated with which racial group.

 4               104.   Wells Fargo considered uncorrected historical and current appraisal data from

 5   geographically differentiated locations in its refinance process. Race-stratified differentials in appraisal

 6   data are well known to Wells Fargo and others in the banking industry. According to a March 23, 2022

 7   report by The Washington Post citing Brookings Institution data, “homes in Black neighborhoods” (which

 8   Wells Fargo identifies) routinely appraise at “23 percent less, on average, than those in comparable White

 9   neighborhoods—despite having similar neighborhood and property characteristics and amenities.” 54

10   Freddie Mac has similarly “found that 12.5 percent of appraisals for home purchases in Black

11   neighborhoods and 15.4 percent in Latino neighborhood came in below the contract price, compared with

12   7.4 percent of appraisals in White neighborhoods.” 55 The below-market appraisals intentionally skew

13   the loan-to-value calculations against Black homeowners and prospective homeowners and serve as a

14   tool for racial discrimination.      Wells Fargo’s automated underwriting system does not correct

15   appropriately for these racial disparities in appraisals, and instead places undue reliance on an uncorrected

16   data point that systematically undervalues properties in neighborhoods populated by non-White

17   homeowners.

18               105.   Wells Fargo’s CORE system also uses increased credit score requirements. While it is

19   impossible to know given the black-box nature of Wells Fargo’s algorithm, Plaintiffs believe that Wells

20   Fargo imposed a higher minimum credit score than that required for an FHA loan or a Fannie Mae-backed

21   loan. Accordingly, if Fannie Mae required a minimum credit score of 600, Wells Fargo would require a

22   minimum score of 620. In February 2021, it was reported that one in five Black consumers have FICO

23   53
         Jie Chen, Wells Fargo Presentation, Ethics and Bias in Algorithms (June 4, 2020),
24   https://ww2.amstat.org/meetings/sdss/2020/onlineprogram/ViewPresentation.
     cfm?file=309619.pdf.
25
     54
       Tracy Jan, Home Values Soared During the Pandemic, Except for These Black Families, The
26   Washington Post (Mar. 23, 2022), https://www.washingtonpost.com/business/2022/03/23/home-
     appraisal-racial-bias/.
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          Id.
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                                                     32
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 1   scores below 620, while one out of every 19 White consumers are in the sub-620 category. 56 A study by

 2   the Board of Governors of the Federal Reserve System analyzing federal mortgage data identified no

 3   “evidence [a]s to whether these tighter standards reduce loan risk to justify the disparate impact on

 4   minority denials they are associated with.” 57 And after controlling for relevant underwriting factors

 5   (Debt-to-income ratios, loan-to-value ratios, credit scores, etc.) the study found that “[l]enders who

 6   impose the strictest standards on their white applicants [like Wells Fargo] tend to have the largest

 7   unexplained excess denials of minority applicants.” 58

 8                       6.    Bloomberg’s March 2022 Investigation Confirms Wells Fargo’s
                               Systematic Discrimination Against Black and Hispanic Borrowers
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                 106.   On March 11, 2022, Bloomberg published the results of its analysis of nationwide data
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     published under the Home Mortgage Disclosure Act (“HMDA”) from more than eight million completed
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     applications for conventional refinancing loans from 2020. 59 The results of the study were striking:
12
     Wells Fargo approved only 47% (and rejected 53%) of Black mortgage applicants in 2020, by far the
13
     worst record among its peers when considering refinancing for Black homeowners. Wells Fargo also
14
     rejected 47% (and approved 53%) of Hispanic mortgage applicants. In comparison, the Company
15
     approved 72% (and rejected only 28%) of all White homeowners’ refinancing applications during that
16
     same year. The chart below, created by Bloomberg, 60 compares Wells Fargo’s approval rate by race
17
     relative to its peers. While Black applicants overall had a lower approval rate than White applicants
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     56
        Natalie Campisi, From Inherent Racial Bias to Incorrect Data—The Problems With Current Credit
21
     Scoring Models, Forbes (Feb. 26, 2021), https://www.forbes.com/advisor/credit-cards/from-inherent-
22   racial-bias-to-incorrect-data-the-problems-with-current-credit-scoring-models/.
     57
       Neil Bhutta, et al., How Much Does Racial Bias Affect Mortgage Lending? Evidence from Human and
23   Algorithmic          Credit       Decisions,        (July     2021),       at       12,     n.20,
24   https://papers.ssrn.com/sol3/papers.cfm? abstract_id=3887663.
     58
          Id. at 12.
25
     59
       Shawn Donnan, et al., Wells Fargo Rejected Half Its Black Applicants in Mortgage Refinancing Boom,
26   Bloomberg (Mar. 11, 2022), https://www.bloomberg.com/graphics/2022-wells-fargo-Black-home-loan-
     refinancing/.
27
     60
          Id.
28
                                                     33
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 1   across the board, Wells Fargo had the largest disparity between the two groups and rejected more Black

 2   homeowners’ applications than it accepted:

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13               107.   Moreover, the data revealed that “the highest-income Black applicants . . . had an approval
14   rate about the same as White borrowers in the lowest-income backet.” 61 Stated differently, “Wells
15   Fargo’s refinancing approval rates were higher for the lowest-income White applicants in 2020 than for
16   all but the highest-income Black applicants.”
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          Id.
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15               108.   Notably, in addition to the above, Wells Fargo was the only major lender in the United
16   States that “approved a smaller share of refinancing applications from Black homeowners in 2020” than
17   it had in 2010. Wells Fargo’s “47% approval rate was its second lowest during the past decade.” 62
18               109.   While disparate treatment is a continuing problem in the banking industry, Wells Fargo is
19   by far the worst among its peers. Indeed, the Company was the only major U.S. lender in 2020 that
20   rejected more Black homeowner refinancing applications than it accepted. JPMorgan Chase & Co., for
21   example, approved 81% of Black homeowners’ refinancing applications in 2020 and 90% of White
22   homeowners’ applications.         Bank of America Corp. approved 66% of its Black applicants while
23   approving 78% of White applicants. Rocket Mortgage LLC approved 79% of Black applicants and 86%
24   of White ones. These numbers stand in stark contrast to Wells Fargo’s paltry 47% approval rate for
25   Blacks.
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          Id.
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                                                     35
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 1               110.   Equally troubling is that Wells Fargo was the only lender among its peers to approve a

 2   smaller share of refinancing applications from Black homeowners in 2020 when compared to 2010. In

 3   other words, for a 10-year period Wells Fargo was the only major lender to reduce its overall percentage

 4   of refinancings for Black borrowers when compared to Whites.

 5               111.   Following the Bloomberg publication Aaron Braxton (No. 3:22-cv-01748) (the “Braxton

 6   Action”) and Alfred Pope (No. 3:22-cv-01793) filed class actions against Wells Fargo in the U.S. District

 7   Court for the Northern District of California alleging the Company’s lending algorithm engaged in digital

 8   redlining.

 9               112.   In addition, on March 18, 2022, Senator Sherrod Brown announced that he, joined by

10   Senators Dick Durbin, Tina Smith, Raphael Warnock, Elizabeth Warren, Ron Wyden, Jon Ossoff, Jeff

11   Merkley, Alex Padilla, Bernie Sanders, and Mark Warner had sent a letter to the HUD and CFPB to

12   request a review of Wells Fargo’s mortgage loan refinance processes amid concerns and reporting that

13   suggested Black and Hispanic borrowers were less likely to be approved for refinance loans in 2020 as

14   interest rates hit record lows. 63

15               113.   On March 25, 2022, Bloomberg published a second article related to Wells Fargo’s

16   persistent racial gap in mortgage refinancing based on new data from loans in 2021. 64 The article reported

17   that while the lending rates for Black and Hispanic homeowners had improved over the prior year, Wells

18   Fargo “continued to have the lowest approval rate for Black borrowers of any major lender.” The chart

19   below, created by Bloomberg, 65 compares Wells Fargo’s loan approval rate by race relative to its

20   competitors.

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       Majority Press Release, Brown, Colleagues Call for Review of Wells Fargo Refinancing Process (Mar.
24   17, 2022), https://www.banking.senate.gov/newsroom/majority/brown-colleagues-review-wells-fargo-
     refinancing-process.
25
     64
       Ann Choi, et al., Wells Fargo Faces Persistent Racial Gap in Mortgage Refinancing, Bloomberg (Mar.
26   25, 2022), https://www.bloomberg.com/news/articles/2022-03-25/wells-fargo-faces-persistent-racial-
     gap-in-mortgage-refinancing.
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     65
          Id.
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                                                     36
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10               114.   In March 2022, reacting to Bloomberg’s article senators Elizabeth Warren and Ron
11   Wyden, wrote separate letters to Wells Fargo’s CEO, Defendant Scharf demanding that the bank produce
12   the data and algorithms it uses to evaluate applicants and cited what they called “potentially illegal
13   discrimination.” 66
14               115.   On June 28, 2022, Congresswoman and Chairwoman of the U.S. House of Representatives
15   Committee on Financial Services, Maxine Waters, wrote a letter to HUD, the Board of Governors of the
16   Federal Reserve System, the FDIC, the CFPB and the OCC regarding Wells Fargo’s unchecked
17   misconduct (“Congresswoman Waters’ Letter”). 67 The letter stated: “[a]s I have made clear in the past,
18   Congress has given regulators like yourselves significant tools to properly penalize Wells Fargo for its
19   continuous wrongdoing, and based on Wells Fargo’s recent behavior, I am writing to urge you to escalate
20   penalties in a way that is reflective of its history of repeat offenses.” 68
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       Donnan, et al., Wells Fargo Pressed by Senators on Race Disparity in Refinancing, BLOOMBERG NEWS
24   (Mar. 17, 2022), https://www.bnnbloomberg.ca/wells-fargo-pressed-by-senators-on-race-disparity-in-
     refinancing-1.1739254.
25
     67
        See Letter from Maxine Waters, Chairwoman of the United States House of Representatives
26   Committee on Financial Services, to the Hon. Marcia Fudge, et al. (June 28, 2022), https://democrats-
     financialservices.house.gov/uploadedfiles/june_28th.pdf.
27
     68
          Id.
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                                                     37
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 1               116.   Of the current abuses by Wells Fargo, Congresswoman Waters explained:

 2               Bloomberg has revealed large disparities in Wells Fargo’s mortgage refinancing
                 operations. By sheer volume, Wells Fargo was the largest bank mortgage provider to
 3               Black homeowners in 2020, and helped more Black customers refinance their homes than
 4               any other bank. However, “only 47% of Black homeowners who completed a refinance
                 application with Wells Fargo in 2020 were approved, compared with 72% of White
 5               homeowners…While Black applicants had lower approval rates than White ones at all
                 major lenders, the data show, Wells Fargo had the biggest disparity and was alone in
 6               rejecting more Black homeowners than it accepted.” Consumers and homeowners deserve
                 to be treated with respect and it is their civil right under the Fair Housing Act and Equal
 7               Credit Opportunity Act to access credit equally and fairly, regardless of the color of their
 8               skin. Wells Fargo has continued to dismantle the little trust that the public has in it and
                 must be held accountable to the full extent of the law. 69
 9
                         7.     Internal Documents Show Wells Fargo’s Automated Lending
10                              Program Resulted in Widespread, Systematic Disparities for
                                Minority Borrowers Despite Management’s Knowledge of “High”
11                              “Risks” and “Control Gaps”
12
                 117.   Internal documents produced by Wells Fargo and publicly filed in the Mortgage
13
     Discrimination Class Action (see § VI.B.5 supra) show that Wells Fargo’s senior executives have known
14
     for years that the Company’s lending practices and policies have adversely impacted African-American,
15
     Hispanic, and other minority borrowers—but that the Company (and its Board) left those problems
16
     unaddressed, underscoring the Board’s utter failure of oversight.
17
                 118.   For example, according to a March 2019 “2018 Fair Lending Risk Assessment,” 70 Wells
18
     Fargo knew the Company had “HIGH” “Inherent Risks” that were “largely driven by” its “Underwriting:
19
     Allowance of exceptions to underwriting criteria, credit decisioning judgmental tolerances, [and]
20
     geographic based credit policies”; its “Pricing: Market/geography based pricing strategy and the
21
     percentage of loans with pricing exception allowances (i.e., average of 5%)”; and its “Redlining: [loan-
22
     to-value] restrictions for property located in distressed or severely distressed market conditions . . . .”
23
     Despite these high risks, Wells Fargo also knew that its “Control Effectiveness” “NEEDS
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     69
          Id.
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     70
          Ex. H at WF-00030807.
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                                                     38
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 1   IMPROVEMENT”; it had various “Control Gaps” (i.e., areas where it had no controls at all); and a

 2   majority of its controls (13 of 23) were either “Weak” or “Need[ed] Improvement.” 71

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17               119.   The same March 2019 assessment rated the Company’s “Control Effectiveness” as
18   “NEEDS IMPROVEMENT” in the “Fair Lending Risk Focal Points” of “Underwriting/Fulfillment,”
19   “Pricing,” “Sales / Steering,” “Redlining,” and “Statistical Models.” Wells Fargo also knew it had
20   “HIGH” “Inherent Risks Ratings” for “Pricing” and “Redlining.” As a result, Wells Fargo determined
21   that with respect to its “Control Effectiveness” for “Fair Lending Risk” its “Overall Business”
22   “NEED[ED] IMPROVEMENT”: 72
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     71
          Id.
26   72
         Id. at WF-00030809. See also id. at WF-00030810-0811 (identifying “control gaps” in
27   “Underwriting/Fulfillment,” “Pricing,” “Sales/Steering,” and “Redlining” and concluding that “control
     effectiveness” in each of those “Fair Lending Risk Focal Point[s]” “NEED[ED] IMPROVEMENT”).
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               120.   Since at least 2018, the Company has used CORE to assess all of its mortgage loan
17
     applications, 73 resulting in disparate impact to minority borrowers. As background, CORE includes a
18
     “Risk Engine” and “Enhanced Credit Score Model” or (“ECS”) that places applicants into risk classes. 74
19
     Every loan applicant is processed through Wells Fargo’s CORE/ECS system, 75 which impacts an
20

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22   73
          Ex. I at 2245:7-17.
23   74
          See Ex. J at 2-5; Ex. K at 2275; Ex. L at 1240, 1247.
     75
24     Ex. I at 2257 (“CORE, in broad terms, is our loan origination system that we use to originate, process,
     underwrite, and close first mortgages”); id. at. 2259-60 (“CORE’s our loan origination system that we
25   used to originate, process, underwrite, and close loans”); Ex. I at 2254 (“All first mortgage loans currently
     go through the CORE platform[.]”); id. at 2259-60 (“CORE [is] our loan origination system that we used
26
     to originate, process, underwrite, and close loans.”); Ex. M at WF-00035376 (CORE is a “web-based
27   system that allows Wells Fargo Home Lending team members to process a loan from origination to
     funding”).
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 1   applicant’s credit risk classification, thus influencing application outcomes. 76 A lower credit risk ranking

 2   relative to other loan applicants places an applicant at a disadvantage and subjects the applicant to greater

 3   review. 77

 4             121.     On March 24, 2022, a presentation titled “Fair Lending Analyses of Home Lending

 5   Conventional Origination Custom Enhanced Credit Score (ECS) Model- Model Number 11960” stated

 6   that the “Fair Lending Model Development team (“FLMD”) within the Risk Modeling Group (“RMG”)

 7   and Fair Lending Analytics (“FLA”) conducted disparate impact (Dl) and proxy analyses on the Home

 8   Lending Conventional Origination Custom Enhanced Credit Score (ECS) Model (MN 11960).” 78 The

 9   “Results” of that analysis were that the “FLMD [team] identified disparate impact for various protected

10   classes in the ECS conventional model[.]” The presentation concluded that these “disparities” were

11   “practically significant (AIR < .90) disparities for multiple protected classes[.]” 79

12             122.     The presentation noted that the “[ECS] Model is currently in production”; “ECS score is

13   used to establish the associated credit risk and underwriter level required to evaluate a mortgage

14   application”; and “the higher the score the lower the risk; the lower the score, the higher the risk”; and

15   “ECS score is binned into the following credit risk classes” including C2 (ESC Scores of 76-199), C1

16   (200-219), A2 (220-249), and A1 (250-333): 80

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20   76
      Ex. K at 2275 (testifying that the ECS model impacts whether or not a borrower’s credit risk class is
     A1, A2, C1, or C2).
21
     77
        Ex. N at WF-00079830 (“ECS Score” is “used to establish the associated credit risk and underwriter
22   level required to evaluate the application”).
     78
23        Ex. J at 2.
     79
        Id. at 4. Wells Fargo circumvents otherwise statistically significant approval rate disparities based on
24
     its internal policy that an AIR of .90 or greater is not “practically significant.” Ex. M at 915 (Wells
25   Fargo’s “Statistical Approach” to “quantify[ing] levels of fair lending risk” included that “[a]n AIR below
     90% with an adjusted p-value at the 5% level from a statistical test of the differences in approval rates
26   between the test and control classes indicates a practically significant fair lending risk”—or in other
     words, that any AIR above 90% was not “practically significant” for Wells Fargo).
27
     80
          Ex. J at 5.
28
                                                     41
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 6              123.     The presentation explained that it performed a “Fair Lending Analysis” to “[a]ssess[]

 7   whether there were practically significant disparities associated with these models.” 81 To do so, “[n]ine

 8   cutoffs were identified that separate the population into [ten] deciles. Based on these cutoffs, the EOD

 9   [expected outcome disparities] tables were generated which presented the Adverse Impact Ratio (AIR) 82

10   at each of the 9 cutoffs[.]” 83

11              124.     Next, the presentation performed an “EOD [i.e., Expected Outcome Disparities] Analysis”

12   of “ECS Score Cutoffs” for (i) “2020 and 2021 Combined”; (ii) 2020; and (iii) 2021, each of which set

13   forth in a separate table which “present[ed] the [AIR] at 9 cutoffs, defined by deciles of scored

14   observations[.]” 84 In each table, “AIRs < .9” [were deemed] practically significant and highlighted in

15   red[.]” 85

16              125.     For “2020 and 2021 Combined,” the “EOD table show[ed] practically significant

17   disparities for 4 protected classes”; found that for “classes 2 and 4, the disparities span all 9 cutoffs” and

18   for “the remaining classes, the disparities range from 5 cutoffs to 4 cutoffs”: 86

19

20
     81
          Ex. J at 7.
21   82
        Wells Fargo calculated the AIR by comparing a “fair lending test class” with a “fair lending control
22   class.” Ex. J at 7. “When the AIR = 1, the test and control class are equally receiving the favorable
     outcome.” Id. “When the AIR < .9, the test class is proportionally more often receiving the unfavorable
23   outcome, with the AIR denoting a practically significant disparity.” Id. “Those applicants with AIRs
     above the cutoff [were] considered to receive the favorable outcome, and those below the cutoff receive
24   the unfavorable outcome[.]” Id.
     83
25        Id. at 7.
     84
26        Id. at 9-11.
     85
          Id. at 9-11.
27
     86
          Id. at 9.
28
                                                      42
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 5             126.    For   “2020     data,”    the    “EOD       table   show[ed]       practically   significant
 6   disparities for 4 protected classes”; found that for “classes 2 and 4, the disparities span all 9 cutoffs” and
 7   for “the remaining classes, the disparities range from 5 cutoffs to 4 cutoffs”: 87
 8

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12

13             127.    For “2021 data,” the “EOD table show[ed] practically significant disparities for 4

14   protected classes”; found that for “class 2, the disparities span all 9 cutoffs” and for “the remaining

15   classes, the disparities range from 8 cutoffs to 3 cutoffs”: 88

16

17

18

19

20             128.    Agus Sudjianto, EVP, Head of Corporate Model Risk and co-author of the May 2021
21   Article, confirmed in his sworn testimony that the FLMD team had “identified disparate impact for
22   various protected classes in relationship to ECS Model 11960 and that Wells Fargo currently still uses
23   that same model.” 89
24   87
          Id. at 10.
25   88
          Id. at 11.
     89
26     See Ex. K at 2272-73, 2277 (“[Question:] The fair lending model development department identified
     disparate impact for various protected classes in relationship to Model 11960 that is currently in use at
27   Wells Fargo. True? . . . [Answer:] Yes.”); see also id. at 2279-80 (“[Question:] Your department assesses
     the deterioration of models in use at Wells Fargo in the mortgage lending business, correct? [Answer:]
28
                                                    43
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 1            129.     Yet, despite the fact that the “FLMD [team] identified disparate impact” and “practically

 2   significant disparities” that the “(ECS) Model (MN 11960)” causes “various protected classes” of

 3   individuals to experience when they apply for a loan from Wells Fargo—today the Company still uses

 4   the CORE/ECS system and model 11960, which is still “currently in production.” 90

 5                                                 *       *      *

 6            130.     Internal documents produced in the Mortgage Discrimination Class Action further detail

 7   the reactions of Wells Fargo employees to Bloomberg’s investigation and how Bloomberg’s findings

 8   were, in one employee’s words, not “a recent anomaly” but “a long-term systemic issue” at Wells Fargo. 91

 9   In response to Bloomberg’s analysis, Wells Fargo tasked employees in its data analytics team with

10   analyzing the data underlying Bloomberg’s analysis in order to validate the article’s claim of disparate

11   impact. 92 Saba Dossani, the head of Wells Fargo’s Business Insights & Analytics (“BIA”) team and

12   Deborah Knutson-Smith, one of Dossani’s direct reports, both testified that their BIA team was able to

13   validate Bloomberg’s analysis as accurate. 93

14            131.     On March 12, 2022, as part of that analysis, Saba Dossani, the head of Wells Fargo’s BIA

15   team, emailed with Tim Seagren and Debbie Knutson-Smith, both members of the BIA team. 94 Mr.

16

17   Yes. [Question:] You have, over time, discovered the deterioration of models in use by Wells Fargo,
     correct? [Answer:] Yes. . . . [Question:] And with respect to Model 11960, you have seen a deterioration
18   of the performance of that model over time? [Answer:] Yes.”).
     90
19      Ex. J at 2, 5, 10; Ex. I at 2255 (“[Question:] But every loan that is a mortgage loan that Wells Fargo
     processed from 2021 to the present went through CORE; correct?” [Answer:] Yes.”); Ex. K at 2272-73
20   (“[Question:] The fair lending model development department identified disparate impact for various
     protected classes in relationship to Model 11960 that is currently in use at Wells Fargo. True? . . .
21
     [Answer:] Yes.”).
22   91
          Ex. O at 1199.
     92
23      “Wells Fargo knew as early as December 10, 2021, that Bloomberg planned to publish an article
     regarding racial disparities in the Company’s refinancing approval rates. See Ex. P.
24   93
       See Ex. Q at 2289 (“[Answer:] The numbers that Bloomberg had come out with prior to the publishing,
25   we were asked to validate the methodology and if our internal data is showing the same. [Question:] And
     you were able to, as you say, validate Bloomberg’s statistical findings, correct? [Answer:] That’s
26   correct.”); see also Ex. R at 2312 (“[Question:] And so using the Bloomberg methodology, you were able
     to match their data results directly on the nose 100 percent; agreed? [Answer:] Yes.”).
27
     94
          See Ex. O.
28
                                                    44
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 1   Dossani asked “can we also take a look at denials in 2020 that we[re] due to customer being in forbearance

 2   [i.e., related to Covid]?” 95 In response, Mr. Seagren wrote, “I’m going to embrace candor . . . I don’t

 3   believe this has anything to do with a COVID impact or forbearance impact. This is something we’ve

 4   been noticing and raising our hand on for awhile and no one seems to listen or we all continue to ignore.”

 5   Mr. Seagren continued:

 6             Overall our refi rates are now worse than our other big bank peers and we used to be
               better than all or most, but you can see since about 2013 we have gotten progressively
 7             worse; mostly since 2016 and then again in 2018. This is not a COVID related issue,
               this is a systemic [Wells Fargo] policy issue. If we don’t start asking ourselves what our
 8             policies and business decisions are resulting in, then we will continue to have these
 9             results. In those timeframes we made significant changes to policies as it relates to FHA
               and the launch of Non Conforming portfolio loans . . . [w]hen we were #1 overall lender,
10             we were balanced amongst all of these things. When we only prioritize non conforming
               loans and the most affluent/profitable customers . . . we shouldn’t be overly surprised
11             by the results.
12   Id. at 1198. Mr. Seagren concluded: “I do not believe this is a recent anomaly. This is a long-term
13   systemic issue at [Wells Fargo] . . . .” Id. at 1199. The substance of this exchange is an admission of
14   the disparate impact that Wells Fargo’s practice has had on non-white creditors and applicants; an
15   admission that Bloomberg correctly analyzed the data; and an admission that if Wells Fargo had
16   consistently monitored its lending practices (it clearly did not), it would have reached the same conclusion
17   as the Bloomberg reporters.
18             132.   Beginning on March 14, 2022, and over several days, Saba Dossani and Debora Knutson-
19   Smith exchanged a series of “instant messages” on the “Wells Fargo Network.” 96 Both individuals were
20   part of the “core team” within Wells Fargo’s BIA group who were assembled in response to inquiries by
21   Bloomberg. Senior management had asked them “to review the data and work on recommendations for
22   a response [to Bloomberg] strategy and messaging, and engage with key leaders for input and direction
23   as we move forward.” 97 Their response was thus reactionary and not proactive, exemplifying precisely
24   why the Company should have had internal controls to identify the problems the Company only identified
25
     95
26        Id. at 1199-1200.
     96
          Ex. S.
27
     97
          Ex. P at 2547.
28
                                                   45
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 1   while in crisis. Their conclusions were later communicated to the Board by Kristy Fercho, EVP and Head

 2   of Home Lending. 98 First, Ms. Knutson-Smith explaining the goals of their project:

 3             [Ms. Knutson-Smith:]

 4                •   Using the Bloomberg data, put together denial rate story. Start with all-in, then do
                      non-conforming/conventional conforming. The fact of the matter is our non-
 5
                      conforming denial rate is higher than the industry and some of our peers.
 6                •   Show the denial reasons — credit policy needs to explain why we’re doing some
                      of what we’re doing.
 7                •   Show the trends — we used to be aligned, now we aren’t
                  •   Show denial disparity — WNH vs. underserved. We are not far off the industry
 8
                      when we look at it this way, and in some cuts we are better. β this is likely our only
 9                    combat to the Bloomberg story
                  •   Show our rate of lending to African Americans has improved, and we're the largest
10                    bank lender in this space
11             133.   As Ms. Knutson-Smith and Mr. Dossani analyzed Wells Fargo’s lending data, compared
12   it to Bloomberg’s analysis, and prepared presentation materials for Kristy Fercho, they shared their
13   unvarnished views on the Company’s instant messaging platform, including that “none of the[]
14   [Company’s] leaders were paying attention” despite having “plenty [sic] of opportunity to understand
15   this before”; “it is” a “fact” that “we are not helping customers at [the] same rate across race”; “our
16   approval rate gap between us and the industry is bad and the gap there got worse . . . because everyone
17   else improved more than us”; and this “failure” was a “collective miss.” Specifically:
18
               [Ms. Knutson-Smith:] i don’t know why none of these leaders were paying attention
19             when the bloomberg conversations were happening
               [Mr. Dossani:] we had plently [sic] of opportunity to understand this before
20
                                                          ***
21
               [Ms. Knutson-Smith:] I am able to match Bloomberg[’s] data on the nose.
22             [Ms. Knutson-Smith:] Like 100%.
23                                                        ***
24             [Ms. Knutson-Smith:] BTW - this story just sucks anyway I do it. :(

25

26

27
     98
          See Ex. T, Ex. U.
28
                                                   46
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            [Ms. Dossani:] we just need to state facts for her [i.e., Kristi Fercho], 99 and if the fact is
 1          we are not helping customers at same rate across race than we just need to tell her that
 2          [Ms. Knutson-Smith:] it is 100
 3                                                       ***
            [Ms. Knutson-Smith:] can you take a look tomorrow morning and add, I’ll send what
 4
            we have right now to Kristy [Fercho], just changed a bullet in the summary
 5                                                       ***
 6          [Ms. Knutson-Smith:] Ok - per Mary Dee [LeMaire, Fair Lending Compliance Director,
            2015-2023], what she was saying is our approval rate gap between us and the industry
 7          is bad and the gap there got worse. It got worse because everyone else improved more
            than us.
 8
                                                         ***
 9
            [Ms. Dossani:] i feel this was my miss
10          [Ms. Knutson-Smith:] well - collective miss. I should have too.
11          [Ms. Knutson-Smith:] we don’t do a good job of rates on OMA.

12          [Ms. Knutson-Smith:] We’re going to try
            [Ms. Dossani:] we have been talking about withdrawal and denial being higher but we
13          did[n’t] do our part to understand them
14          [Ms. Dossani:] it’s a collective miss, but i lead this team

15          [Ms. Dossani:] i feel my failure
            [Ms. Dossani:] I feel like I let you down.
16

17          134.    Ms. Knutson-Smith also testified that she believed Wells Fargo’s “leadership had not done

18   enough to be prepared to deal with the reporting by Bloomberg of Wells Fargo’s approval and denial

19   rates” and that she “believe[d] that [her] supervisor, Ms. Dossani, shared that viewpoint[.]” 101 In sum, to

20   99
       Ms. Knutson-Smith testified that by “her” Mr. Dossani meant “Kristy Fercho,” Wells Fargo’s then-
     head of home lending. Ex. R at 2313.
21
     100
        Ms. Knutson-Smith testified that in responding to Mr. Dossani by writing “it is” she was agreeing
22   with his suggestion that “the fact is we are not helping customers at the same rate across race.” Id. at
     2314.
23   101
         Ex. R at 2309. In contrast, Scharf told the Board that “the reasons the Company did not conduct
24   sufficient stakeholder engagement early on, including because the Company did not have all the
     necessary data until recently.” See ¶¶ 19, 147 supra. That Wells Fargo’s leadership “had not done
25   enough to be prepared” and failed to receive “all the necessary data until recently” (i.e., until after the
     Bloomberg investigation) regarding the Company’s rate of denying loans to individuals of racial and
26
     ethnic minority demonstrates that the Board that was not routinely engaged in these issues, despite the
27   fact that this was a “systemic WF policy issue.” Ex. O. His statements are belied by the data team’s
     analysis following the Bloomberg article.
28
                                                47
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 1   support its publicly-proclaimed “significant” policy and business changes since 2013 that “prioritize[ed]”

 2   the “most affluent/profitable customers”—changes that Defendants knew or should have known would

 3   skew in favor of White customers and negatively impact minorities—the Board was required to and

 4   should have implemented systems to ensure that Wells Fargo’s lending practices were fair and equitable.

 5   The Company’s inquiry, arising only after the Bloomberg investigation analyzed data Wells Fargo itself

 6   reported under the HMDA – starkly identifies the failure of the current Board. 102

 7             135.   Finally, an analysis of Plaintiffs’ expert in the Mortgage Discrimination Class Action

 8   provides further evidence that had Wells Fargo actually analyzed the lending data it would have learned

 9   that the Company’s automated lending model discriminates against minority customers. Plaintiffs

10   retained Dr. Amanda Kurzendoerfer, a statistical and economic expert. Dr Kuzendoerfer analyzed 2.7

11   million home loan applications from 2018 to 2022.

12             136.   Dr. Kuzendoerfer found: (1) statistically significant disparities in approval rates between

13   minority applicants and white applicants that cannot be explained by key underwriting factors; (2) the

14   CORE/ECS underwriting system disproportionately assigned minority applicants to credit risk classes

15   with higher denial rates, which, in turn, contributed to higher denial rates for minority applicants overall;

16   and (3) property location (which historically has been associated with redlining) is one of the drivers of

17   the disparity between minority applicants and white applicants. Dr. Kurzendoerfer’s regression analysis

18   found disparities between minority applicants and similarly situated white applicants of greater than 5

19   standard deviations from zero (at a minimum) for each subclass that cannot be explained by key

20   underwriting factors.

21             137.   Dr. Kurzendoerfer’s analysis reached its conclusion after controlling the data for non-

22   discriminatory reasons for loan denials. For example, Dr. Kurzendoerfer controlled for the underwriting

23   factors identified and collected by the Consumer Financial Protection Bureau pursuant to the Home

24   Mortgage Disclosure Act, 12 U.S.C. § 2801, et seq.—i.e. the factors the government collects to “assist in

25   identifying possible discriminatory lending practices and enforcing antidiscrimination statutes” (12 CFR

26   § 1003.1(b)(1)(iii))—such as credit scores, combined loan to value, debt to income ratio, whether the

27
     102
           Ex. H.
28
                                                   48
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 1   applicant was approved by an external AUS, and information about the loan terms, among other

 2   information. Dr. Kurzendoerfer also controlled for non-public data about the applicants’ loan payment

 3   histories that was produced by Wells Fargo in the lawsuit, such as the applicant’s bankruptcy and

 4   foreclosure history, whether they had payments that were more than 90 days late in the last 24 months,

 5   prior deed-in-lieu and short sale indicators, the applicant’s principal, interest, taxes and insurance reserves

 6   to measure the applicant’s post-closing liquidity, and a qualifying housing ratio to measure the applicant’s

 7   housing payments to their monthly income, among other information. She further controlled for factors

 8   internally used by Wells Fargo as part of its fair lending analytics to inform its business leaders and legal

 9   counsel about fair lending risks. She also performed additional sensitivity testing such as removing

10   applications denied for incompleteness and using controls based on the applicant’s metropolitan area or

11   date of the application to ensure that broad differences in market conditions and time frames do not affect

12   the results. With very few exceptions, she found statistically significant disparities for minority applicants

13   across all sensitivities.

14                    8.         Board-Level Documents Confirm the Board’s Failure to Implement
                                 a Mission-Critical Reporting Structure to Monitor Fair Lending
15                               Compliance and Discriminatory Pricing
16           138.    Wells Fargo’s Board has repeatedly recognized that fair lending is an area of risk, making
17   it a “mission-critical” legal and regulatory compliance issue for the Company. For example, during the
18   Board’s August 11, 2020 CRC meeting, the Committee identified “minority lending distribution as an
19   emerging risk” and Eric Brooks, Wells Fargo’s Head of Fair Lending, HDMA and CRA Compliance
20   stated that “residential mortgage redlining continues to be a priority issue for regulators and the [DOJ]
21   and discussed information regulators and the DOJ review for redlining, including comparisons of the
22   Company’s performance against peers.” 103 During this same meeting, however, in discussing “current
23   and emerging Fair Lending Issues and Trends,” Mr. Brooks concluded that “monitoring activities had
24   not identified any systematic fair lending risk”; that “control effectiveness has improved”; and that “fair
25

26
     103
27      Ex. V, Minutes of the Meeting of the Corporate Responsibility Committee of the Board of Directors
     of Wells Fargo & Co. Held on August 11, 2020 (WF_DS_000003600 at 3605).
28
                                                 49
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 1   lending Compliance . . . provides challenge to business controls as isolated risks are identified.” 104 As

 2   explained above, public mortgage data reviewed by Bloomberg demonstrated that the risk Wells Fargo

 3   was discriminating against Black Americans was far from “isolated” (or that its controls had “improved”)

 4   but involved hundreds of thousands of applications—and hence, was in fact a systemic issue.

 5   Additionally, internal documents produced in the Mortgage Discrimination Class Action make clear that

 6   (1) Wells Fargo’s automated underwriting system, or CORE, in fact, resulted in disparate impacts towards

 7   minorities; and (2) the Company had significant gaps and weaknesses in Company-level controls related

 8   to fair lending compliance. See § VI.B.7.

 9               139.   During the same “August 11, 2020 Corporate Responsibility Committee Meeting” the

10   “Key Highlights” included a “Fair Lending and CRA Update” which stated:

11               •   Fair Lending Oversight monitoring has not detected systemic fair lending risk for
                     the enterprise.
12

13               •   Emerging residential mortgage minority lending distribution (redlining) risk –
                     efforts are underway to strengthen minority lending distribution in identified
14                   markets.”

15               140.   Yet, nothing was done. Indeed, according to the meeting minutes produced in response
16   to Plaintiffs’ 220 Section investigation, between August 2020 and April 2022 (i.e., after the Bloomberg
17   publication) the Board never discussed fair lending, mortgage discrimination, or disparate impact at all
18   during any Board or Committee meeting during this time period. Hence, there was no routine monitoring
19   of these issues at all at the Board level. At best, the internal Board documents show the Director
20   Defendants received infrequent and ad hoc “updates” (like the August 11, 2020 “Update”) on fair lending
21   risk at management’s discretion. This falls far short of the standard of oversight required under Delaware
22   law—particularly for a Company with a history of violations.
23               141.   Other internal documents similarly demonstrate that prior to the Bloomberg investigation,
24   Wells Fargo’s Board failed to have a mission-critical reporting structure in place to monitor the risk that
25   the Company’s automated underwriting system or algorithm resulted in disparate impact towards
26   minorities or whether discriminatory pricing exceptions were continuing to occur. For example, an April
27
     104
           Id.
28
                                                     50
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 1   25-26, 2022 “Enterprise Risk Report” (the “April 2022 Risk Report”) that was “Prepared for [the] Wells

 2   Fargo Board of Directors” stated under the bullet point “Mortgage Fair Lending” that “[m]anagement

 3   will provide data to illustrate why the company’s approval rates for Black and White mortgage refinance

 4   rates substantially differ in response to a recent article involving MHDA data[.]” 105 In other words, the

 5   Director Defendants apparently failed to take steps—prior to the public release of the Bloomberg

 6   investigation—to obtain and review relevant lending data, including data comparing Wells Fargo’s

 7   lending statistics to its peers, in order to understand “why” the Company’s approval rates for Black

 8   applicants was significantly lower than White applicants.

 9             142.   Indeed, this April 2022 Risk Report was the first time the Board was presented with actual

10   fair lending data to assess (either way) whether (1) there were significant disparities in lending practices

11   at the Company between Black and White applicants; and relatedly (2) how Wells Fargo compared to its

12   peers. By any measure, had the Board had effective controls in place to routinely monitor the potential

13   for disparate impact on Black applicants, they would have requested the same or similar data that

14   Bloomberg reviewed much sooner than April 2022.

15             143.   While the April 25, 2022 presentation to the Board’s Risk Committee did state that “[i]n

16   February 2022, Wells Fargo Fair Lending Compliance completed its annual review confirming

17   differences in approval rates between Non-Hispanic Black applicants and Non-Hispanic White applicants

18   were based on loan and credit factors. The review concluded that decisioning consistency processes and

19   controls appear effective in limiting practically significant results for confirming Non-Hispanic Black

20   applicants compared to Non-Hispanic White”—the remaining discussion of that “annual review” was

21   redacted and withheld by Wells Fargo: 106 In any event, by this time Wells Fargo was already aware that

22   Bloomberg preparing the article because reporters for the publication emailed questions to the Company

23   in December 2021. 107

24
     105
        See Ex. W, Wells Fargo’s April 25-26, 2022 Enterprise Risk Report prepared for the Board of
25   Directors (WF_DS_Supp000001119-1121).
26   106
        See Ex. X, Wells Fargo’s Apr. 25, 2022 Bloomberg HMDA Discussion prepared for the Board of
     Directors (WF_DS_ Supp000001105 at 1106).
27
     107
           Ex. P.
28
                                                   51
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 1

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 3
                 144.   The results of any such review were not produced to Plaintiffs pursuant to § 220
 4
     suggesting they were never reviewed or discussed at the Board level. And even if they had been, the
 5
     annual review’s apparently conclusion that “decisioning consistency processes and controls appear
 6
     effective in limiting practically significant results for conforming Non-Hispanic Black applicants
 7
     compared to Non-Hispanic White” is utterly contradicted by Bloomberg’s “factually accurate” findings
 8
     and documents produced in the Mortgage Discrimination Class Action (see supra § VI.B.7 ). 108
 9
                 145.   With the publication of the March 2022 Bloomberg articles, Wells Fargo’s discriminatory
10
     lending practices were brought into the public spotlight. On April 25, 2022, the Company’s CRC met109
11
     and full Board separately met on April 25-26, 2022, 110 to discuss the Bloomberg articles. Notably, these
12
     appear to be the only meetings at which the Board discussed the Bloomberg articles. Critically, the
13
     minutes of this meeting do not reflect any consideration of whether the Company’s lending algorithm
14
     resulted in disparate impacts towards minorities. During the same meeting, Kristy Fercho, EVP and Head
15
     of Home Lending, “provide[d] an update with respect to the Bloomberg article regarding the Company’s
16
     2020 Home Lending approval rates.” 111 Ms. Fercho confirmed “the gap in African-American home
17
     lending approval rates” relative to Wells Fargo’s “peers” and “commented on the root causes of the
18
     differences in approval rates for minority borrowers against Caucasian borrowers.” 112 Ms. Fercho also
19
     told the Board that the Bloomberg article was “factually accurate” and that “mistakes were made with
20
     respect to stakeholder engagement following publication of the [Bloomberg] article.” 113 In response to
21

22   108
           Id.
     109
23      Ex. T, Minutes of the Meeting of the Corporate Responsibility Committee of the Board of Directors
     of Wells Fargo & Co. Held on April 25, 2022 (WF_DS_000005814 at 5814-5815).
24   110
        Ex. U, Minutes of the Regular Meetings of the Boards of Directors of Wells Fargo & Co. and Wells
25   Fargo Bank, National Association Held on April 25-26, 2022 (WF_DS_000005818 at 5834-5835).
     111
26         Ex. T at 5814.
     112
           Id.; see also Ex. U at 5835.
27
     113
           Ex. T at 5814.
28
                                                     52
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 1   this observation, “Scharf noted the reasons the Company did not conduct sufficient stakeholder

 2   engagement early on, including because the Company did not have all necessary data until

 3   recently.” 114

 4               146.     Ms. Fercho’s preparation to update the Board on Wells Fargo’s response to Bloomberg’s

 5   report reflected by the fact that she was listed as the “Accountable Executive” for the Company’s

 6   February 18, 2022 “Fair Lending Analysis of Wells Fargo Home Mortgage (WFHM) 2020 Credit

 7   Decisions,” which concluded that “NH [new home] Black borrowers applying for conforming loan

 8   applications were denied more frequently compared to White borrowers for DTI [debt-to-income],

 9   incomplete credit applications, forbearance, or credit scores not meeting minimum requirements[.]”115

10   The analysis further confirmed that “adverse impact ratios (AIRs)” for “NH Black borrowers trended

11   below 90%” during 2020-2021. 116 For example, “NH Black” borrowers seeking “Conforming” “loan

12   applications” experienced AIRs of 83.90% during Q4 2019 and 76.7% during Q3 2020. 117

13               147.     The Board’s conclusion that the Bloomberg article was “factually accurate” is

14   corroborated by an April 25, 2022 presentation “Prepared for [the] Risk Committee of Wells Fargo Board

15   of Directors” titled “Bloomberg HMDA Discussion” which discussed that “[i]n early March 2022,

16   Bloomberg posted an article using raw public HMDA data stating Wells Fargo’s 2020 approval rates for

17   Home Lending Conforming Conventional Refinance applications for Non-Hispanic Black customers

18   were significantly below industry peers.

19               148.     In late March 2022, Bloomberg published posted another article using the same raw public

20   HMDA data stating while 2021 approval rates were better than 2020, they were still below industry

21   peers.” 118 The presentation concluded that “[t]he Bloomberg story” was “factually accurate” and

22   acknowledged the Company’s “approval gap” and “difference in approval rates” and in particular

23
     114
           Id.
24   115
           Ex. M at 5342.
25   116
           Id.
26   117
           Id. at 5370.
     118
27      See Ex. X, Wells Fargo’s Apr. 25, 2022 Bloomberg HMDA Discussion prepared for the Board of
     Directors (WF_DS_ Supp000001105 at 1106).
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                                                     53
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 1   “African American (AA) approval rates.” 119 The presentation also recognized the need to “[w]ork . . .

 2   to address the Bloomberg assertions and the approval gap . . . .” 120 In fact, the presentation confirmed

 3   that in 2020, whereas Wells Fargo “Denied for Credit” only 7% of “White, Non Hispanic Refinance

 4   Applications,” it denied 19% of “African American Refinance Application[s]” and that this disparity of

 5   7%-19% (nearly three-to-one) was vastly different from competitors such as JP Morgan Chase & Co.

 6   (“Chase”), Bank of America (“BOA”), and Quicken, where the comparable percentage disparities were

 7   1%-2%, 4%-10%, and 1%-1%, respectively:

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17               149.   As the percentages above confirm, Wells Fargo’s 19% denial rate for Black refinance

18   applications was nearly twice BOA’s, ten times that of Chase, and 19 times that of Quicken.

19               150.   The same presentation confirmed a massive “Denial Rate Gap” between “African

20   American” and “White, Non-Hispanic” borrowers that submitted “Refinance Applications” to Wells

21   Fargo during 2020 and 2021. During 2020, the “African American” “Denial Rate” was 52% compared

22   to 28% for White, Non-Hispanic” applicants, resulting in a “Denial Rate Gap” of 24%:

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     119
           Id.
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     120
           Id.
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                                                     54
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            151.    During 2021, the “African American” “Denial Rate” was 42% compared to 20% for
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     White, Non-Hispanic” applicants, resulting in a “Denial Rate Gap” of 22%:
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                     9.     Former Wells Fargo Employees Independently Corroborate Wells
23                          Fargo’s Racially Discriminatory Lending and Hiring Practices

24          152.    In addition to the books and records actions, counsel has pursued its own independent
25   investigation. Information revealed through conversations with former employees support the claim that
26   discrimination was systematic at Wells Fargo, despite officers’ statements to the contrary during 2020 to
27   present time period.
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                                                55
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 1          153.    Plaintiffs’ private investigator spoke to a former Executive Office Case Specialist Head at

 2   Wells Fargo based in Orlando, Florida, who worked at Wells Fargo during 2020 and 2021 (“Former

 3   Employee 1” or “FE 1”).

 4          154.    FE 1’s job was to investigate complaints from customers, which were mostly small

 5   businesses seeking a Small Business Administration loan or Paycheck Protection Program benefits or

 6   even credit cards via Wells Fargo and had been turned down.

 7          155.    FE 1 investigated between 450-500 cases per year and about 30 to 40 percent of those

 8   involved some form of discrimination, mostly racial. In about 50 percent of those cases, FE 1 found the

 9   discrimination allegations were founded.

10          156.    According to FE 1, “Really what it would come down to is the customer would feel they

11   were racially discriminated against and it would come down to what the policies were at the time and

12   judgments of character”. FE 1 said, “It was really my determination as to whether they were discriminated

13   against and I would say about half the time I felt they were.”

14          157.    Based on FE 1’s work as an Executive Office Case Specialist Head, FE 1 believed Wells

15   Fargo had discriminatory practices in lending: “In actuality I do think so,” FE 1 said. “At first, I was a

16   little skeptical. I’ve been banking with Wells Fargo since I was a teenager. I wasn’t aware of the news

17   stories about this until I started at the company. I’d get a lot of complaints about discrimination. As time

18   went on, after speaking to multiple people in different levels of positions, I did come to the conclusion

19   that yes it was going on quite a bit. It’s the culture at the root of the company.”

20          158.    Plaintiffs’ investigator also interviewed a former Senior Executive Escalations

21   Representative (“Former Employee 2” or “FE 2”) who worked at Wells Fargo from June 2020 through

22   early 2022, and whose job responsibilities included resolving escalated complaints from small-business

23   customers including complaints about discrimination. FE 2’s “job [was] to make [complaints about

24   discrimination] go away” and keep the customer from escalating the complaint into a “formal

25   discrimination complaint.” To do this, FE 2 was instructed by FE 2’s supervisors to offer $200 to

26   customers complaining of discrimination. FE 2 explained that “when it got really hostile we were allowed

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 1   to give them $200” and that “the goal is to deescalate by offering them money, especially if it was

 2   discrimination.”

 3          159.    Plaintiffs’ investigator also spoke with a former Wells Fargo employee who was a Market

 4   Manager for New England, Upstate New York and New Jersey for Wells Fargo from May 2019 to April

 5   2023, and who had previously worked as a Sales Manager at Wells Fargo since 2006 (“Former

 6   Employee 3” or “FE 3”). FE 3’s job was to oversee the sales aspect of mortgage origination. Branch

 7   Managers, an Administrator, Customer Service Reps, and other individuals involved mortgage sales

 8   reported to FE 3.

 9          160.    FE 3 confirmed that in 2020, Wells Fargo adopted a policy requiring Hiring Managers to

10   interview at least one woman and one person of color for job openings, particularly where the salary

11   would be $100,000 or more. FE 3 was aware of The New York Times’ reports that managers in Wells

12   Fargo’s Wealth Management Division were conducting sham interviews with minorities to meet internal

13   diversity mandates. Based on what FE 3 saw firsthand while serving on job interview panels, FE 3 said

14   it seemed like the same thing was happening in Wells Fargo’s Mortgage Group. “I know they did have

15   folks that, for various reasons, would just stick someone in there to stick someone in there.” FE 3

16   confirmed that FE 3 had “seen it happen” when serving on interview panels and wondered “Was this a

17   favor to someone?” FE 3 “felt that was wrong.”

18          161.    FE 3 further stated, “I think sometimes they brought in people who were underqualified

19   so they could say, ‘Ok, well we interviewed this Latino candidate. He didn’t get this job but we gave it

20   to this other person because they were more qualified,’” FE 3 said. “I can say I’ve seen that.”

21          162.    FE 3 said there were times FE 3 would ask, “Why are we interviewing this person? They

22   don’t even have the qualifications to be in that role,” but did not get a reply. “We would have to write

23   notes after being on the panels so that would be in the notes we did,” FE 3 said. According to FE 3, “The

24   recruiters should know but they will deny it to the grave.”

25          163.    Plaintiffs’ investigator also interviewed a former Vice Present (“Former Employee 4” or

26   “FE 4”) who worked at Wells Fargo from 2014 to 2021 and who oversaw several hundred employees,

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 1   most of whom were mortgage loan consultants and loan originators who roles were to answer telephone

 2   calls and answer questions from individuals interested in applying for mortgage loans.

 3          164.    Although FE 4 was not involved with how Wells Fargo developed its algorithms for

 4   mortgages, FE 4 did know how those algorithms work to a certain extent. One of the systems that Wells

 5   Fargo uses is Desktop Underwriter (or “DU”), which is an upfront underwriting engine provided by

 6   Fannie Mae. Another system is Loan Product Advisor (or “LPA”), which is Freddie Mac’s automated

 7   underwriting system. “Once an application is complete our loan officers would hit a button to run it

 8   through those decision-making engines,” FE 4 said. “A bank like Wells Fargo can build overlays off of

 9   Fannie Mae and Freddie rules,” FE 4 said.

10          165.    FE 4 had worked in the mortgage business since the late 1990s. FE 4 said that what was

11   different about Wells Fargo from other places where FE 4 had worked was that Wells Fargo had “a ton”

12   of overlays to the rules that Fannie Mae and Freddie Mac had. “My experience is there was an increase

13   in overlays year after year after year,” FE 4 said.

14          166.    For example, FE 4 said, one overlay had to do with Down Payment Assistance programs.

15   “A Down Payment Assistance program can be from the county or state or national but what was great

16   about these programs was there were all these grants to get access to money for a down payment if they

17   were a first-time home buyer and in a part of the community where the FHA was trying to promote home

18   ownership,” FE 4 said. However, Wells Fargo instituted a rule in sales that if they got a call inquiring

19   about Down Payment Assistance programs, they had to refer the caller to somebody that was located in

20   a branch. “We’d go to see if anything happened and discovered hardly any clients got helped,” FE 4 said.

21   “There was very little to no effort to understand how to do these programs; teach people responsible for

22   helping clients with these programs. They just ignored it the whole time I was there.”

23                   10.    Covington & Burling’s Report to Wells Fargo on Racial Equity
                            Reflects Wells Fargo’s Failure to Address Discrimination Issues
24
            167.    In December, 2023, the law firm Covington & Burling LLP delivered a report to Wells
25
     Fargo “On its Efforts to Promote Racial Equity.”
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 1          168.    Among other recommendations, Covington advised that “Wells Fargo could enhance its

 2   home lending efforts by tailoring its unconscious bias trainings to focus on how these issues may arise in

 3   the home lending and real estate appraisal contexts, and conducting regular independent audits of any AI

 4   tools it plans to use in the mortgage approval process.” Covington further advised that Wells Fargo should

 5   “[e]valuate any new AI tools under consideration for use in the mortgage application process for racial

 6   bias and potential racial impacts.”

 7          169.    Indeed, the report reflects that Wells Fargo’s appraisal system at the outset of Covington’s

 8   evaluation did not consist of a sophisticated computerized analysis of appraisal reports—it was merely a

 9   model that “tags potentially inappropriate language used in appraisal reports, which Bank personnel then

10   review and evaluate. The model currently relies on a list of inappropriate words that Wells Fargo

11   developed based on its internal subject matter experts and public research from regulatory entities and

12   GSEs, including Fannie Mae and Freddie Mac.” Key word identification is the whole of the appraisal

13   bias detection, the model does not score reports on any semantic scale—it just identifies whether certain

14   words were used.

15                   11.    In December 2023, the CFPB Issues an MRA Notice to Wells Fargo
                            Concerning Discriminatory “Pricing Exceptions”
16
            170.    On December 11, 2023, CNBC reported that Wells Fargo had received an official notice
17
     from the CFPB concerning its compliance with fair lending. Specifically, CNBC reported that the “Wells
18
     Fargo received an official notice from the [CFPB] on problems with its use of mortgage rate discounts”
19
     or “pricing exceptions” for White borrowers at higher rates than Black and female borrowers after
20
     “regulators found ‘statistically significant disparities’ in the rates in which Black and female borrowers
21
     got pricing exceptions compared with other customers.” 121 CNBC’s article stated:
22
            The discounts, known as pricing exceptions, are used by mortgage personnel to help secure
23
            deals in competitive markets. At Wells Fargo, for instance, bankers could request pricing
24          exceptions that typically lowered a customer’s APR by between 25 and 75 basis points.

25

26   121
        Hugh Son, “Regulators caught Wells Fargo, other banks in probe over mortgage pricing
27   discrimination,” CNBC (Dec. 11, 2023), https://www.cnbc.com/2023/12/11/wells-fargo-mortgage-
     lenders-probed-over-racial-discrimination.html.
28
                                                59
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            The practice, used for decades across the home loan industry, has triggered regulators’
 1          interest in recent years over possible violations of U.S. fair lending laws. Black and female
 2          borrowers got fewer pricing exceptions than other customers, the [CFPB] has found.

 3          “As long as pricing exceptions exist, pricing disparities exist,” said Ken Perry, founder of
            a Washington-based compliance firm for the mortgage industry. “They’re the easiest way
 4          to discriminate against a client.”
 5          Wells Fargo received an official notice from the CFPB called an MRA, or Matter Requiring
 6          Attention, on problems with its discounts, said people with knowledge of the situation. It’s
            unclear if regulators accused the bank of discrimination or sloppy oversight. The bank’s
 7          internal investigation on the matter extended into late this year, said the people.

 8          171.   Thus, following Wells Fargo’s $184.3 million settlement in 2012 with the DOJ, the
 9   Company’s $10 million settlement in 2019 in the Philadelphia Action, and after the Board refused to
10   investigate similar discriminatory pricing allegations referenced in the December 2020 demand by two
11   Wells Fargo stockholders—the Director Defendants still had not addressed what CNBC characterized as
12   “problems with [Wells Fargo’s] use of mortgage rate discounts” that led to “statistically significant
13   disparities” in the rates that Black and female customers receive pricing exceptions when compared
14   White/male customers, resulting in the CFPB’s MRA notice.
15          C.     Wells Fargo’s Hiring Practices Discriminate Against Diverse Candidates
16
                    1.     Joe Bruno, a Former Wells Fargo Executive in the Company’s
17                         Wealth Management Division, Reported the Practice of Conducting
                           Sham Interviews to Senior Management
18
            172.   On September 7, 2021, whistleblower Joseph Bruno, a former Wells Fargo executive in
19
     the wealth management division, sent an email to over 250 Wells Fargo employees, including four senior
20
     Wells Fargo officers at the time: Charles Scharf (CEO), Scott Powell (SVP and COO), Kleber Santos
21
     (then-Head of Diverse Segments, Representation and Inclusion; Scott Powell (Chief Operating Officer);
22
     and Mary Mack (CEO of Consumer and Small Business Banking) raising concerns regarding Wells
23
     Fargo’s practice of conducting sham interviews to comply with the Company’s diverse hiring initiative.
24
            173.   The email described “fake interviews [Wells Fargo] managers do that [are] directed by
25
     HR.” It further explained that when the whistleblower “brought up the fake interviews, and [that the
26
     whistleblower] wasn’t comfortable doing them, [Keith] Venderveen [one of eight regional directors
27
     overseeing Wells Fargo’s core private client group] said put your head down and focus on recruiting.”
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                                                60
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 1   Bruno further reported that he “wasn’t allowed to have a 50/50 pool of diverse candidate in [his] market.

 2   . . . I was told that I was too aggressive in creating pools and benches of Black people. I’m ready to name

 3   names.”

 4               174.   Due to Wells Fargo’s ineffective internal controls, Mr. Bruno’s email was never provided

 5   to the Board.
                         2.    Wells Fargo’s Practice of Conducting Sham Interviews Was
 6                             Reported in an “Email to Wells Fargo’s Board of Directors”
 7
                 175.   According to an “Employment Investigation Report” written by “Wanda Conway, Sr.
 8
     Employment Investigator,” on February 18, 2021, Phillip Miller, an “external job applicant,” sent an
 9
     “email to Wells Fargo’s Board of Directors” in which Miller “complain[ed] that he experienced
10
     discrimination in the form of racist and offensive statement[s] directed toward him by the hiring manager
11
     of a position he applied for on 9/28/20 when the Wells Fargo manager told Miller ‘you don’t sound
12
     black’” and after which “a white female was selected for the position.” 122 According to the report, based
13
     on what he experienced, Miller questioned Wells Fargo’s commitment to hiring Black candidates or
14
     whether “his race and ethnicity were being used to reach the newly established goal to consider diverse
15
     candidates” and not an actual “commitment to hire qualified black candidates.” 123
16
                 176.   Regarding Mr. Miller’s February 18, 2021 “email to Wells Fargo’s Board of Directors,”
17
     as of February 16, 2022, Wells Fargo’s corporate website stated that “Stockholders and other interested
18
     parties who wish to communicate with the Company’s non-management directors may direct
19
     correspondence to . . . boardcommunications@wellsfargo.com[.]” 124 Wells Fargo’s website stated that
20
     communications sent to this website are handled differently depending on whether they are considered to
21
     concern “an ordinary business matter” or “not involving an ordinary business matter.” On one hand,
22
     “[c]ommunications involving the following will be considered an ordinary business matter and will be
23

24

25   122
           Ex. Y, WF_DS_Supp_000000004.
26   123
           Id.
     124
27      See https://web.archive.org/web/20210216141028/https://www.wellsfargo.com/about/corporate/gov
     ernance/contact/.
28
                                                     61
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 1   forwarded to management to research and respond, if appropriate”; on the other hand, “[c]ommunications

 2   not involving an ordinary business matter will be forwarded by the Company”:

 3                      To an individual director, only if the communication names a specific
                        director
 4
                        To the Chair of the Audit and Examination, Corporate Responsibility,
 5                      Credit, Finance, Governance and Nominating, Human Resources, or Risk
 6                      Committee depending on the subject matter and if the communication does
                        not name a specific director
 7
                        To the Chair of the Audit and Examination Committee if the
 8                      communication is a complaint or concern involving accounting, internal
                        accounting controls, or auditing matters, whether or not it’s specifically
 9                      addressed to the Audit and Examination Committee. 125
10               177.   On December 13, 2021, the Board’s Governance and Nominating Committee received a
11   presentation from Michael Cleary, Head of Sales Practices and Conduct Management, which was titled
12   “Board of Directors Communications” and whose “Purpose [was to] [p]rovide an update on monitoring,
13   routing, and escalation of Board communications in accordance with the Board Communications Policy
14   and Procedures.” 126 The presentation categorized Mr. Miller’s “2/18/21” email to the Board as a “Non-
15   Ordinary” communication, and noted that Mr. Miller asked whether “he was interviewed only as a means
16   for the hiring executives to appear as if they are pursuing diverse candidates”: 127
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     125
           Id.
25
     126
       Ex. Z, Michael Cleary (Head of Sales Practices and Conduct Management), Board of Directors
26   Communications prepared for Governance and Nominating Comm. of Wells Fargo (Dec. 13, 2021)
     (WF_DS_000004661 at 4666).
27
     127
           Id.
28
                                                     62
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            178.    Under the Company’s above policy concerning emails to the Board, how Mr. Miller’s
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     February 18, 2021 email to the Board should have been handled depended on whether the Company
14
     categorized it as an “ordinary” or “non-ordinary” business matter. 128 Because the Company categorized
15
     Mr. Miller’s February 18, 2021 email as “[n]on-ordinary,” under Company policy, that email would have
16
     been “forwarded by the Company” to “the Chair of the Audit and Examination, Corporate Responsibility,
17
     Credit, Finance, Governance and Nominating, Human Resources, or Risk Committee depending on the
18
     subject matter and if the communication does not name a specific director[.]” Considering the fact that
19
     Mr. Miller’s email was described in the December 13, 2021 presentation to the Board’s Governance and
20
     Nominating Committee, together with the “Board Communications Policy and Procedures” as described
21
     on the Company’s website, it is logical that the Board Committee Chair to whom Mr. Miller’s email was
22

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     128
         For example, if Mr. Miller’s email “name[d] a specific director” or concerned “accounting, internal
26
     accounting controls, or auditing matters” it would be sent to that specific director or to “the Chair of the
27   Audit and Examination Committee.” See https://web.archive.org/web/20210216141028/https://www.w
     ellsfargo.com/about/corporate/governance/contact/.
28
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 1   forwarded was the Chair of the Governance and Nominating Committee, which at the time was Donald

 2   M. James. 129

 3               179.   According to the minutes from the December 13, 2021, Governance and Nominating

 4   Committee meeting, committee members discussed the Company’s diversity programs, and how the

 5   Company intended to report on the progress of those programs.

 6                       3.    The New York Times Publishes Its Investigation

 7               180.   On May 19, 2022, The New York Times published an article titled “At Wells Fargo, a

 8   Quest to Increase Diversity Leads to Fake Job Interview.” 130 The article reported that Mr. Bruno, who

 9   had previously sent a whistleblower email to 250 Wells Fargo employees regarding, among other things,

10   Wells Fargo’s practice of conducting sham interviews, had “long been troubled by the way his unit

11   handled certain job interviews.” 131 Bruno alleged that for many open positions, employees would

12   interview a “diverse” candidate (a woman or person of color, according to Wells Fargo) in keeping with

13   the bank’s yearslong informal policy. 132 However, Bruno noticed that often, the diverse candidate would

14   be interviewed for a job that had already been promised to someone else. 133 Bruno said that when he

15   complained to his bosses about the behavior, his claims were dismissed. 134 Bruno believes he was later

16   fired in retaliation for telling his superiors that the fake interviews were “inappropriate, morally wrong,

17   ethically wrong.” 135

18               181.   The New York Times’ May 19, 2022 article stated that Bruno was one of seven current and

19   former Wells Fargo employees who asserted they were instructed in the bank’s wealth management unit

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21   129
           Mr. James resigned from the Wells Fargo Board in April 2021.
22   130
        Emily Flitter, At Wells Fargo, a Quest to Increase Diversity Leads to Fake Job Interviews, THE N.Y.
     TIMES      (May      19,    2022),    https://www.nytimes.com/2022/05/19/business/wells-fargo-fake-
23
     interviews.html.
24   131
           Id.
     132
25         Id.
     133
26         Id.
     134
           Id.
27
     135
           Id.
28
                                                     64
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 1   to interview diverse candidates for jobs that no longer existed. 136 Five others said they were aware of the

 2   practice or helped to arrange it. 137 The current and former employees said that the interviews were more

 3   about helping Wells Fargo create a record of its diversity efforts (in anticipation of potential regulatory

 4   audits) rather than actually hiring more women or people of color. 138

 5               182.   The Company issued a statement for the May 19, 2022 article stating that Wells Fargo

 6   expected all employees to follow its hiring policies and guidelines and that “to the extent that individual

 7   employees are engaging in the behavior as described by The New York Times, we do not tolerate it.”139

 8   The spokeswoman did state that she was aware of “informal directives” about hiring diverse candidates,

 9   but stated those rules were from an earlier era that Wells Fargo’s current leaders “had nothing to do

10   with.” 140

11               183.   The New York Times article also discussed the Slaughter Action, which was a case filed

12   in 2013 by a group of Black financial advisers at Wells Fargo accusing Wells Fargo of “systemic,

13   intentional race discrimination” through the implementation of policies that segregated its workforce and

14   disparately impacted its African-American employees. 141 In May 2017, an Illinois federal judge

15   approved a $35.5 million settlement between Wells Fargo Advisors LLC and a class of the Company’s

16   African-American Employees, ending the class’s claims of discriminatory treatment with changes to

17   programs they said encouraged racial disparities. 142 The agreement instructed bank executives to

18   examine their demographic data and initiate opportunities for African-American financial advisers, as

19   well as designate specific recruiters and coaches for African-American employees. 143 Under the

20
     136
           Id.
21   137
           Id.
22   138
           Id.
     139
23         Id.
     140
24         Id.
     141
        Vin Gurrieri, Wells Fargo Workers Seek Final OK for $35M Race Bias Deal, LAW360 (May 1, 2017),
25   https://www.law360.com/articles/918990/wells-fargo-workers-seek-final-ok-for-35m-race-bias-deal.
26   142
        See Diana Novak Jones, Wells Fargo Exits Race Bias Suit With $35.5M Settlement, LAW360 (May 4,
     2017), http://stowellfriedman.com/files/images/stories/Wells_Fargo_Race_Settlement.pdf.
27
     143
           Id.
28
                                                     65
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 1   settlement, Wells Fargo’s senior executives were also supposed to collaborate with the Company’s

 2   African-American employees to get feedback on its diversity efforts. 144

 3               184.   On May 27, 2022, Business Insider published an article following up on The New York

 4   Times article, based on an interview it conducted with Kleber Santos, Wells Fargo’s Head of Diverse

 5   Segments. 145 The article reported that Business Insider attempted to confirm whether The New York

 6   Times continued to stand by its reporting: “As is standard journalistic practice, we sought comment from

 7   Wells Fargo, and included it in the story. This comment did not refute our findings. The New York Times

 8   stands behind our May 19 article.”

 9               185.   On May 31, 2022, Senator Sherrod Brown, Chairman of the U.S. Senate Committee on

10   Banking, Housing, and Urban Affairs, sent a letter to the Company’s President & CEO, Charles Scharf,

11   noting, inter alia, that “[r]ecent revelations of racial disparities in mortgage lending, [and] fake job

12   interviews for minority and female candidates . . . are troubling as Wells Fargo, unfortunately, continues

13   to demonstrate its inability to address its longstanding risk management failures.” 146 Senator Brown

14   added that “Wells Fargo’s ongoing, failed efforts to combat lending discrimination and increase diversity

15   within its ranks raise questions about your ability to fix the myriad internal controls, risk management,

16   and general governance issues that have been a problem for nearly a decade.” 147

17               186.   In June 2022, U.S. Representative Maxine Waters urged several federal agencies,

18   including the OCC and the FDIC, to “properly penalize Wells Fargo for its continuous wrongdoing,”

19   noting “commitments to diversity, equity, and inclusion are not stunts to be taken advantage of by

20   megabanks; diversity, equity, and inclusion encompass aspects of both moral and legal obligations that

21

22
     144
           Id.
23
     145
        See Marguerite Ward, Wells Fargo Exec Responds to Reports That it Denied Mortgages to Black
24   Applicants and Held Sham Job Interviews (May 27, 2022), https://www.businessinsider.com/wells-fargo-
     exec-black-mortgage-applicants-diversity-controversies-2022-5.
25
     146
        Letter from Chairman Sherrod Brown to Charles W. Scharf (May 31, 2022),
26   https://www.banking.senate.gov/imo/media/doc/Brown%20WF%20Scharf%20Letter%2005312022
     .pdf.
27
     147
           Id. at 2.
28
                                                     66
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 1   financial institutions hold. It is unacceptable that Wells Fargo would mislead applicants and the

 2   public.” 148

 3               187.   On June 6, 2022, whistleblower Bruno posted an article he wrote on LinkedIn which stated

 4   that the “fake interviews” were “an open secret at Wells Fargo, and it has gone on for years.” 149

 5               188.   On June 9, 2022, The New York Times published an article titled “Federal Prosecutors

 6   Open Criminal Inquiry of Wells Fargo’s Hiring Practices.” 150 The June 9, 2022 article noted that Federal

 7   prosecutors in New York opened a criminal investigation into whether Wells Fargo violated federal laws

 8   by conducting sham interviews of minority and female job candidates. 151 The investigation was being

 9   conducted by members of a newly created civil rights unit inside the criminal division of the Manhattan

10   U.S. attorney’s office. The article stated that the investigation was spurred by the May 19 report in The

11   New York Times that centered on whistleblower Joe Bruno. 152

12               189.   Also on June 9, 2022, Forbes published an article regarding the federal investigation.153

13   That same day, Wells Fargo issued a press release confirming that “[e]arlier this week, the company

14   temporarily paused the use of its diverse slate guidelines,” and that “[d]uring this pause, the company is

15   conducting a review so that hiring managers, senior leaders and recruiters fully understand how the

16

17

18

19   148
         Press Release, Chairwoman Waters calls on Regulators to Hold Wells Fargo Accountable for
20   Continued Troubling Patterns and Practices of Anti-Consumer Behavior (June 29, 2022),
     https://financialservices.house.gov/news/documentsingle.aspx?DocumentID=409612.
21   149
           https://www.linkedin.com/pulse/fake-interviews-dei-joe-bruno/?trk=public postcontentshare-article.
22   150
         See Emily Flitter, Federal Prosecutors Open Criminal Inquiry of Wells Fargo’s Hiring Practices,
     THE N.Y. TIMES, (June 9, 2022), https://www.nytimes.com/2022/06/09/business/wells-fargo-fake-
23   interviews-investigation.html.
24   151
           Id.
     152
25         Id.
     153
        Joe Walsh, Feds Reportedly Launch Criminal Probe Into Wells Fargo Following Allegations Of Sham
26
     Job Interviews, FORBES (June 9, 2022), https://www.forbes.com/sites/joewalsh/2022/06/09/feds-
27   reportedly-launch-criminal-probe-into-wells-fargo-following-allegations-of-sham-job-inte
     views/?sh=41c6ea2954f7.
28
                                                     67
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 1   guidelines should be implemented—and so we can have confidence that our guidelines live up to their

 2   promise.” 154

 3          190.     On June 14, 2022, Joe Bruno published a video discussing the reaction to The New York

 4   Times report. 155 In this video, Mr. Bruno explained that “fake interviews” were “an open secret at Wells

 5   Fargo and it has gone on for years.” 156

 6          191.     Mr. Bruno proceeded to give “recent examples of fake interviews” including (1) an

 7   example from 2021 where a Wells Fargo team internally selected a candidate for a financial consultant

 8   position, but was obliged by HR to conduct interviews which under their best practices would include at

 9   least one diverse candidate; (2) another example from 2021 where a Wells Fargo team was changing an

10   existing role from “Financial Advisor” to a “Financial Consultant” where HR required interviews to be

11   conducted which under their best practices would include at least one diverse candidate; and (3) the

12   “market leader” position for the combination of the Ford Lauderdale market and the Miami market, where

13   Wells Fargo conducted fake interviews for the prior leaders of the Fort Lauderdale and Miami Markets—

14   where the preselected candidate was an unqualified employee from the Wells Fargo corporate office with

15   no relevant experience.

16          192.     In addition, Bruno explained that if a candidate is brought in for a sham interview, they

17   will be assigned an artificially deflated score based on their interview performance so that the pre-selected

18   candidate would get hired. This score permanently followed the applicant should they seek subsequent

19   employment with Wells Fargo at any time and therefore harmed the candidate prospectively.

20          193.     Bruno’s video led to several former Wells Fargo employees coming forward. The

21   comment section below his YouTube video reflects the opinions of several former Wells Fargo

22
     154
23        Press Release, Wells Fargo response to New York Times article (June 9, 2022),
     https://newsroom.wf.com/English/news-releases/news-release-details/2022/Wells-Fargo-response-to-
24   New-York-Times-article/default.aspx.
     155
25         Joe Bruno, FAKE INTERVIEWS at Wells                      Fargo,    YOUTUBE       (June    14,   2022),
     https://www.youtube.com/watch?v=jopIT8m6-Rk.
26   156
         See Wells Fargo pauses diverse slate hiring policy after reports of fake job interviews, REUTERS (June
27   6, 2022), https://www.reuters.com/business/wells-fargo-pauses-diverse-slate-hiring-policy-after-reports-
     fake-job-interviews-2022-06-06/.
28
                                                  68
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 1   employees. Three in particular (from users @tecben, @johnthesavage-ufc8182, and Dawn G) purport to

 2   have insider knowledge validating Joe Bruno’s assertions. @johnthesavage-ufc8182 commented that “I

 3   worked at Wells Fargo and Joe is correct about what’s happening with interviews. . . .” Dawn G

 4   commented: “Thank you for speaking on this I was with Wells Fargo Advisors for 18 years, I can attest

 5   to these practices and am available for comments if needed.”

 6               194.   Upon information and belief, “Dawn G” may be Dawn Gray of Plainfield, New Jersey. 157

 7   Another former Wells Fargo employee, @tecben commented “When I worked for WF it was an unwritten

 8   rule that the regional manager already filled job openings and we would have to ask around if it was a

 9   ‘real’ open position.” Other information on @tecben’s profile suggests that @tecben is Benjamin

10   Paniagua 158 who worked at Wells Fargo for over six years.

11               195.   On June 22, 2022, Business Insider reported that Don Banks was a victim of Wells Fargo’s

12   sham interviews, during two separate interviews conducted in 2016 and 2017. 159

13               196.   Following the May 2022 New York Times report, a securities fraud class action was filed

14   against Wells Fargo accusing the Company of damaging its stock value and thereby harming its

15   stockholders by conducting alleged fake interviews to falsely appear that it was complying with an

16   internal policy mandating diverse pools of job candidates. 160 The complaint alleges that, throughout the

17   class period, the Company made materially false and misleading statements or omissions regarding its

18   commitment to diversity in the workplace and that when the truth was ultimately revealed, class members

19   suffered significant losses. 161 The U.S. Attorney’s Office for the Southern District of New York also

20   launched a criminal investigation into the Company’s diversity hiring and practices. 162 Furthermore, in

21
     157
           https://www.linkedin.com/in/dawn-gray-28316b142.
22   158
           https://www.linkedin.com/in/benpaniagua.
23   159
         Urooba Jamal, Wells Fargo Interviewed me just to meet its diversity criteria. I felt less than human
24   when I found out, INSIDER (June 22, 2022), https://www.businessinsider.com/wells-fargo-fake-job-
     interviews-diversity-feel-less-than-human-2022-6.
25   160
           Ardalan v. Wells Fargo & Co., No. 3:22-cv-03811 (N.D. Cal.).
26   161
           Id.
     162
27     See Ex. AA, Minutes of the Special Meeting of the Boards of Directors of Wells Fargo & Co. and
     Wells Fargo Bank, National Association Held on May 22, 2022 (WF_DS_000002863).
28
                                                     69
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 1   August 2022, in its Form 10-Q for the quarterly period ended June 30, 2022, Wells Fargo announced that

 2   the U.S. Department of Labor and other government agencies had initiated an inquiry and investigation

 3   into the Company’s hiring practices related to diversity. 163

 4               197.   Following the suspension of Wells Fargo’s diverse slate hiring policy in June 2022, the

 5   Company announced on August 1, 2022 that its hiring policy will be reinstated effective August 19,

 6   2022. 164 According to Reuters, the Company expects 50% diversity in both the candidates interviewed,

 7   as well as in the panel of interviewers. 165 For its part, rather than conducting an investigation into the

 8   sham interview scandal, the Board simply “discussed conclusions that may be drawn from the data,”

 9   decided without speaking to any interview candidates that the Company lacked a systemic problem and

10   discussed the importance of pursuing a public-relations campaign “proactively engaging on the issue and

11   communicating the Company’s position that the data does not support the allegations.” 166

12                       4.    The Board Knew Wells Fargo’s Hiring and Promotion of Diverse
                               Candidates Were Mission-Critical Risks, But Failed To Put in Place
13                             Appropriate Internal Controls to Ensure that Fake Interviews of
14                             Minority Candidates Did Not Occur

15               198.   As explained above, Wells Fargo has a history of discriminatory practices in its hiring and

16   promoting of monitories. For example, on December 9, 2019, the Wells Fargo Board received a

17   “Monitoring Company Culture Report” that highlighted the Company’s weak internal controls related to

18   hiring discrimination prevention. The presentation noted Wells Fargo had “Ineffective Team Member

19   Diversity Management.” 167 It further concluded that “[t]he number of substantiated allegations related

20   to [discrimination, harassment and retaliation] behaviors could indicate ineffective human capital

21
     163
22         Wells Fargo & Co., Quarterly Report (Form 10-Q), at 110 (Aug. 1, 2022).
     164
         Wells Fargo Reinstates Diverse Slate Hiring Policy Following June Pause, REUTERS (Aug. 1, 2022
23   3:39PM), https://www.reuters.com/business/finance/wells-fargo-reinstates-diverse-slate-hiring-policy-
24   following-june-pause-2022-08-01/.
     165
           Id.
25
     166
        Ex. BB, Minutes of the Regular Meetings of the Boards of Directors of Wells Fargo & Co. and Wells
26   Fargo Bank, National Association Held on June 27-28, 2022 (WF_DS_000003136 at 3164-65).
     167
27      Ex. CC, Sophie Sharp (Human Resources Chief Operating Officer), Monitoring Company Culture
     Report (Q3 2019) (WF_DS_0000024 at 80).
28
                                                     70
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 1   management in areas including poor hiring/selection decisions . . . that may need to be addressed” and

 2   “expose WF to significant . . . legal and reputational risk and potentially reflect unsafe and unsound

 3   management practices.” 168 Days after the Board received the report, Stanford Graduate School’s

 4   Corporate Governance Research Initiative issued a report indicating that not only did Wells Fargo’s CEO

 5   lack racial or ethnic diversity, but his 12 direct reports lacked racial or ethnic diversity as well.

 6             199.       To address the issue of lack of hiring diversity in March 2020, Wells Fargo’s CEO, Charles

 7   Scharf, “announced that diverse candidate slates and interview panels will be required for all Wells Fargo

 8   positions with total direct compensation of more than $100,000.” 169 From the start, Wells Fargo did not

 9   take the program seriously. On June 16, 2020, Wells Fargo’s CEO, Charles Scharf, wrote a memo to the

10   Company’s employees discussing its hiring practices in which he said the bank’s regulatory troubles have

11   made it harder to cast a wide net for top jobs and concluded that “[t]he unfortunate reality is that there is

12   a very limited pool of Black talent to recruit from . . . .” 170 “Many workers were upset by his comments

13   at the time, particularly Black employees who were rising through the ranks. When the comments

14   resurfaced in a Reuters story in September, Mr. Scharf was widely criticized.” 171 In response to

15   Mr. Scharf’s comments, Ken Bacon, a former mortgage industry executive and board member at

16   Comcast, Ally Financial, and Welltower, said, “If people say they can’t find the talent, they either aren’t

17   looking hard enough or don’t want to find it.” 172

18

19
     168
           Id. at 0094.
20   169
        Ex. DD, Excerpt from Nov. 16, 2020 Governance and Nominating Committee Materials
21   (WF_DS_000001401 at 1405).
     170
22      Liz Hoffman & Susan Pulliam, Wall Street Knows It’s Too White. Fixing It Will Be Hard, WALL
     ST. J. (July 2, 2020), https://www.wsj.com/articles/wall-street-knows-its-too-white-fixing-it-will-be-
23   hard-11593687600?mod=article_inline.
     171
       Ben Eisen, Wells Fargo CEO Finds Himself on Defense After a Tough First Year, WALL ST. J. (Oct. 8,
24
     2020), https://www.wsj.com/articles/wells-fargo-ceo-finds-himself-on-defense-after-a-tough-first-year-
25   11602149402?mod=hp_lead_pos5.
     172
         Rachel Sandler, Wells Fargo CEO Reportedly Blames Limited Pool of Black Talent for Trouble
26
     Reaching            Diversity           Goals,             FORBES         (Sept. 22,          2020),
27   https://www.forbes.com/sites/rachelsandler/2020/09/22/wells-fargo-ceo-reportedly-blames-limited-
     pool-of-Black-talent-for-trouble-reaching-diversity-goals/.
28
                                                   71
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 1            200.   In a June 18, 2020, HRC Meeting, the committee was presented with a slide entitled “Why

 2   are people leaving the company?” 173 According to the presentation, “Diversity & Inclusion (D&I) and

 3   Customer Facing voluntary turnover continue trending higher than the enterprise level turnover rate. The

 4   differences have been widening over time, warranting additional review.” (emphasis added).

 5            201.   In August 2020, Wells Fargo paid nearly $8 million to settle claims brought by the

 6   Department of Labor that it had discriminated against more than 34,000 Black applicants during the hiring

 7   process. 174 Wells Fargo pledged to do better and, in 2020, the Company expanded its policy requiring

 8   that at least 50% of the interview candidates represent a historically underrepresented group with respect

 9   to at least one diversity dimension. 175 Throughout 2020 and 2021, the Company touted its diversity and

10   inclusion efforts. 176

11            202.   Around the same time, on August 13, 2020, the 2Q 2020 “Enterprise Risk Report” was

12   presented to the Risk Committee. The report, which identified significant risks the Company was facing

13   identified “Sustained Team Member Allegations of Harassment, Discrimination, and Retaliation” as a

14   “reoccurring trigger.” The presentation also stated that “Continued work to tackle the backlog of

15   allegations is resulting in elevated levels of confirmed allegations.” 177

16

17   173
        Ex. EE, Appendix G: HR Risk and Regulatory Update; Company Culture continued
18   (WF_DS_000000179 at 189).
     174
        See News Release, U.S. Dep’t of Labor, Wells Fargo Agrees to Pay $7.8 Million in Back Wages After
19   U.S.     Department    of    Labor     Alleges      Hiring    Discrimination      (Aug. 24,  2020),
20   https://www.dol.gov/newsroom/releases/ofccp/ofccp20200824.
     175
         Emily Flitter, Federal Prosecutors Open Criminal Inquiry of Wells Fargo’s Hiring Practices, N.Y.
21   TIMES (June 9, 2022 11:45 EST), https://www.nytimes.com/2022/06/09/business/wells-fargo-fake-
22   interviews-investigation.html (noting Wells Fargo implemented a “diverse slate” policy in mid-2020
     “which stipulated at least half of the candidates interviewed for jobs paying $100,000 or more needed to
23   be ‘diverse’.”).
     176
         See, e.g., Wells Fargo & Co., Annual Report (Form 10-K), at 1 (Feb. 22, 2022) (“Wells Fargo values
24
     and promotes diversity, equity and inclusion (DE&I) in every aspect of our business. We are dedicated
25   to recruitment and career development practices that support our employees and promote diversity in our
     workforce at all levels of our Company, including leadership positions. We have a strong record of
26   recruiting, promoting, and rewarding women and racially/ethnically diverse employees at all levels of
     our Company, including a commitment to increase diverse representation in leadership roles.”).
27
     177
           Ex. FF, WF_DS_000000590 at 616.
28
                                                  72
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 1               203.   On September 30, 2020, The Charlotte Observer reported that “[a]t least seven Black

 2   female senior executives have left Wells Fargo in the past 12 months, depleting the pipeline of women

 3   executives of color to the bank’s most senior positions.” 178 “Two people with direct knowledge of the

 4   matter say the bank’s culture around race and gender was a factor in why some of the Black women

 5   left.” 179 “Sharon Goodwine, Wells Fargo’s head of enterprise talent,” was quoted as saying “we need to

 6   do more to recruit, promote and retain diverse talent” and “[w]e have put new programs in place this year

 7   to hold our leaders accountable to increase diverse representation at all levels of the company.”180

 8   Similarly, “Jimmie Paschall, Wells Fargo’s head of enterprise diversity and inclusion,” stated that “[t]here

 9   definitely is a sense that bias lives vibrantly at Wells Fargo. And I think it is around gender, gender

10   identity, as well as race and ethnicity.” 181

11               204.   Following the negative publicity, Wells Fargo internally recognized the importance of

12   addressing the Company’s diversity and inclusion hiring efforts. On October 26, 2020, the Board’s Risk

13   Committee received a presentation noting that “[t]here is increased risk[] of negative reputation impacts

14   following media coverage referenc[ing] a comment on diverse talent from the chief executive officer’s

15   June ‘Our commitment to change’ memo, which generated significant social media conversation and a

16   critical social conversation risk advisory rating (highest level) . . . Mr. Scharf discussed the importance

17   of bringing real focus to D&I across the enterprise, and Ms. Clark encouraged directors to participate in

18   stakeholder engagement efforts when possible.” 182 Similarly, during a board meeting the same and

19   following day Wells Fargo’s Vice Chairman of Public Affairs, William Daley, “noted that D&I is an

20
     178
         Austin Weinstein, “We need to do more”: Seven high-ranking Black women leave Wells Fargo,
21
     CHARLOTTE                        OBSERVER                        (Sept. 30,                      2020),
22   https://amp.charlotteobserver.com/news/business/banking/article246012155.html (“Two went to work at
     Citigroup, which just announced the first female CEO of a major U.S. bank. One went to work at
23   American Express, reporting to one of the most senior Black men in finance. Another left for Equifax.”).
     179
24         Id.
     180
           Id.
25
     181
           Id.
26   182
         Ex. GG, Mandy Norton (Chief Risk Officer) and Price Sloan (Chief Strategic Enterprise Risk
27   Management Officer), IRM Update (inc. Notable Risk Updates and Emerging Risks Presentation) (Oct.
     26, 2020) (WF_DS_000001325 at 1338 & 1387).
28
                                                     73
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 1   imperative of the Company’s senior management team.” 183 Scharf and Daley’s comments would prove

 2   to serve as mere lip service as the Board took no practical action.

 3          205.    In November 2020, the HRC highlighted that “[s]ubstantiated cases [of racial

 4   discrimination] were characterized by: Derogatory/racist statements and unfair treatment towards

 5   customers and employees.” 184 Indeed, Mr. Scharf attributed his own “insensitive comment” about a

 6   supposed shortage of minority talent as “reflecting my own unconscious bias.” 185

 7          206.    Over the ensuing months, the Wells Fargo Board and Senior Management would

 8   repeatedly highlight the importance of addressing diversity in hiring, yet the Board took no meaningful

 9   steps to address the issue. For example:

10          On November 16, 2020, the Board’s Corporate Responsibility Committee received a
            presentation stating that “Wells Fargo is at a pivotal moment in re-establishing and
11          advancing its leadership on diversity and inclusion issues, particularly as an employer and
12          a bank of choice.” 186

13          On November 17, 2020, HRC received a presentation stating that “Ongoing impacts of
            social justice movements, coupled with negative diversity related media attention in Q3,
14          may contribute to emerging HCR [Human Capital Risk] tied to insufficient diversity in
            the workforce by making it more difficult to retain and hire diverse talent.” 187
15
            On April 27, 2021, a Diverse Segments presentation to the Board characterized the diverse
16          interview slates and teams initiative as one of the Company’s “critical initiatives and
17          actions supporting diversity, equity & inclusion.” 188

18

19   183
        Ex. HH, Minutes of the Regular Meetings of the Boards of Directors of Wells Fargo & Co. and Wells
20   Fargo Bank, National Association Held on October 26-27, 2020 (WF_DS_000000640 at 651).
     184
        Ex. II, Human Resource Committee Meeting “Tab F: HR Risk, Regulatory, and Other Updates” (Nov.
21
     17, 2020) (WF_DS_000001228 at 1245).
22   185
         Wells Fargo CEO apologizes for remark about diverse talent, REUTERS (Sept. 23, 2020),
     https://www.reuters.com/article/global-race-wells-fargo/wells-fargo-ceo-apologizes-for-remark-about-
23   diverse-talent-idUSL3N2GK37W.
24   186
        Ex. JJ, Barri Rafferty (Head of Communications), Reputation Update, (Nov. 16, 2020)
     (WF_DS_000003610 at 3611).
25
     187
        Ex. II, Human Resource Committee Meeting “Tab F: HR Risk, Regulatory, and Other Updates” (Nov.
26   17, 2020) (WF_DS_000001228 at 1238).
     188
27     Ex. KK, Kieber Santos (Head of Diverse Segments, Representation and Inclusion), Diverse Segments,
     Representation and Inclusion: Status Update (Apr. 27, 2021) (WF_DS_000000754).
28
                                                74
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            On June 29, 2021, the HRC received a presentation noting “Emerging diversity and
 1          inclusion risks” and that “YTD-2021 Insufficient Diversity in the Workforce has
 2          accounted for $10MM or 88% of internal losses-primarily attributed to alleged
            discrimination and retaliation.” 189
 3
            On December 14, 2021, the HRC received a presentation noting that “Q3 HCR losses
 4          without COVID are estimated at 1.4MM, where insufficient diversity in the workforce has
            accounted for $11MM or 86% of YTD internal losses-primarily within branch
 5          banking.” 190
 6          D.      Wells Fargo Issued False and Misleading Statements and Omissions
 7                  Concerning the Company’s Discriminatory Hiring and Lending Practices

 8          207.    From January 1, 2019 to the present (the “Relevant Period”), Wells Fargo and its officers

 9   and directors made numerous materially false and misleading public statements to stockholders in proxy

10   materials and other public filings denying, downplaying and concealing the Company’s discriminatory

11   practices, including statements concerning its Diverse Search Requirement and lending practices. These

12   statements appeared in Wells Fargo’s publicly-filed documents statements and annual reports, in

13   interviews with journalists, in Scharf’s Senate testimony, and in various official reports published by the

14   Company.

15          208.    Defendants’ numerous false or misleading statements are identified below. With respect

16   to the various public filings or other sources, Plaintiffs identify: (1) the materially false or misleading

17   statements in those representations (which is bolded and italicized); and (2) why those statements were

18   false or misleading when made, including the information Defendants either misstated and/or failed to

19   disclose.
                    1.      March 16, 2020 – 2020 Proxy
20
            209.    On March 16, 2020, Wells Fargo Wells Fargo filed its 2021 proxy statement on Form DEF
21
     14A (the “2020 Proxy”), which included at the front a letter signed by Scharf and Noski. Wells Fargo
22
     stockholders were notified of the 2020 Proxy “[b]y Order of our Board of Directors.” The Proxy told
23
     stockholders that the Company’s “performance assessment framework for our executives officers and
24

25
     189
        Ex. LL, Human Resource Committee Meeting “Tab E: Risk, Regulatory, and Other Updates” (Jun.
26   29, 2021) (WF_DS_0000000914-15).
     190
27     Ex. MM, HRC Meeting “Appendix E: Risk, Regulatory, and Other Updates) (Dec. 14, 2021)
     (WF_DS_000001450).
28
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 1   other senior leaders to drive outcomes of both annual and long-term incentive awards” had been

 2   “enhanced” in “2020.” 191 The 2020 Proxy further stated that this performance assessment framework

 3   was “robust” and “overseen by our Board’s [HRC],” and that it considered “progress against diversity

 4   initiatives.” 192 It stated that the Board members responsible for D&I initiatives and results are Ronald

 5   Sargent, Chair of the HRC Committee, as well as fellow members Hewitt, James and Morris. 193

 6             210.    The 2020 Proxy also represented under the heading HUMAN CAPITAL

 7   MANAGEMENT that “We Are Responsible for Leading Our Transformation” and that the Board

 8   acknowledged that “we ALL have responsibility for managing risk EVERY DAY.” 194

 9             211.    In August 2020, Wells Fargo issued an ESG Report which reiterated that DEI issues were

10   a mission critical issue for the Company.

11             212.    DEI issues at this time were highly material to Wells Fargo’s stockholders because of the

12   huge reputational hits Wells Fargo had already taken regarding its very public scandals regarding racist

13   policies. In the 2020 Proxy, Wells Fargo announced a slate of DEI initiatives, including programs to

14   increase diverse representation in senior-level job positions. In the 2020 Proxy, the Director Defendants

15   represented that Wells Fargo was “dedicated to recruitment and career development practices that

16   support our employees and promote diversity in our workforce at all levels of our Company, including

17   leadership positions.”

18             213.    The 2020 Proxy also contained a section entitled, “Our Commitment to Do More to

19   Increase Diversity in More Senior Roles,” in which the Company represented that:

20             “Under the leadership of our CEO, Charlie Scharf, the following are some specific actions
               we are taking . . . . We are requiring diverse candidate slates and interview teams for all
21             roles at Wells Fargo with total direct compensation of more than $100,000,” a reference
22             to the Diverse Search Requirement.” 195

23

24   191
           2020 Proxy at iii.
     192
25         2020 Proxy at v.
     193
26         2020 Proxy at 39.
     194
           2020 Proxy at 51.
27
     195
           2020 Proxy at 60.
28
                                                   76
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 1          214.    The 2020 Proxy also responded to a “Shareholder Proposal” for a “Report on Global

 2   Median Pay Gap” by “recommend[ing] a vote AGAINST th[at] proposal” because, among other things:

 3          Promoting Diversity and Inclusion in our Workforce
 4          In addition to our commitment to deliver equal pay for equal work, we recognize the
            importance of the structural issue raised by this proposal and the industry- wide gap in the
 5
            representation of women and people of color in senior leader roles. We are committed to
 6          advancing the diversity of leadership across the Company and preparing these leaders
            for success through career development, training, and mentoring. We have a strong
 7          record of recruiting, promoting, and rewarding gender and racially/ethnically diverse
            employees at all levels of our Company, which reflects our commitment to increasing
 8          diversity in leadership roles.
 9                                                      ***
10
            Hiring and Talent Mobility Strategy. We employ a selection and assessment program
11          that ensures our hiring process is fair and equitable.

12          Wells Fargo has a three-prong talent strategy where all employees are expected to focus
            on attracting, hiring, and supporting diverse talent.
13
            215.    The above statements in the 2020 Proxy were materially false and misleading when made
14
     because they emphasized that “we have a strong record of recruiting, promoting, and rewarding gender
15
     and racially/ethnically diverse employees”; that “we have a strong record of recruiting . . . diverse
16
     employees at all levels of our Company, which reflects our commitment to increasing diversity in
17
     leadership roles: and that “our hiring process is fair and equitable” when, in fact, Wells Fargo did not
18
     have a “strong record” hiring diverse candidates and instead was engaging in a widespread scheme of
19
     “fake” or “sham” interviews of diverse candidates merely to claim compliance with its Diverse Search
20
     Requirement. Indeed, many of the diverse candidates did not have “fair and equitable” chance of
21
     obtaining the position for which they were interviewing because often another candidate had already been
22
     selected for the position.
23
            216.    In addition, the 2020 Proxy omitted highly material information—including the fact that
24
     the “interview teams” would be conducting fake interviews of minority candidates for positions that had
25
     already been filled in order to give the appearance, not reality, of progress towards diversity.
26

27

28
                                                 77
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 1                    2.     February 23, 2021 – 2020 Annual Report

 2             217.   On February 23, 2021, Wells Fargo published its 2020 annual report (the “2020 Annual

 3   Report”). The 2020 Annual Report contained a “[l]etter from CEO,” which included a section entitled

 4   “Diversity, Equity, and Inclusion.” In that section, Scharf stated that, “[t]hroughout 2020, we also

 5   announced our expanded commitments to diversity, equity, and inclusion,” which included, among other

 6   measures, “[i]n the U.S., we are requiring a diverse slate of candidates — and a diverse interview team

 7   — for most roles with total direct compensation of more than $100,000 per year.” 196

 8             218.   Also on February 23, 2021, Wells Fargo filed its 2020 Annual Report with the SEC on

 9   Form 10-K (the “2020 Form 10-K), which was signed by Defendants Black, Chancy, Clark, Craver,

10   Hewett, James, Morris, Noski, Payne, Pujadas, Sargent, Scharf, and Vautrinot. The 2020 Form 10-K

11   stated:

12             Promoting Diversity, Equity and Inclusion. Meeting the increasingly diverse needs of
               Wells Fargo’s global customer base is critical to our company’s long-term growth and
13             success. Wells Fargo values and promotes diversity, equity and inclusion (DE&I) in
14             every aspect of our business. We are dedicated to recruitment and career development
               practices that support our employees and promote diversity in our workforce at all levels
15             of our Company, including leadership positions. We have a strong record of recruiting,
               promoting, and rewarding women and racially/ethnically diverse employees at all levels
16             of our Company, including a commitment to increase diverse representation in
               leadership roles. In November 2020, a new Operating Committee-level role reporting
17             directly to our CEO was created to lead DE&I efforts. In this role, our Head of Diverse
18             Segments, Representation and Inclusion is responsible for driving a Company-wide DE&I
               strategy. 197
19
               219.   The above statements in the 2020 Annual Report and 2020 Form 10-K were materially
20
     false and misleading because while Defendants claimed to promote “Diversity, Equity and Inclusion” in
21
     its “recruitment and career development practices” and to “have a strong record of recruiting, promoting,
22
     and rewarding women and racially/ethnically diverse employees at all levels of our Company,” in fact,
23
     Wells Fargo had been engaging in a widespread scheme of “fake” or “sham” interviews of diverse
24
     candidates merely to claim compliance with its Diverse Search Requirement. Indeed, diverse candidates
25

26   196
         See https://www08.wellsfargomedia.com/assets/pdf/about/investor-relations/annual-reports/2020-
     annual-report.pdf.
27
     197
           2020 Form 10-K at 1.
28
                                                   78
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 1   did not have a legitimate and fair chance of obtaining the position for which they were interviewing and

 2   often another candidate had already been selected for that position and, as a result, the Company had no

 3   intention of hiring the diverse candidates it was interviewing.

 4                     3.      March 16, 2021 – 2021 Proxy

 5             220.    On March 16, 2021, Wells Fargo filed its 2021 proxy statement on Form DEF 14A (the

 6   “2021 Proxy”), which included at the front a letter signed by Scharf and a letter signed by Noski. Wells

 7   Fargo shareholders were notified of the 2021 Proxy “[b]y Order of our Board of Directors.” The 2021

 8   Proxy stated, “We Are Advancing Diversity, Equity, and Inclusion”; 198 “Wells Fargo values and

 9   promotes DE&I in every aspect of our business”; 199 and that “We have a strong record of recruiting,

10   promoting, and rewarding women and racially/ethnically diverse employees at all levels of our

11   Company, including a commitment to increase representation in leadership roles.” 200 Under a sub-

12   heading entitled, “Improving Diverse Representation and Inclusion within the Company,” Defendants

13   stated, “[w]e are expanding our diversity and inclusion commitments with a focus on hiring,

14   promotions, and turnover, with increased accountability across all of those areas and are taking

15   specific actions in support of these commitments.” 201 In particular, Defendants stated, “[i]n the U.S.,

16   we are requiring a diverse slate of candidates – and a diverse interview team – for most roles with total

17   direct compensation of more than $100,000 per year.” 202 The 2021 Proxy described the Diverse Search

18   Requirement as follows:

19             Consistent with our commitment to advance diversity, equity, and inclusion (DE&I) and
               improve workforce diversity, Wells Fargo has established Diversity Sourcing and
20             Interview Team Guidelines that require diverse candidate slates and interview teams
21             (referred to as our Diverse Search Requirement). Our Diverse Search Requirement was
               originally implemented based on our evaluation of the Company’s workforce in order to
22             determine how best to improve workforce diversity. Based on our ongoing review, the
               Company decided to expand the scope of the Diverse Search Requirement in 2020 as part
23

24   198
           2021 Proxy at 52.
     199
25         2021 Proxy at 52.
     200
26         2021 Proxy at 54.
     201
           2021 Proxy at 54.
27
     202
           2021 Proxy at 54.
28
                                                   79
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               of our overall and continuing efforts to enhance workforce diversity. We define diversity
 1             for these purposes to include the following diversity dimensions: race/ethnicity, gender,
 2             LGBTQ, veterans, and people with disabilities.

 3             The Diverse Search Requirement requires the following for most U.S. roles with total direct
               compensation greater than $100,000:
 4
                  •   At least 50% of interview candidates must be diverse with respect to at least one
 5                    diversity dimension; and
 6                •   At least one interviewer on the hiring panel must represent at least one diversity
                      dimension.203
 7

 8             221.   The above statements in the 2021 Proxy were materially false and misleading because

 9   while it extolled “our commitment to advance diversity, equity, and inclusion (DE&I) and improve

10   workforce diversity” through “the Diverse Search Requirement,” in fact, Wells Fargo had been engaging

11   in widespread scheme of “fake” or “sham” interviews of diverse candidates merely to claim compliance

12   with its Diverse Search Requirement. In reality, diverse candidates did not have a legitimate and fair

13   chance of obtaining the position for which they were interviewing and often another candidate had already

14   been selected for that position and, as a result, the Company had no intention of hiring the diverse

15   candidates it was interviewing.

16             222.   The above statements in the 2021 Proxy were also materially false and misleading when

17   made and/or omitted material information because, in fact, Wells Fargo did not have a “strong record of

18   recruiting, promoting and rewarding racially and ethnically diverse employees as evidenced by various

19   lawsuits and settlements with the Company, including the settlement in August 2020 where 34,000 Black

20   applicants had alleged discriminatory hiring practices.

21             223.   The 2021 Proxy also contained a “Shareholder Proposal” that the Board “Conduct a Racial

22   Equity Audit.” Specifically, the proposal “urge[d] the Board of Directors to oversee a racial equity audit

23   analyzing [Wells Fargo’s] adverse impacts on nonwhite stakeholders and communities of color. Input

24   from civil rights organizations, employees, and customers should be considered in determining the

25   specific matters to be analyzed. A report on the audit, prepared at reasonable cost and omitting

26   confidential or proprietary information, should be publicly disclosed on [Wells Fargo’s] website.

27
     203
           2021 Proxy at 57.
28
                                                   80
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 1             224.   The shareholder proposal further stated:

 2             High-profile police killings of black people – most recently George Floyd – have
               galvanized the movement for racial justice. That movement, together with the
 3             disproportionate impacts of the COVID-19 pandemic have focused the attention of the
 4             media, the public and policy makers on systemic racism, racialized violence and inequities
               in employment, health care, and the criminal justice system. This has further raised the
 5             importance of addressing the mission critical issue of ensuring the Company has sufficient
               internal controls to prevent hiring and lending discrimination.
 6
               In June 2020, [Wells Fargo] CEO Charles Scharf urged that “the inequality and
 7             discrimination that has been so clearly exposed . . . must not continue,” and [Wells Fargo]
 8             announced initiatives to improve workforce diversity and inclusion and invest in black-
               owned businesses. 204 Those actions followed some missteps: Scharf previously stated that
 9             the reason [Wells Fargo] had difficulty hiring diverse candidates was due to the “very
               limited pool of Black talent, demoralizing black employees, and the loss of black female
10             top managers. 205
11
               [Wells Fargo’s] problems predate Scharf’s 2019 arrival. [Wells Fargo] has settled
12             employment discrimination claims on several recent occasions, including incidents of race
               discrimination in 2014 uncovered through a Labor Department audit. In 2019, Wells
13             Fargo settled a lawsuit by the City of Philadelphia alleging that Wells Fargo targeted
               nonwhite neighborhoods for high-fee and high-interest rate loans. 206 In 2012, the same
14             practices led to a $184 million Department of Justice settlement. A 2021 investigation
               found racial disparities in Wells Fargo’s lending under the Paycheck Protection Program
15
               in Los Angeles: businesses in majority-white neighborhoods were more than twice as
16             likely to receive funding as businesses in majority-nonwhite neighborhoods. 207

17             [Wells Fargo’s] activities with potential adverse impacts are not limited to the employment
               and lending contexts. [Wells Fargo] has supported numerous police foundations, which
18             bypass normal procurement processes to buy equipment for police departments, including
               surveillance technology that has been used to target communities of color and nonviolent
19
               protestors. In the 2020 election cycle, [Wells Fargo] gave $135,000 to members of
20             Congress who objected to certifying the election results, 208 an action some viewed as “a

21

22   204
           See https://stories.wf.com/wells-fargo-ceo-a-watershed-moment/.
23   205
        https://www.wsj.com/articles/wells-fargo-ceo-finds-himself-on-defense-after-a-tough-first-year-
24   11602149402?mod=hp_lead_pos5.
     206
        https://whyy.org/articles/wells-fargo-will-pay-philadelphia-10m-to-settle-citys-discriminatory-
25   lending-lawsuit/.
26   207
        https://www.latimes.com/california/story/2021-05-01/ppp-loans-coronavirus-pandemic-businesses-
     trump.
27
     208
           https://edition.cnn.com/interactive/2021/01/business/corporate-pac-suspensions/.
28
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               direct attack on the voting rights of people of color.” 209 Although Wells Fargo paused
 1             PAC contributions after the insurrection, it resumed them following a review of its criteria.
 2             Wells Fargo is a member of the American Bankers Association, which continues to donate
               to objecting members. 210
 3
               A racial equity audit would help [Wells Fargo] identify, prioritize, remedy and avoid
 4             adverse impacts on nonwhite stakeholders and communities of color. We urge Wells Fargo
               to assess its behavior through a racial equity lens in order to obtain a complete picture of
 5             how it contributes to, and could help dismantle, systemic racism.
 6
               225.   In response, the Board recommended voting against the proposal:
 7
               Our Board recommends a vote AGAINST this proposal, which is identified as Item 7 on
 8             the proxy card, for the following reasons:
 9
                                                           ***
10
                  •   Wells Fargo has taken a number of actions to promote and enhance diversity,
11                    equity, and inclusion goals within the Company and externally that include a
                      focus on diverse workforce representation (including significantly increasing
12                    Black leadership), accountability of senior management for progress in
13                    improving diverse representation and inclusion, unconscious bias education and
                      training for employees, and new business initiatives and investments focused on
14                    support for diverse communities.

15                •   Wells Fargo is providing updates on its diversity, equity, and inclusion initiatives
                      and actions to promote racial equity in our public disclosures such as the
16                    Company’s Environmental, Social, and Governance (ESG) reporting, our
17                    website, and this proxy statement.

18                •   The Board believes that the Company’s significant and ongoing diversity, equity,
                      and inclusion initiatives and its existing and planned future disclosures about its
19                    diversity, equity, and inclusion initiatives, including to report on the results of its
                      Human Rights Impact Assessment which is being conducted by a third party and
20
                      includes a focus on racial equity, are fully responsive to the proposal.
21
               226.   The Board further stated that “Wells Fargo supports the communities in which it does
22
     business through our products and services, community engagement, philanthropy, and employee
23

24
     209
           See https://www.nytimes.com/2021/01/15/us/politics/lankford-apology-election-biden.html.
25
     https://www.marketwatch.com/story/business-leaders-call-for-action-on-trump-after-mob-siege-at-
26   capitol-11609976655.
     210
27         https://www.citizensforethics.org/reports-investigations/crew-reports/corporations-have-given-10-
     million-to-the-sedition-caucus/.
28
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 1   volunteerism. We play a significant role in both supporting diverse communities across the nation and

 2   helping foster a more inclusive society. Wells Fargo has long believed that focusing on the needs of

 3   all of our stakeholders, including customers, employees, regulators, suppliers, communities, and

 4   shareholders, drives long-term value creation.”

 5          227.    The Board concluded that “[t]he Board believes that the Company’s significant and

 6   ongoing DE&I initiatives and its existing and planned future disclosures about its DE&I initiatives,

 7   including to report on the results of its [Human Rights Impact Assessment] which is being conducted by

 8   a third party and includes a focus on racial equity, are fully responsive to the proposal.”

 9          228.    Wells Fargo’s and the Board’s statements in opposing this shareholder proposal were

10   materially false and misleading because, at the same time the Board claimed that Wells Fargo was

11   “helping to remove barriers to financial inclusion” for Blacks and Hispanics, the Company’s lending

12   algorithms were systematically resulting in disparate impact towards Black and Hispanic credit applicants

13   and systematically failing to offer minority borrowers the same interest rate discounts—often referred to

14   as “pricing exceptions”—as White borrowers.

15          229.    The 2022 Proxy’s statements opposing the shareholder proposal were also materially false

16   and misleading because as a result of the Diverse Search Requirement Wells Fargo had been engaging in

17   a widespread scheme of “fake” or “sham” interviews of diverse candidates merely to claim compliance

18   with its Diverse Search Requirement when, in reality, those diverse candidates did not have a legitimate

19   and fair chance of obtaining the position for which they were interviewing and often another candidate

20   had already been selected for that position and, as a result, the Company had no intention of hiring the

21   diverse candidates it was interviewing.

22                  4.      April 26, 2021 – 2020 Social Impact and Sustainability Highlights

23          230.    On April 26, 2021, Wells Fargo published a report entitled, “2020 Social Impact and

24   Sustainability Highlights.” A section entitled “Elevating diversity, equity, and inclusion” outlined the

25   Company’s Diverse Search Requirement:

26          To be successful, we must continue to create a truly diverse and inclusive workforce that
            brings a wide range of insights and perspectives to all levels of our company. Our Diverse
27          Search Requirement requires that for most U.S. roles with total direct compensation
28
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            greater than $100,000, at least 50% of interview candidates must be diverse with respect
 1          to at least one diversity dimension. Further, at least one interviewer on the hiring panel
 2          must represent at least one diversity dimension. For these purposes, our definition of
            diversity includes race/ethnicity, gender, LGBTQ, veterans, and people with disabilities.
 3          We’re expanding this program internationally. As of December 31, 2020, the Diverse
            Search Requirement:
 4
            Applied to approximately 95% of all U.S. roles with total direct compensation greater
 5          than $100,000; and
 6          Applied to approximately 48% of all active U.S. employees irrespective of their total
 7          direct compensation

 8              •   91% of applicable requisitions had a diverse interview slate [and]

 9              •   94% of applicable requisitions had a diverse interview team.

10          231.    The above statements in the 2020 Social Impact and Sustainability Highlights were
11   materially false and misleading because while it claimed that the Company “must continue to create a
12   truly diverse and inclusive workforce” through “our Diverse Search Requirement,” in fact, Wells Fargo
13   had been engaging in widespread scheme of “fake” or “sham” interviews of diverse candidates merely to
14   claim compliance with its Diverse Search Requirement when, in reality, those diverse candidates did not
15   have a legitimate and fair chance of obtaining the position for which they were interviewing and often
16   another candidate had already been selected for that position and, as a result, the Company had no
17   intention of hiring the diverse candidates it was interviewing.
18                  5.      May 26, 2021 – Defendant Scharf’s Testimony to the United States
                            Senate Committee on Banking, Housing, and Urban Affairs
19

20          232.    On May 26, 2021, Defendant Scharf provided testimony during a hearing before the

21   United States Senate Committee on Banking, Housing, and Urban Affairs. In a portion of his testimony

22   under a heading entitled, Our Commitment to Diversity, Equity, and Inclusion, Scharf stated, among

23   other things, “for the hiring of many senior roles, we have implemented guidelines that require a diverse

24   slate of candidates (at least 50 percent) and a diverse interview panel.”

25          233.    Defendant Scharf’s testimony to the Committee on Banking, Housing, and Urban Affairs

26   was materially false and misleading because while Sharf claimed that “we have implemented guidelines

27   that require a diverse slate of candidates (at least 50 percent) and a diverse interview panel,” in fact, as a

28
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 1   result of the Diverse Search Requirement, Wells Fargo had been engaging in a widespread scheme of

 2   “fake” or “sham” interviews of diverse candidates merely to claim compliance with its Diverse Search

 3   Requirement when, in reality, those diverse candidates did not have a legitimate and fair chance of

 4   obtaining the position for which they were interviewing and often another candidate had already been

 5   selected for that position and, as a result, the Company had no intention of hiring the diverse candidates

 6   it was interviewing.

 7                  6.      July 15, 2021 – 2021 ESG Report

 8          234.    On July 15, 2021, Wells Fargo published its 2021 ESG Report, which began with a letter

 9   signed by Scharf. In the 2021 ESG Report, Defendants provided an “[u]pdate on Wells Fargo’s DE&I

10   commitments,” stating that the Company “[r]equire[s] diverse candidate slates and interview teams for

11   key roles with total direct compensation of more than $100,000.” In this same portion of the 2021 ESG

12   Report, Wells Fargo also stated:

13          In the U.S., we now require that at least 50% of interview candidates identify with at least
            one diversity dimension — and we require a diverse team of interviewers — for most roles
14          with total direct compensation of more than $100,000. Outside the U.S., we have country-
15          specific strategies in place to ensure that we’re considering diverse candidate slates for
            executive-level roles.
16
            235.    The above statements in the 2021 ESG Report were materially false and misleading
17
     because despite lauding the Company’s policy requiring it to interview “diverse candidate slates,” in fact,
18
     Wells Fargo had been engaging in a widespread scheme of “fake” or “sham” interviews of diverse
19
     candidates merely to claim compliance with its Diverse Search Requirement when, in reality, those
20
     diverse candidates did not have a legitimate and fair chance of obtaining the position for which they were
21
     interviewing and often another candidate had already been selected for that position and, as a result, the
22
     Company had no intention of hiring the diverse candidates it was interviewing.
23
            236.    The 2021 ESG report was also false and misleading because it stated that Wells Fargo
24
     sought to achieve “homeownership goals” while “maintaining our focus on fair and responsible lending”
25
     including by among other things “[d]evelop[ing] products, programs, and polices intended to promote
26
     growth in traditionally underserved markets.” Yet, as set forth herein (see § VI.B.7), the Company’s
27
     automated CORE underwriting system resulted in disparate impact towards minorities, depriving a large
28
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 1   percentage of “traditionally underserved” minorities of the ability to obtain a mortgage. And even when

 2   many of these underserved borrowers did qualify for a mortgage, they were often required to pay more

 3   than similarly situated White borrowers due to discriminatory pricing exceptions.

 4                  7.      October 7, 2021 – Defendant Sanchez’s Virtual Interview with the
                            Institute for Corporate Productivity
 5
            237.    On October 7, 2021, Defendant Sanchez participated in a virtual interview with the
 6
     Institute for Corporate Productivity (“i4cp”) 211 during an installment of its Talent Acquisition Next
 7
     Practices Monthly series. As an organization dedicated to “discover[ing] next practices in human capital,”
 8
     i4cp’s “Talent Acquisition Next Practices Monthly series provides a forum for the [talent acquisition]
 9
     leadership community to come together to discover and advance next practices” in the industry. During
10
     the interview, i4cp host Lorrie Lykins asked Sanchez to “talk a little bit about building diverse candidate
11
     slates and increasing opportunities” for diverse job candidates at Wells Fargo. As part of her response,
12
     Sanchez stated, in relevant part, that:
13
            [W]e have really focused a lot on the external sourcing and making sure that we are
14
            proactively sourcing for building diverse candidate slates. . . .
15
            [W]e formalized the candidate slate requirement for roles $100K and above. It’s probably
16          about a year and a half or two years ago to say that you have to have 50% of the slate –
            of the candidate slate that will be interviewed needs to be diverse in one dimension or
17          another. Also, the interview team has to be diverse, and so that’s very important as well.
18          But I think the core for us and what’s key is not to sit back and wait and see who arrives in
            that candidate pool, but to be constantly targeting external as well as internal sourcing to
19
            make sure that the pipeline is filled with great candidates. And we’ll identify with the
20          recruiters who work hand-in-hand with our diversity sourcing group.

21          Sanchez added that, in trying to build a pool of diverse candidates, Wells Fargo’s
            “recruiters can say look, I have a really tough role to fill. I’m having a hard time pipelining
22          that, and so the diversity sourcing group can step in and also do a targeted effort to make
            sure that they’ve filled that pipeline adequately and found where they can find diverse
23
            groups.”
24

25

26
     211
27      i4cp describes itself as “a leading research organization and network of HR executives that discovers
     next practices in human capital.” See https://www.i4cp.com/library/next-practice.
28
                                                 86
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 1          238.    Defendant Sanchez’s statements during her virtual interview with i4cp were materially

 2   false and misleading because while she claimed that Wells Fargo was “proactively sourcing for building

 3   diverse candidate slates” through “the candidate slate requirement” which required that “50% . . . of the

 4   candidate slate that will be interviewed needs to be diverse,” in fact, as a result of the Diverse Search

 5   Requirement, Wells Fargo had been engaging in a widespread scheme of “fake” or “sham” interviews of

 6   diverse candidates merely to claim compliance with its Diverse Search Requirement when, in reality,

 7   those diverse candidates did not have a legitimate and fair chance of obtaining the position for which they

 8   were interviewing and often another candidate had already been selected for that position and, as a result,

 9   the company had no intention of hiring the diverse candidates it was interviewing.

10          239.    In addition, Defendant Sanchez’s statements in ¶ 239 that “we have really focused a lot

11   on the external sourcing and making sure that we are proactively sourcing for building diverse candidate

12   slates,” “the core for us and what’s key is not to sit back and wait and see who arrives in that candidate

13   pool, but to be constantly targeting external as well as internal sourcing to make sure that the pipeline is

14   filled with great candidates,” and “the diversity sourcing group can step in and also do a targeted effort

15   to make sure that they’ve filled that pipeline adequately and found where they can find diverse groups”

16   were materially false and misleading and omitted material facts when made because, in reality, Wells

17   Fargo was building slates of diverse candidates simply to claim compliance with its Diverse Search

18   Requirement when, in truth, diverse candidates did not have a legitimate and fair shot at obtaining the

19   job or another candidate was already previously selected for the job and the Company had no intention

20   of hiring the diverse candidates it was interviewing.

21                  8.      March 14, 2022 – 2022 Proxy

22          240.    On March 14, 2022, Wells Fargo Wells Fargo filed its 2022 proxy statement on Form DEF

23   14A (the “2022 Proxy”), which included at the front a letter signed by Scharf and a letter signed by Black.

24   Wells Fargo stockholders were notified of the 2022 Proxy “[b]y Order of our Board of Directors.” The

25   2022 Proxy stated that “Wells Fargo values and promotes DE&I across out business.” In the 2022 Proxy,

26   in a section entitled, “Our Approach to Advancing Diversity, Equity, and Inclusion,” Wells Fargo made

27   various representations regarding the Company’s Diverse Search Requirement, including, inter alia, that:

28
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               Our DE&I commitments include a focus on hiring, promotions, and retention, and have
 1             been designed with increased accountability across those areas. These include:
 2
               Diverse Candidates[:] Diversity Sourcing and Interview Team Guidelines that require
 3             diverse candidate slates and interview teams for designated posted positions. We define
               diversity for these purposes to include the following diversity dimensions: race/ethnicity,
 4             gender, LGBTQ, veterans, and people with disabilities.
 5                                                       ***
 6             Our Affirmative Action Team[:] We conduct and track targeted outreach efforts to
               underutilized populations in order to attract well-qualified individuals to apply for open
 7
               positions and identify placement goals to help focus recruitment strategies toward
 8             underrepresented groups.

 9             Our Diversity Sourcing Group[:] We seek to recruit the best and brightest talent with
               a keen focus on diversity for senior-level roles. They pursue this goal by establishing
10             trusted partnerships with candidates, hiring managers, and recruiting consultants. 212
11
               241.   The above statements in the 2022 Proxy were materially false and misleading because
12
     while it claimed that Wells Fargo’s “DE&I commitments include . . . Diversity Sourcing and Interview
13
     Team Guidelines that require diverse candidate slates and interview teams for designated posted
14
     positions” in order “to recruit the best and brightest talent with a keen focus on diversity for senior-level
15
     roles,” in fact, as a result of the Diverse Search Requirement, Wells Fargo had been engaging in
16
     widespread scheme of “fake” or “sham” interviews of diverse candidates merely to claim compliance
17
     with its Diverse Search Requirement when, in reality, those diverse candidates did not have a legitimate
18
     and fair chance of obtaining the position for which they were interviewing and often another candidate
19
     had already been selected for that position and, as a result, the Company had no intention of hiring the
20
     diverse candidates it was interviewing.
21
               242.   The 2022 Proxy also contained a “Shareholder Proposal” that the Board “Conduct a Racial
22
     Equity Audit.” The proposal was substantially identical to the similar proposal in the 2021 Proxy.
23
     ¶¶ 222-31 above. In response, the Board recommended voting against the proposal:
24
               Our Board recommends a vote AGAINST this proposal, which is identified as Item 10 on
25             the proxy card, for the following reasons:
26

27
     212
           2022 Proxy at 35.
28
                                                   88
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               •   Our Board believes that the Company’s significant and ongoing diversity, equity,
 1
                   and inclusion (DE&I) initiatives and its existing and planned future disclosures of
 2                 these efforts are responsive to the proposal. Additionally, consistent with our
                   commitment in 2021, we expect to provide a disclosure, prior to the filing of this
 3                 proxy statement, related to the Human Rights Impact Assessment, which includes
                   a DE&I focus.
 4
               •   The Company has worked to integrate DE&I across the enterprise. In 2021, the
 5                 Company added dedicated Diverse Segment Leader roles in each customer-facing
 6                 line of business. Beginning in 2020, the Company launched forums in which
                   executives from underrepresented groups share, on a regular basis, their
 7                 perspectives and ideas with our CEO and other senior leaders on how to improve
                   the experience of diverse employees and customers. Initiatives that result from
 8                 these forum discussions are tracked and reviewed regularly.
 9             •   The Company has focused on increasing executive accountability by linking DE&I
10                 outcomes to compensation.

11             •   Additionally, Wells Fargo has launched a number of new initiatives aimed at
                   supporting communities of color and addressing systemic economic inequities
12                 including its Banking Inclusion Initiative, a 10-year commitment to help unbanked
                   individuals gain access to affordable, mainstream, digitally-enabled transactional
13                 accounts, its investment in Minority Depository Institutions, and its commitment to
14                 the Black Economic Alliance Entrepreneurs Fund, among others.

15          243.   The Board further stated that “We have significantly increased our focus on our DE&I
16   strategy, which we believe enables the Company to play a positive role in supporting diverse
17   stakeholders including its employees, customers, suppliers, and communities.”
18          244.   The Board concluded that “[g]iven our comprehensive approach to DE&I, with
19   continued oversight from our Board, management accountability, and our robust DE&I disclosures,
20   we do not believe that performing a Racial Equity Audit ultimately serves the best interests of our
21   shareholders.”
22          245.   The 2022 Proxy also stated that, when awarding executive compensation, the Board and
23   HRC took into account the progress made by the CEO “on key Company-wide DE&I priorities” and by
24   other named executive officers (“NEO”) on “diverse representation and inclusion” and that the HRC
25   could “reduce an individual NEO’s performance achievement level to zero for failures in risk
26   management, including misconduct,” which the 2020 Proxy claimed “aligns incentive compensation
27   determinations with performance”:
28
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               In determining NEO performance, the HRC utilizes a performance assessment and variable
 1             incentive determination process that provides the HRC with the ability to assess
 2             performance through the evaluation of pre-established financial and nonfinancial goals,
               including risk and DE&I. For DE&I, the HRC evaluates the CEO’s progress on key
 3             Company-wide DE&I priorities, and for other NEOs, the HRC uses progress on diverse
               representation and inclusion across specific diversity dimensions of NEO leadership teams
 4             with potential adjustments to variable incentive compensation based on a holistic
               assessment of progress in one or more diversity dimensions. The performance assessment
 5             and variable incentive determination process aligns incentive compensation determinations
 6             with performance against long-term value drivers of the Company and prudent risk
               oversight, and provides the HRC with the ability to reduce an individual NEO’s
 7             performance achievement level to zero for failures in risk management, including
               misconduct.
 8

 9             246.   The above statements in the 2022 Proxy were materially false and misleading because

10   while they claim that Wells Fargo was “Advancing Diversity, Equity, and Inclusion” through “diverse

11   candidate slates”; and emphasized “ongoing diversity, equity, and inclusion (DE&I) initiatives,” “our

12   comprehensive approach to DE&I,” and “robust DE&I disclosures”—in reality, those diverse candidates

13   did not have a legitimate and fair chance of obtaining the position for which they were interviewing and

14   often another candidate had already been selected for that position and, as a result, the Company had no

15   intention of hiring the diverse candidates it was interviewing.

16             247.   Finally, the 2022 Proxy was misleading because it told investors that Wells Fargo tied

17   executives’ compensation to its DE&I and diversity initiatives as a way to incentivize these initiatives,

18   including by clawing such compensation in the event of failures or mismanagement—the 2022 Proxy

19   omitted that, in fact, the Company was engaging in the precise misconduct that justified clawing back

20   that compensation, but the HRC had no intention of reducing executives’ compensation tied to diversity.

21                    9.      February 15, 2022 – Priority Recommendations of the Wells Fargo
                              Human Rights Impact Assessment and Actions in Response
22
               248.   On February 15, 2022, Wells Fargo published its “Priority Recommendations of the Wells
23
     Fargo Human Rights Impact Assessment and Actions in Response.” In the “Diversity, equity, and
24
     inclusion” section of this document, under the “Sourcing of diverse talent” sub-heading, the Company
25
     stated:
26
               In 2021, we increased our partnerships with colleges, universities, and other organizations
27             spotlighting diverse talent recruitment. For example, by expanding our engagement we
28
                                                   90
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            increased our hiring of candidates from Historically Black Colleges and Universities and
 1          Hispanic- Serving Institutions. We also instituted diverse candidate slates and interview
 2          teams on most jobs of over $100,000 in total compensation. We are in the process of
            eliminating education requirements in certain job categories to increase equity in hiring.
 3          Programs such as Glide-Relaunch (an in-house returnship program) and our Career
            Development Cohort program (an in-house diversity focused program that supports our
 4          partnership with the OneTen Coalition) further support our DE&I recruiting efforts.
 5
            249.    The above statements in the Priority Recommendations of the Wells Fargo Human Rights
 6
     Impact Assessment and Actions in Response were materially false and misleading because while
 7
     claiming that “[w]e . . . instituted diverse candidate slates and interview teams on most jobs of over
 8
     $100,000 in total compensation,” in fact, as a result of the Diverse Search Requirement, Wells Fargo had
 9
     been engaging in a widespread scheme of “fake” or “sham” interviews of diverse candidates merely to
10
     claim compliance with its Diverse Search Requirement when, in reality, those diverse candidates did not
11
     have a legitimate and fair chance of obtaining the position for which they were interviewing and often
12
     another candidate had already been selected for that position and, as a result, the Company had no
13
     intention of hiring the diverse candidates it was interviewing.
14
                    10.     March 18, 2022 – Wells Fargo’s Statements to WCNC Charlotte
15
            250.    On March 18, 2022, WCNC Charlotte published an article titled “In light of disparities,
16
     senators call for review of Wells Fargo refinancing practices” which reported that members of the U.S.
17
     Senate Committee on Banking, Housing, and Urban Affairs had “requested a federal review of Wells
18
     Fargo’s lending practices amid concerns of disparities.” 213 The article quoted a written statement that
19
     Wells Fargo provided to WCNC Charlotte in connection with the article:
20
            “We will review the letter and provide our perspective on the analysis reflected in the
21          recent story, which ignored critical information about Wells Fargo’s lending to Black
            homeowners and the full range of our efforts to help meet the homeownership needs of
22          diverse customers,” Wells Fargo told WCNC Charlotte in a statement Friday. “We are
            confident that our underwriting practices are consistently applied regardless of the
23
            customer’s race or ethnicity. Our analysis shows that additional, legitimate, credit-
24          related factors that are not available in HMDA data were responsible for the differences
            in our refinance approval rate for Black homeowners.”
25

26   213
        Nate Morabito, “In light of disparities, senators call for review of Wells Fargo refinancing practices,”
27   WCNC CHARLOTTE (Mar. 18, 2022), https://www.wcnc.com/article/money/disparities-senators-review-
     of-wells-fargo-refinancing-practices/275-df6a654d-c6c7-41e7-8011-12de2f9eea69.
28
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 1              In the statement, Wells Fargo defended their operations.

 2              “The fact is, Wells Fargo helped more Black homeowners refinance their mortgages in
                2020 than any of the other largest bank lenders and the 83% increase in our refinance loans
 3              to Black homeowners in 2020 compared with 2019 was by far the biggest gain among those
                banks,” the statement continued. “In 2021, we increased that total by 88%. What’s more,
 4
                over the most recent decade (2011 – 2020), Wells Fargo helped as many Black families
 5              purchase homes as the next three largest bank lenders combined.”

 6              251.   The Company’s above statements to WCNC Charlotte were materially false and
 7   misleading because contrary to the claims that “underwriting practices are consistently applied regardless
 8   of the customer’s race or ethnicity” and are the results of “legitimate, credit-related factors,” in reality
 9   Wells Fargo’s automated underwriting system was systematically discriminating against Black and
10   Hispanic credit applicants and the Company was failing to offer minority borrowers the same interest rate
11   discounts—in the form of “pricing exceptions”—as White borrowers. See § VI.B.11.
12                     11.     May 27, 2022 – Defendant Santos’s Statements to Business Insider
13              252.   On May 27, 2022, Business Insider published an article entitled, “Wells Fargo exec
14   responds to reports that it denied mortgages to Black applicants and held sham job interviews,” which
15   reported that “Wells Fargo is also dealing with the fallout from a New York Times report in which several
16   current and former employees said that the bank conducted sham interviews to meet requirements for
17   interviewing diverse job applicants.” According to the article, Santos told Business Insider, “We
18   researched all the specific hiring-practice allegations the reporter shared prior to the story’s publication
19   and we could not corroborate these allegations as factual.” Santos further stated, “[i]f we believe that
20   any manager has conducted an interview with a predetermined outcome in mind, we believe we should
21   investigate and punish if we find wrongdoing.”
22              253.   In speaking with Business Insider, Defendant Santos also responded to Bloomberg’s
23   allegations that “Wells Fargo was the sole lender that rejected more Black applicants than it accepted”
24   by stating that he “‘vehemently’ disagrees that that’s what’s going on in this instance.” According to the
25   article:
26              Bloomberg’s recent report found that Wells Fargo was the sole lender that rejected more
                Black applicants than it accepted. But Santos said the report “oversimplified” how the
27              approval process works. The bank has to deny applicants who don’t meet certain criteria
28
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            outlined by Fannie Mae and Freddie Mac, he said, not by rules it sets itself. Fannie Mae
 1          and Freddie Mac are federally backed mortgage companies created by Congress that are
 2          designed to foster homebuying and make it more affordable.

 3          “I think that article, in some ways, oversimplified something. The mortgage market is
            mostly what we call ‘conforming.’ It’s Fannie and Freddie,” he said. “We don’t have
 4          proprietary credit-underwriting models. We follow the guidelines of the GSEs.”
 5          A government-sponsored enterprise, or GSE, is a quasi-governmental, privately held
            agency established by Congress to help more people get credit in certain areas of the
 6          economy. Fannie Mae and Freddie Mac are GSEs.
 7
            “We don’t try to play any type of game to manage a certain approval rate. Therefore we
 8          take a lot more applicants — a lot more diverse applicants than other institutions — and
            that results in a lower approval rate,” he said.
 9
            A Bloomberg spokesperson said the news organization stood by its reporting.
10
            Santos acknowledged that the banking industry has long participated in damaging
11          practices that marginalized Black Americans, but said he “vehemently” disagrees that
12          that’s what’s going on in this instance. He suggested the bank is interested in speaking
            with industry leaders to change the current criteria for accepting mortgage applicants.
13
            254.   Defendant Santos’s statements to Business Insider vehemently denying Bloomberg’s
14
     allegations of mortgage discrimination and claiming “We don’t have proprietary credit-underwriting
15
     models” and instead merely “follow the guidelines of the GSEs” were materially false and misleading
16
     because, in fact, Wells Fargo’s lending algorithms were systematically discriminating against Black and
17
     Hispanic credit applicants and the Company was systematically failing to offer minority borrowers the
18
     same interest rate discounts—in the form of “pricing exceptions”—as White borrowers. Indeed, contrary
19
     to Santos’s claim that Wells Fargo did not “have proprietary credit-underwriting models” and merely
20
     “follow[ed] the guidelines of the GSEs,” FE 4 confirmed that Wells Fargo built a “ton” of overlays off
21
     of Fannie Mae and Freddie Mac’s rules and that those overlays (which essentially constituted the
22
     Company’s underwriting algorithm) increased “year after year after year.” ¶¶ 165-68.
23

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 1                   12.     June 1, 2022 – 2022 DE&I Report

 2            255.   On June 1, 2022, Wells Fargo published its 2022 DE&I Report. 214 The report contained

 3   two “Messages” in the front, one from Scharf (which he signed) and one from Santos (which he signed).

 4   In a section of that report entitled, Diverse candidate slates and interview teams, Wells Fargo stated:

 5            For most posted roles in the U.S. with total direct compensation greater than $100,000 per
              year, Wells Fargo requires that at least 50% of the interview candidates must represent a
 6            historically under-represented group with respect to at least one diversity dimension and at
 7            least one interviewer on the hiring panel must also represent a historically under-
              represented group with respect to at least one diversity dimension. 215
 8
              256.   The above statements in the 2022 DE&I Report were materially false and misleading
 9
     because while the report claimed that the Company’s policies required that “at least 50% of the interview
10
     candidates must represent a historically under-represented group with respect to at least one diversity
11
     dimension,” in fact, as a result of the Diverse Search Requirement, Wells Fargo had been engaging in
12
     widespread scheme of “fake” or “sham” interviews of diverse candidates merely to claim compliance
13
     with its Diverse Search Requirement when, in reality, those diverse candidates did not have a legitimate
14
     and fair chance of obtaining the position for which they were interviewing and often another candidate
15
     had already been selected for that position and, as a result, the Company had no intention of hiring the
16
     diverse candidates it was interviewing.
17
                     13.     June 3, 2022 – Defendant Santo’s Further Statements to Business
18                           Insider
19            257.   On June 3, 2022, Business Insider published an article entitled, “Wells Fargo’s first
20   diversity report shows progress but also that work remains to make Wall Street look more like Main
21   Street.” 216 While the article broadly concerned Wells Fargo’s recently published 2022 DE&I Report, it
22

23   214
        Wells Fargo, 2022 Diversity, Equity, and Inclusion Report: Diversity, Equity, and Inclusion at Wells
     Fargo:                  Colleagues,                     Customers,                      Communities,”
24
     https://www08.wellsfargomedia.com/assets/pdf/about/corporate/2022-diversity-equity-inclusion-
25   report.pdf.
     215
           2022 DE&I Report at 13.
26
     216
        Marguerite Ward, “Wells Fargo’s first diversity report shows progress but also that work remains to
27   make Wall Street look more like Main Street,” BUSINESS INSIDER (June 3, 2022),
     https://www.businessinsider.com/wells-fargo-diversity-report-shows-gains-but-that-challenges-remain-
28
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 1   focused specifically on the Diverse Search Requirement. Indeed, under a heading titled “Diversity in

 2   banking is a work in progress,” the article reported that:

 3          Wells Fargo’s Santos said the bank was focused on improving diversity among leaders.
            In 2020, the banking giant instituted a rule that for all posted roles in the US with annual
 4          compensation greater than $100,000, at least half of interview candidates must be from a
 5          historically underrepresented group.

 6          The rule is working, Santos said.

 7          258.     Business Insider also cited several statistics provided by Wells Fargo as evidence that the
 8   Diverse Search Requirement was working, stating: “In 2019, before the implementation of the rule,
 9   36.9% of hires for people making $100,000 or more were racially or ethnically diverse — Black, Latino,
10   Asian American, Pacific Islander, Native American, or Alaska Native. By 2021, that rose to 42.3% of
11   leaders, according to Wells Fargo.”
12          259.     Defendant Santos’s statements to Business Insider—and particularly that the Company
13   was “focused on improving diversity among leaders” and that the Diverse Search Requirement was
14   “working”—were materially false and misleading because, in fact, fake interviews were a widespread
15   problem at Wells Fargo and the Board had received an email complaint about a fake interview in February
16   2021, had previously been briefed on the issue of fake interviews in December 2021, and only 12 days
17   earlier had discussed the nonpublic criminal subpoena Wells Fargo received regarding its diversity hiring
18   practices.    Indeed, numerous presentations to the HRC showed that substantiated allegations of
19   harassment, discrimination, and retaliation increased during 2020—i.e., the year that the Diverse Search
20   Requirement was formalized. See ¶¶ 27, 202, 207-08 above. Also, on June 28, 2022, the HRC received
21   a presentation showing that the Company had received approximately 16,000 employee-reported
22   allegations of harassment, discrimination, and retaliation over the previous year, which was characterized
23   as “a high number given the employee base.” See ¶¶ 202, 207-08 above.
24

25

26

27   2022-6#:~:text=In%202020%2C%20the%20banking%20giant,rule%20is%20working%2C%20
     Santos%20said.
28
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 1                  14.    March 15, 2023 – 2023 Proxy

 2          260.    On March 15, 2023, Wells Fargo filed its 2023 proxy statement on Form DEF 14A (the

 3   “2023 Proxy”), which included at the front letters to shareholders signed by Defendants Scharf and Black.

 4   Among other statements the 2023 Proxy made the following representations:

 5          •   Our Board, along with the CEO and the Operating Committee, will continue to set the
                tone from the top regarding our expectations for the highest standards of integrity,
 6
                excellence, and sound risk management as we continue to focus on building Wells
 7              Fargo for the future.

 8          •   As a leading financial services company, we believe we have a role to play in
                addressing social, economic, and environmental sustainability. We have a governance
 9              structure that allows for robust Board oversight and senior management leadership
                over environmental sustainability, social, and DE&I strategies.
10

11          •   To reduce the risk in the mortgage business, we are reducing the size of our mortgage
                servicing portfolio and exiting our correspondent business, while continuing our goal
12              to be the primary mortgage lender to our customers and minority homebuyers.

13          •   We are guided by “doing what is right for our customers” at the center of everything
                we do; [w]e are focused on actions, not words[.]
14
            •   2022-2023 Sustainability, Social, and DE&I Highlights: [p]ublished our inaugural
15
                Diversity, Equity, and Inclusion Report (available on the Corporate Responsibility
16              Goals and Reporting page on our website); [and] [a]nnounced strategic plans to create
                a more focused Home Lending business aimed at serving bank customers, as well as
17              individuals and families in minority communities, including investing an additional
                $100 million to advance racial equity in homeownership[.]
18
            •   In the communities we serve, the Company focuses its social impact on building a
19
                sustainable, inclusive future for all by supporting housing affordability, small business
20              growth, financial health, and a low-carbon economy.

21          •   Launched $60 million Wealth Opportunities Restored through Homeownership
                (“WORTH”) program, which aims to create 40,000 homebuyers of color in eight
22              markets across the U.S.
23          •   We partner with our customers to help them achieve their financial goals and with our
24              communities to make a positive impact.

25          •   We believe that meeting the increasingly diverse needs of our global customer base is
                critical to our Company’s long-term growth and success. We invest in employee
26              learning and development and believe that when our employees are properly
                supported, engaged, and confident in their skills, they are more effective leaders and
27

28
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                 can provide a better customer experience. We continue to remain focused on customer
 1               experience and customer fairness.
 2
            261.    The statements above from the 2023 Proxy that the Board “will continue to set the tone
 3
     from the top regarding our expectations for the highest standards of integrity, excellence, and sound risk
 4
     management; that “[w]e have a governance structure that allows for robust Board oversight and senior
 5
     management leadership over environmental sustainability, social, and DE&I strategies”; that “we are
 6
     reducing the size of our mortgage servicing portfolio and exiting our correspondent business, while
 7
     continuing our goal to be the primary mortgage lender to our customers and minority homebuyers”; and
 8
     that “we are guided by ‘doing what is right for our customers’ at the center of everything we do” were
 9
     false and misleading when made or otherwise omitted material information because the Board was not,
10
     in fact, setting the appropriate “tone from the top” or providing “robust Board oversight” or “guided by
11
     ‘doing what is right.’” As set forth herein, the Board failed to faithfully oversee Wells Fargo’s
12
     compliance with fair lending laws, which resulted in (1) the Company using automated underwriting
13
     systems or algorithms that had a disparate impact on minority borrowers (§ VI.B.7), and (2) Wells
14
     Fargo’s continued practice of turning a blind eye to discriminatory pricing exceptions (§ VI.B.11).
15
            262.    Additionally, the statements fail to disclose the true story: that for years the Board’s
16
     supposed “robust governance structure” failed to have in place systems and controls that monitor
17
     compliance with fair lending laws.
18
            E.      The Individual Defendants Made Their Misrepresentations Knowingly or
19                  with Reckless Disregard for the Truth

20          263.    When Wells Fargo and the Officer and Director Defendants made the public statements
21   detailed in Section VI.D above, they knew, or with extreme recklessness disregarded, that those
22   statements were materially false and misleading, including by omitting material facts. These Defendants
23   knew their statements would be issued and disseminated to the investing public, knew analysts and
24   investors were likely to rely upon those misrepresentations and omissions, and knowingly and recklessly
25   participated in the issuance and dissemination of those statements. Indeed, the ongoing fraud as detailed
26   herein could not have been perpetrated without the knowledge or recklessness of personnel at the highest
27   level of the Company, including the Officer and Director Defendants.
28
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 1           264.   The facts detailed above, in conjunction with the additional indicia of scienter discussed

 2   below, collectively demonstrate that throughout the Relevant Period, Defendants knew or, at a minimum,

 3   recklessly disregarded that their statements were materially false and misleading when made.

 4           265.   First, Scharf and other members of the Company’s Board were repeatedly made aware of

 5   information concerning fake interviews that undermined Defendants’ public statements touting the

 6   Diverse Search Requirement. For example, on February 18, 2021—just days before the start of the

 7   Relevant Period—Miller submitted a complaint to Wells Fargo’s Board via an email to Wells Fargo’s

 8   Board Communications email address with allegations about a sham interview he experienced at Wells

 9   Fargo. See ¶¶ 177-80 supra. On September 7, 2021, Bruno sent a 4,500-word email critical of

10   Vanderveen to nearly 250 Wells employees, including Scharf, Powell, Santos, Mary Mack, and other

11   senior executives informing them of the Company’s practice of holding fake interviews. See § VI.C.1

12   supra. On December 13, 2021, the Board’s Governance and Nominating Committee received an “update

13   on monitoring, routing, and escalation of Board communications in accordance with the Board

14   Communications Policy and Procedures” which categorized Mr. Miller’s “2/18/21” email to the Board

15   as a “Non-Ordinary” communication, and noted that Mr. Miller asked whether “he was interviewed only

16   as a means for the hiring executives to appear as if they are pursuing diverse candidates.” See ¶ 179

17   supra. Collectively, these facts corroborate one another and combine to create the plausible, compelling

18   inference that the Board was aware of the issue of fake interviews as early as February 18, 2021.

19           266.   Second, Defendants publicly claimed to have unfettered access to a trove of information

20   concerning the Company’s DEI initiatives. For example, Scharf stated in sworn testimony before the

21   United States House Financial Services Committee in March 2020, that “[t]he CFO and I hold monthly

22   business reviews that were not held in the past where we meet with every business along with their senior

23   folks and we review their financial results, their risk controls, progress they are making on people

24   including the diversity component of that on a going-forward basis.” 217 Similarly, Wells Fargo’s then-

25   Chairman of the Board, Charles H. Noski, stated in a signed letter at the beginning of Wells Fargo’s

26   217
        See Hearing Before the Committee on Financial Services: “Holding Wells Fargo Accountable: CEO
27   Perspectives on Next Steps for the Bank that Broke America’s Trust” (Mar. 10, 2020),
     https://www.govinfo.gov/content/pkg/CHRG-116hhrg42866/html/CHRG-116hhrg42866.htm.
28
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 1   March 2021 Proxy that “[t]he Board and its Human Resources Committee are fully engaged in overseeing

 2   Wells Fargo’s diversity, equity, and inclusion initiatives and human capital management to support

 3   management in its efforts to drive meaningful change.”

 4               267.   Third, Defendants frequently spoke about the Diverse Search Requirement, recruiting

 5   diverse individuals at all levels of the Company, and Wells Fargo’s intense focus on tracking and

 6   evaluating data concerning its DE&I initiatives. Defendants’ repeated statements strongly and plausibly

 7   suggest they each had access to negative material undisclosed information. Defendants’ statements also

 8   demonstrate they knew of and had access to information about these topics or, at a minimum, they were

 9   deliberately reckless in failing to investigate the very issues on which they publicly spoke during the

10   Relevant Period.

11               268.   Fourth, Wells Fargo had for years engaged in a series of misconduct, including numerous

12   settlements with regulators and private plaintiffs that involved discriminatory conduct against diverse

13   individuals. The consequences of those scandals had a significant negative impact on the Company’s

14   business. As a result, leading up to and during the Relevant Period, Defendants were focused on ensuring

15   that the Company had adequate controls and risk management processes in place to ensure that it was not

16   engaging in additional misconduct. As Scharf admitted in sworn testimony before the United States

17   House Financial Services Committee in March 2020, “the most important thing that I did when I arrived

18   at the company, when I talked about setting the clear priorities, is making sure that everyone understands

19   that our first priority, by far, is to do all of the regulatory work that is required.” 218 Scharf further

20   admitted: “The amount of time that I am spending on these activities is 70 to 80 percent of my time. We

21   brought in a new chief operating officer [i.e., Powell] under whom all of the responsibility for driving the

22   work across the company on the remediation now sits. [Powell] is probably spending 90 percent of his

23   time on these activities.” 219 Defendants’ persistent messaging about the importance of, and their focus

24   on, resolving Wells Fargo’s regulatory issues and implementing adequate controls supports the strong

25   inference that they knew, or were deliberately reckless in not knowing, of the false and misleading nature

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     218
           Id.
27
     219
           Id.
28
                                                     99
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 1   of their statements about the Company’s diverse hiring efforts and the Diverse Search Requirement

 2   during the Relevant Period.

 3          269.    Fifth, the temporal proximity of Defendants’ False and Misleading statements to the

 4   announcement that the Company would pause its Diverse Search Requirement and the revelation of the

 5   truth further supports a strong inference that they knew, or recklessly disregarded, that their statements

 6   were untrue or at least misleading. As described above, on March 11, 2022, Bloomberg published its

 7   analysis revealing, among other things, that Wells Fargo had the largest racial disparity in approval rates

 8   of any major U.S. bank and rejected more Black homeowners’ applications than it accepted. Then, on

 9   May 19, 2022, The New York Times reported that current and former Wells Fargo employees confirmed

10   that the Wealth Management business within Wells Fargo regularly conducted “fake” interviews of

11   diverse candidates for positions that had already been filled. Yet, just five days later, on May 27, 2022,

12   Defendant Santos gave an interview with Business Insider during which he denied and refuted the reports

13   of both Bloomberg and The New York Times by stating that he “vehemently’ disagree[d]” with

14   Bloomberg’s allegations regarding Wells Fargo’s lending practices; claimed that “[w]e don’t have

15   proprietary credit-underwriting models. We follow the guidelines of the GSEs”; and “We researched all

16   the specific hiring-practice allegations the [New York Times] reporter shared prior to the story’s

17   publication and we could not corroborate these allegations as factual.” Then, on June 9, 2022, The New

18   York Times published an article disclosing that it had spoken with ten additional current and former Wells

19   Fargo employees who confirmed that “fake” interviews were prevalent throughout the Company, and

20   also occurred in many of the Company’s other business lines, including the mortgage servicing, home

21   lending, and retail banking businesses. The close temporal proximity between Defendant Santos’s May

22   27 statements (§ VI.D.11) and the Company’s June 9, 2022 corrective disclosure also supports a strong

23   inference of scienter. This inference is compounded by the temporal proximity of Santo’s May 27

24   statements and the Company’s March 24, 2022 “Fair Lending Analyses” of its ECS Model 11960 which

25   found “practically significant disparities for 4 protected classes” during “2021 and 2021” (¶¶ 123-29)

26   through which the Corporate Model Risk and FLMD team “identified disparate impact for various

27   protected classes in relationship to ECS Model 11960” (¶ 123).

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               F.     Wells Fargo’s Discriminatory Practices Have Damaged the Company
 1                    Financially and Reputationally
 2             270.   As discussed above, the Director Defendants’ failure to act has resulted in greater risk that
 3   the Federal Government will impose additional penalties on Wells Fargo. Wells Fargo is currently
 4   subject to a number of consent orders resulting from misconduct at the Company. 220 The most significant
 5   of which is a February 3, 2018 Consent Order by the Federal Reserve Board which placed a $1.93 trillion
 6   asset cap on the Company (the “Asset Cap” or the “2018 Consent Order”). 221 Market commentators have
 7   referred to the 2018 Consent Order as the Federal Reserve’s “Fear of God” penalty. 222                Market
 8   commentators have estimated that the Asset Cap cost Wells Fargo billions of dollars. Even worse, on
 9   May 16, 2023, the U.S. District Court for the Southern District of New York preliminarily approved a $1
10   billion settlement related to Wells Fargo’s materially false and misleading statements about its
11   compliance with the 2018 Consent Order. 223 Wells Fargo will continue to be subject to the Asset Cap
12   until regulators are satisfied with the Company’s internal controls, or if Wells Fargo fails to satisfy
13   regulators they could decide to break up the bank.
14

15

16   220
         See, e.g., Bram Berkowitz, A Guide to All of Wells Fargo’s Consent Orders, The Motley Fool (Oct.
17   10, 2021), https://www.fool.com/investing/2021/10/10/a-guide-to-all-of-wells-fargos-consent-orders/.
     Ken Sweet, US eases restrictions on Wells Fargo after years of strict oversight following scandal, AP
18   News (Feb. 15, 2024), (“. . .Wells Fargo still has eight consent orders that govern its operations.”) Wells
     Fargo was also fined $3.7 billion in a consent order issued by CFPB for violations of the law with respect
19   to auto loan servicing, Respondent incorrectly applied loan payments, erroneously imposed certain fees
20   and charges, incorrectly repossessed customers’ vehicles, and failed to refund certain unearned fees on
     debt cancellation products; (ii) with respect to home mortgage servicing, Respondent incorrectly denied
21   mortgage loan modifications to certain qualified borrowers; and (iii) with respect to consumer deposit
     accounts, Respondent improperly froze or closed customer accounts, improperly charged certain
22   overdraft fees, and did not always waive monthly account service fees consistent with its disclosures.
     The      fine     is   the     largest    penalty     ever    levied      by    the      CFPB.         See
23   https://www.sec.gov/Archives/edgar/data/72971/000007297118000229/exhibit993consentorder.htm.
24   221
           See https://www.federalreserve.gov/newsevents/pressreleases/files/enf20180202a1.pdf.
     222
25       Felice Maranz, Fed’s ‘Fear of God’ Penalty Sours Wall Street on Wells Fargo, Bloomberg (Feb. 5,
     2018),     https://www.bloomberg.com/news/articles/2018-02-05/fed-s-fear-of-god-penalty-sours-wall-
26   street-on-wells-fargo#xj4y7vzkg.
     223
27      In re Wells Fargo & Co. Sec. Litig., No. 1:20-cv-04494-GHW-SN, Order Preliminarily Approving
     Settlement And Authorizing Dissemination Of Notice Of Settlement (S.D.N.Y. May 16, 2023).
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 1          271.    In February 2024, the OCC removed one of Wells Fargo’s Consent Orders, bringing the

 2   total currently active down to eight. The mere news of this relatively minor easing is reported to have

 3   buoyed Wells Fargo’s stock price by 7.2%. Pursuant to the 2018 Consent Order, Wells Fargo was required

 4   to “adopt an improved firmwide risk management program designed to identify and manage risks across

 5   the consolidated organization.” The 2018 Consent Order required that the Board evaluate the Firm’s risk

 6   management capacity. Within 60 days of the order, the Board was required to submit a written plan to

 7   further enhance the Board’s effectiveness in carrying out its oversight and governance of Wells Fargo,

 8   acceptable to the Reserve Bank. The 2018 Consent Order also provided that within 30 days after the end

 9   of each calendar quarter, the Board or an authorized committee thereof shall submit to the Reserve Bank

10   written progress reports detailing the form and manner of all actions taken to secure compliance with the

11   provisions of this Order and the results thereof. The order specifically provides that “[i]f Wells Fargo

12   does not make progress satisfactory to the Board of Governors in addressing the deficiencies cited in this

13   Order, the Board of Governors may impose additional restrictions or limits, or take other action as

14   permitted under applicable law.” Because the Board failed to ensure the Company had sufficient internal

15   controls related to discrimination in lending and hiring, the Federal Reserve may take further action

16   against the Company as advocated for by Congresswoman Maxine Waters. For this reason alone,

17   ensuring fair lending and hiring is a mission-critical issue for Wells Fargo.

18          272.    As a result of the Board’s failure of oversight, Wells Fargo has suffered significant

19   financial and reputational harm. For example, Wells Fargo and certain of its executives are currently

20   defendants in a federal securities fraud class action pending before this Court titled SEB Investment

21   Management AG v. Wells Fargo & Company, No. 3:22-cv-03811-TLT (N.D. Cal.) (“the SEB Action”).

22   This securities fraud class action alleges that between February 24, 2021 and June 9, 2022, the Company

23   and its senior executives misrepresented Wells Fargo’s diversity hiring policy, and in particular, its

24   Diverse Search Requirement in violation of Section 10(b) of the Exchange Act of 1934 and SEC Rule

25   10b-5. The securities-fraud plaintiffs’ allegations are set forth in their September 8, 2023 Amended

26   Complaint for Violations of the Federal Securities Laws (ECF No. 116), which alleges that:

27          “despite publicly lauding the Diverse Search Requirement, in reality, Wells Fargo was
            conducting “fake” interviews of diverse candidates simply to claim compliance with the
28
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               Diverse Search Requirement since it was first implemented in 2020. These fake interviews
 1             were systemic, and occurred across many of Wells Fargo’s business lines both prior to
 2             and throughout the Class Period.” Id. ¶ 11. The Amended Complaint further alleged that
               “[o]n June 9, 2022, the relevant truth was revealed” when “The New York Times
 3             published an article disclosing that . . . it had spoken with ten additional current and former
               Wells Fargo employees who confirmed that ‘fake’ interviews were prevalent throughout
 4             the Company, and also occurred in many of the Company’s other business lines, including
               the mortgage servicing, home lending, and retail banking businesses.” Id. ¶ 22. The
 5             Amended Complaint corroborated The New York Times’ investigation with “additional
 6             accounts of 11 former Wells Fargo employees and contractors, who worked in six different
               divisions of the Company, which were developed through Plaintiffs’ Counsel’s
 7             independent investigation, corroborate the widespread nature of these fake
               interviews. Id. “In response to these revelations, Wells Fargo’s common stock price fell
 8             more than 10% over two days, declining from a close of $44.63 per share on June 8, 2022,
               to a close of $40.08 on June 10, 2022—wiping out an astonishing $17 billion in market
 9
               capitalization.” Id. ¶ 23.
10
               273.   Thus, the Board’s failures of oversight caused the Company to issue false and misleading
11
     statements to investors in violation of the anti-fraud provisions of the Exchange Act, thereby exposing
12
     the Company to a substantial risk of liability in the SEB Action.
13
               274.   Wells Fargo also faces significant liability related to discriminatory lending from
14
     applicants who were denied credit due to digital redlining. Specifically, the Mortgage Discrimination
15
     Class Action, 224 a putative class of non-White plaintiffs who alleged that they were denied home
16
     mortgages or the ability to refinance, alleges that “[t]ens of thousands [of credit applicants] have been
17
     victimized both by Wells Fargo’s intentional, knowing, and systematic race discrimination and the
18
     disparate impact of its practices, violating the contractual, commercial, and civil rights of Class members
19
     and causing millions (and perhaps billions) of dollars in damages to the Class.”
20
               275.   According to an April 25, 2022 internal presentation “Prepared for [the Company’s] Risk
21
     Committee of Wells Fargo’s Board of Directors” 225 in response to Bloomberg’s March 2022 article
22
     revealing Well Fargo’s discriminatory approval rates for home lending to minorities, “the New York City
23
     Mayor and Comptroller sent a letter to the company informing us the City of NY will not be opening any
24

25

26   224
           In re Wells Fargo Mortgage Discrimination Litig., Civ. No. 3:22-cv-00990-JD (N.D. Cal.).
     225
27      See Ex. X, Wells Fargo’s Apr. 25, 2022 Bloomberg HMDA Discussion prepared for the Board of
     Directors (WF_DS_ Supp000001105 at 1106).
28
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 1   new depository accounts.” 226 Thus, Wells Fargo has already begun losing customers as a result of its

 2   discriminatory lending practices.

 3               276.    Finally, on September 23, 2022, the Board received a “Communications & Brand

 4   Management Update” from the Board’s “Corporate Responsibility Committee” which stated that

 5   “negative storylines regarding allegations of racial discrimination in mortgage refinancing and hiring

 6   emerged in March and April and remained a headwind through June.” 227 The update noted that these

 7   “negative storylines” had been “kicked off by reporting in far reaching outlets like Bloomberg and the

 8   New York Times . . . .” 228 The update further noted that “Negative” “News Stories” that created

 9   “Headwinds” for the Company included “Lawsuits due to alleged race discrimination in its mortgage

10   lending practices” and “Accusations of staged job interviews for minorities as part of diversity

11   slate[.]”        Also on September 23, 2023, the Board received an Enterprise Risk Report

12   stating: “Reputation Risk – At Risk after exceeding last quarter driven by two Bloomberg articles.” 229

13               G.      The Board Caused Wells Fargo to Repurchase Its Stock at Inflated Prices,
                         Causing Over $7.14 Billion in Damages
14
                 277.    Beyond the SEB Action, Wells Fargo’s securities violations also directly damaged the
15
     Company in another way. During 2021 and 2022, the Board authorized the Company to repurchase a
16
     massive quantity of its own shares of common stock. The Board’s Finance Committee is responsible for
17
     recommending whether to repurchase securities to the Board. As members of the Finance Committee
18
     during 2021 and 2022, Defendants Black, Chancy, Craver, and Pujadas recommended share repurchases,
19
     and the Board approved them. Specifically, the Company repurchased 306 million shares during 2021 at
20
     a cost of $14.5 billion and 110 million shares during the first quarter of 2022 at a cost of $6 billion—
21
     which altogether totaled at least 416 million shares at a cost of at least $20.5 billion.230
22

23   226
           Id.
24   227
           See Ex. NN, WF_DS_000005058 at 5062, 5064.
     228
25         Id.
     229
           See Ex. OO, WF_DS_000005071 (emphasis in original).
26
     230
        Wells Fargo’s SEC filings listed its stock repurchases during 2021 and 2022. See Wells Fargo & Co.,
27   Quarterly Report (Form 10-Q) at 47 (May 5, 2021) (“During first quarter 2021, [the Company]
     repurchased 17 million shares of common stock at a cost of $596 million.”); Wells Fargo & Co., Quarterly
28
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 1            278.   In July 2019, the Board authorized the repurchase of 350 million shares of WFC common

 2   stock.

 3            279.   In January 2021, the Board authorized the repurchase of an additional 500 million shares

 4   of WFC common stock.

 5            280.   On December 31, 2021, Wells Fargo had remaining Board authority to repurchase

 6   approximately 361 million shares of common stock. The following table shows Company repurchases of

 7   its common stock for each calendar month in the quarter ended June 30, 2021:

 8

 9                                                                                           Maximum
                                                                                             number of
10                            Total number                   Weighted              shares that may yet
       Calendar                   of shares                    average           be repurchased under
11
       month                repurchased (1)        price paid per share              the authorizations
12     April                20,075,596                   $        43.60              629,954,518
13     May                  10,893,389                             46.11             619,061,129
14     June                  4,354,796                            43.08              614,706,333
15       Total              35,323,781
16

17            281.   The following table shows Company repurchases of its common stock for each calendar

18   month in the quarter ended September 30, 2021:

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22

23   Report (Form 10-Q) at 51 (July 28, 2021) (“During the first half of 2021, [the Company] repurchased 53
     million shares of common stock at a cost of $2.2 billion.”); Wells Fargo & Co., Quarterly Report (Form
24   10-Q) at 51 (Nov. 1, 2021) (“During the first nine months of 2021, [the Company] repurchased 167
     million shares of common stock at a cost of $7.5 billion.”); Wells Fargo & Co., Annual Report (Form
25   10-K) at 56 (Feb. 22, 2022) (“In 2021, [the Company] repurchased 306 million shares of common stock
     at a cost of $14.5 billion.”); Wells Fargo & Co., Quarterly Report (Form 10-Q) at 46 (May 3, 2022) (“In
26
     first quarter 2022, [the Company] repurchased 110 million shares of common stock at a cost of $6
27   billion.”); Wells Fargo & Co., Quarterly Report (Form 10-Q) at 48 (Aug. 1, 2022) (“[i]n the first half of
     2022, [the Company] repurchased 110 million shares of common stock at a cost of $6 billion.”).
28
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10          282.   The following table shows Company repurchases of its common stock for each calendar

11   month in the quarter ended December 31, 2021:

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21          283.   The following table shows Company repurchases of its common stock for each calendar

22   month in the quarter ended March 31, 2022:

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 9          284.   The following table shows Company repurchases of its common stock for each calendar

10   month in the quarter ended June 30, 2022:

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19

20          285.   The following table shows Company repurchases of its common stock for each calendar

21   month in the quarter ended September 30, 2022:

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 9          286.   The following table shows Company repurchases of its common stock for each calendar
10   month in the quarter ended December 31, 2022:
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            287.   All shares were repurchased under an authorization covering up to 500 million shares of
21
     common stock approved by the Board and publicly announced by the Company on January 15, 2021.
22
            288.   The following table shows Company repurchases of its common stock for each calendar
23
     month in the quarter ended March 31, 2023:
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 9          289.    Since the time Wells Fargo spent billions of dollars repurchasing such shares, Wells
10   Fargo’s stock has declined substantially in response to the adverse news regarding Wells Fargo’s fake
11   interviews of minority candidates. On May 5, 2023, Wells Fargo’s stock closed at $37.94 per share.
12   Wells Fargo has thus been substantially harmed by repurchasing its shares at inflated prices. The damages
13   total approximately $7.148 billion, as follows:
14          a.      Q2 2021: Using the weighted average price paid by Wells Fargo for the Q2 2021
15   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of
16   $37.94, Wells Fargo was harmed in the amount of over $225,010,512 in Q2 2021.
17          b.      Q3 2021: Using the weighted average price paid by Wells Fargo for the Q3 2021
18   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of
19   $37.94, Wells Fargo was harmed in the amount of over $623,370,420 in Q3 2021.
20          c.      Q4 2021: Using the weighted average price paid by Wells Fargo for the Q4 2021
21   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of
22   $37.94, Wells Fargo was harmed in the amount of over $1.69 billion in Q4 2021.
23          d.      Q1 2022: Using the weighted average price paid by Wells Fargo for the Q1 2022
24   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of
25   $37.94, Wells Fargo was harmed in the amount of over $1.84 billion in Q1 2022.
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 1          e.     Q2 2022: Using the weighted average price paid by Wells Fargo for the Q2 2022

 2   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of

 3   $37.94, Wells Fargo was harmed in the amount of over $557,021,140 in Q2 2022.

 4          f.     Q3 2022: Using the weighted average price paid by Wells Fargo for the Q3 2022

 5   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of

 6   $37.94, Wells Fargo was harmed in the amount of over $623,370,420 in Q3 2022.

 7          g.     Q4 2022: Using the weighted average price paid by Wells Fargo for the Q4 2022

 8   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of

 9   $37.94, Wells Fargo was harmed in the amount of over $851,199,570 in Q4 2022.

10          h.     Q1 2023: Using the weighted average price paid by Wells Fargo for the Q1 2023

11   repurchases from the chart above, compared to the May 5, 2023 closing price of Wells Fargo stock of

12   $37.94, Wells Fargo was harmed in the amount of over $738,162,002 in Q1 2023.

13          290.   Wells Fargo’s share repurchases from January 2021 through June 2022 were reported in

14   the Company’s Forms 10-Q and 10-K and are summarized as follows:

15      Calendar Month        Total number of       Weighted average      Maximum number of shares
                             shares repurchased      price paid per       that may yet be repurchased
16
                                                         share              under the authorization
17    January 2021                11,558,076             $32.15                       655,683,183
      February 2021                   53,726             $34.67                       655,629,457
18    March 2021                   5,599,343             $39.71                       650,030,114
      April 2021                  20,075,596             $43.60                       629,954,518
19
      May 2021                    10,893,389             $46.11                       619,061,129
20    June 2021                    4,354,796             $43.08                       614,706,333
      July 2021                   36,810,627             $44.76                       577,895,706
21    August 2021                 41,340,615             $47.85                       536,555,091
      September 2021              36,057,193             $46.18                       500,497,898
22
      October 2021                36,092,310             $50.07                       464,405,588
23    November 2021               80,585,475             $50.66                       383,820,113
      December 2021               23,001,846             $48.79                       360,818,267
24    January 2022                33,687,433             $54.55                       327,130,834
      February 2022               55,819,880             $56.79                       271,310,954
25
      March 2022                  20,586,039             $49.07                       250,724,915
26    April 2022                      24,862             $47.54                       250,700,053
      May 2022                        25,465             $43.63                       250,674,588
27    June 2022                       38,459             $42.45                       250,636,129
      Total Shares:              416,605,130
28
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 1            291.   By causing Wells Fargo to conduct these massive share repurchases, Defendants falsely

 2   signaled to investors their purported belief that Wells Fargo shares were trading at a discount, which

 3   caused investors to purchase shares and thereby drive the price up.           Relatedly, the Company’s

 4   repurchasing of shares artificially inflated its financial metrics such as earnings per share and return on

 5   stockholder equity, as the repurchases resulted in fewer outstanding shares. The combined effect was to

 6   further artificially inflate Wells Fargo’s share price, which had already been inflated by the concealment

 7   of Wells Fargo’s discriminatory hiring and lending practices. The result of this was that the Board’s

 8   share repurchases during 2021 and 2022 caused the Company to purchase more than $20 billion of its

 9   own stock at inflated prices, thereby damaging the Company.

10            H.     The Individual Defendants Were Awarded Improper Compensation Based
                     on Alleged Success in Increasing Diversity
11

12            292.   During the Relevant Period, Defendant Scharf was compensated in part based on his

13   alleged success in increasing diversity at Wells Fargo. Scharf claimed success in this area despite the

14   fact that the alleged success was predicated on misrepresented facts, such as the alleged success of the

15   Diverse Search Requirement program. These representations were false because, as noted herein, Wells

16   Fargo was interviewing diverse candidates for jobs that had already been filled; as a result, the sham

17   interviews had no chance of increasing diversity. Scharf, who directly oversaw the program, nonetheless

18   claimed victory so that he could line his pocket with additional unmerited compensation. For example,

19   in advance of the 2022 Proxy, the HRC prepared materials assessing Scharf’s compensation. Those

20   materials included an “Illustrative Annual Performance Scorecard” for Scharf which included alleged

21   progress on DEI initiatives, including the Diverse Search Requirement program. 231 Scharf’s performance

22   on such issues was rated as “Meets All Expectations.” 232 Scharf was described in the Board’s description

23   of his job responsibilities as being “accountable for the cultural and organizational transformation of the

24

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26
     231
           Ex. PP, WF_DS_000000906.
27
     232
           Ex. QQ, WF_DS_000000946.
28
                                                 111
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 1   Company as it strives to regain trust and credibility with its customers, investors, regulators, community

 2   leaders, public officials, the media, and other key stakeholders.” 233

 3             293.   According to the 2022 Proxy, “[t]he Board determined that Mr. Scharf’s individual

 4   performance achievement level was 121%,” which was based in part on the Board’s finding that “Mr.

 5   Scharf exhibited strong leadership in driving key initiatives to advance the Company’s strategic priorities,

 6   which resulted in significant progress on . . . increased diverse representation . . . . .” 234 As a result of his

 7   supposed extraordinary success in leading DEI initiatives, including the Diverse Search Requirement

 8   program, in 2021, Scharf was awarded “total variable incentive compensation” of $22 million and “2021

 9   Total Compensation” of $24.5 million.235 From 2019 to 2021, Scharf was awarded total compensation

10   by Wells Fargo of more than $76 million. 236

11             294.   Scharf hardly restored credibility with investors, employees, regulators and the

12   community by making statements that the Company’s failure to meaningfully increase diversity was due

13   to the “very limited pool of Black talent” and by orchestrating fake interviews of minority candidates in

14   an effort to create a false impression of success with the Diverse Search Requirement program.

15             295.   Those senior Wells Fargo executives who reported directly to Scharf were also awarded

16   incentive compensation based on the supposed success of the Diverse Search Requirement achieved by

17   widespread fake interviews. For example, “[i]n determining Santomassimo’s 2021 variable incentive

18   award, the HRC focused on” the fact that Santomassimo supposedly “[m]ade progress towards improving

19   representation in two diversity dimensions across senior leaders in Finance . . . .” 237 On January 25, 2022,

20   the HRC found that Santomassimo had achieved “[i]mprovement in two areas of underutilization:

21   Black/African American and Female,” which the HRC quantified as “Black/African American (3.1% to

22   5.9%; 3 Ees), and Female (26.0% to 26.7%; 2 Ees)”. 238 Based in part on Santomassimo’s supposed

23   233
           Ex. RR, WF_DS_000000957.
24   234
           2022 Proxy at 77-78.
     235
25         2022 Proxy at 78.
     236
26         2022 Proxy at 88.
     237
           2022 Proxy at 79.
27
     238
           Ex. SS, WF_DS_000001541.
28
                                                  112
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 1   “progress” and “improvements” in diversity, the 2021 Proxy stated that “Mr. Santomassimo’s individual

 2   performance achievement level was 110%” and that he had received “Total Variable Incentive

 3   Compensation” of $9.71 million.

 4             296.   Defendant Scott Powell was rewarded for achieving favorable results on DEI initiatives,

 5   one of which was the Diverse Search Requirement program. Powell’s 2021 evaluation contained a

 6   finding that he had achieved “[a]t or Above Company results for Level 3-6 diverse interview slate (79.8%

 7   vs. 79.4%) and teams (87.7% vs. 87.0%).” 239 The 2022 Proxy stated that Powell had “[m]ade progress

 8   towards improving representation in three diversity dimensions across senior leaders in COO”; stated that

 9   “[t]he HRC determined that Mr. Powell’s individual performance achievement level was 125%”; and that

10   this “result[ed] in total variable incentive compensation of $8.16M[.]” 240

11             297.   Jonathan Weiss, the Company’s Senior Executive Vice President of Corporate and

12   Investment Banking, was also well below target for the Diverse Search Requirement Program, thus

13   imperiling some of his incentive compensation and giving him a strong motive and incentive to

14   orchestrate the fake interviews to try to boost his lagging numbers. In 2021, Weiss received a sub-par

15   grade for his work on DEI initiatives, including a rating of “Below Company results for Leader Level 3-

16   6 Diverse Interview Slate (63.5% vs. 79.4%).” 241 During 2021, Weiss was the only Section 16 officer242

17   at Wells Fargo who did not receive a bonus. Nonetheless, the 2022 Proxy stated that Weiss “[m]ade

18   progress towards improving representation in three diversity dimensions across senior leaders in CIB”;

19   graded “Weiss’s individual. . . performance” as “120%”; and as a result, stated that “Mr. Weiss’s total

20   variable incentive compensation was awarded at 110% of target for 2021, resulting in total variable

21   incentive compensation of $10.18M.” 243

22

23
     239
           Ex. TT, WF_DS_000000340.
24   240
           2022 Proxy at 80.
25   241
           Ex. TT, WF_DS_000000352.
26   242
        Defendants Scharf and Powell were senior officers of the Company that Section 16 of the Exchange
     Act defines as insiders for SEC reporting purposes. 15 U.S.C. § 78p.
27
     243
           2022 Proxy at 81.
28
                                                  113
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 1            298.     Notably, despite receiving substantial incentive compensation based on 100%+

 2   evaluations, Defendant Powell and Johnathan Weiss did not meet their numbers, which subjected them

 3   to a monthly monitoring process, thus giving them a motive and incentive to orchestrate additional fake

 4   interviews. 244

 5            299.     David Galloreese, a member of the Operating Committee, was rewarded for achieving

 6   favorable results on DEI initiatives, one of which was the Diverse Search Requirement program.

 7   Galloreese’s 2021 evaluation contained a finding that he had achieved “Above Company results for Level

 8   3-6 diverse interview Slate (88.9% vs. 79.4%) and teams (92.6% vs. 87.0%).” 245

 9            300.     Similarly, Mary Mack, who was also a member of the Operating Committee, was

10   rewarded for achieving favorable results on DEI initiatives, one of which was the Diverse Search

11   Requirement program. Mack’s 2021 evaluation contained a finding that she had achieved “Above

12   Company results for Leader Level 3-6 diverse interview slate (88.9% vs. 79.4%) and teams (90.3% vs.

13   87.0%).” 246

14            301.     Meanwhile, some key Wells Fargo employees who were members of the Operating

15   Committee were falling short of their Diverse Search Requirement interview goals, which gave them the

16   motive and opportunity to set up the fake interviews. For example, Lester Owens, a member of the

17   Operating Committee, received a “Below Company results” evaluation on Diversity & Inclusion for

18   coming in below target for Leader Level 3-6 Diverse Slate job interviews (73% vs. 79%). 247

19            302.     Similarly, Operating Committee member Petros Pelos also came in below target for

20   Leader Level 3-6 Diverse Slate job interviews (77.8% vs. 79.4%). 248 Julie Scammahorn came in well

21   below target for Leader Level 3-6 Diverse Slate interviews: 66.7% vs. 79.4%. 249

22

23   244
           Ex. UU, WF_DS_000002746.
24   245
           Ex. TT, WF_DS_000000328.
     246
25         Ex. TT, WF_DS_000000330.
     247
26         Ex. TT, WF_DS_000000334.
     248
           Ex. TT, WF_DS_000000338.
27
     249
           Ex. TT, WF_DS_000000342.
28
                                                   114
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 1             303.   John Shrewsberry also came in well below target for Leader Level 3-6 Diverse Slate

 2   interviews: 70.8% vs. 79.4%. 250 Barry Sommers also “lagged the Company results for Level 3-6 diverse

 3   interview Slate (68.4% vs. 79.4%).” 251

 4             304.   Throughout the Relevant Period, the compensation of Wells Fargo’s senior executives was

 5   tied to their success in achieving DEI initiatives, including the Diverse Search Requirement program.

 6   Minutes from a meeting of the Board held on January 24-25, 2022 reflect a report to the Board from

 7   Director Sargent on behalf of the HRC. “Mr. Sargent reported that the HRC reviewed and discussed the

 8   2021 performance and incentive compensation recommendations for members of the Operating

 9   Committee other than the CEO. He noted the review and discussion of the Operating Committee member

10   performance included consideration of each member’s risk performance and progress on DEI.” 252

11             305.   The following tables summarize the 2020-2022 “Pay-for-Performance” compensation

12   outcomes for Wells Fargo’s most senior executives as disclosed in the Company’s 2021-2023 Proxies.

13                                    2020 Pay-for-Performance Outcome 253
14
             Executive    Base          Cash        PSAs        RSRs        Total        Target Total
15                        Salary        Bonus                               Compensation Compensation
                          Rate
16           Scharf       2,500,000     4,350,000   6,742,500   6,742,500   20,335,000   23,000,000
             Santomassimo 1,750,000     1,750,000   3,750,000   3,750,000   11,000,000   11,000,000
17           Shrewsberry  2,000,000     1,282,563   2,965,750   2,965,750   9,214,063    13,250,000
             Mack         1,750,000     1,672,250   2,324,500   2,324,500   8,071,250    10,750,000
18           Owens        1,500,000     1,500,000   1,600,000   1,600,000   6,200,000    6,200,000
             Powell       1,750,000     1,771,925   2,784,350   2,784,350   9,090,625    9,000,000
19

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21

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24
     250
25         Ex. TT, WF_DS_000000344.
     251
26         Ex. TT, WF_DS_000000346.
     252
           See Ex. VV, WF_DS_000002004 & WF_DS_000002022-23.
27
     253
           2021 Proxy at 75.
28
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                                       2021 Pay-for-Performance Outcome 254
 1

 2           Executive    Base           Cash        PSAs          RSRs        Total        Target Total
                          Salary         Bonus                                 Compensation Compensation
 3                        Rate
             Scharf       2,500,000      5,365,854   10,812,195    5,821,951   24,500,000    23,000,000
 4           Santomassimo 1,750,000      1,837,500   3,937,500     3,937,500   11,462,500    11,000,000
             Powell       1,750,000      1,968,750   3,093,750     3,093,750   9,906,250     9,000,000
 5           Weiss        1,750,000      1,925,000   4,125,000     4,125,000   11,925,000    11,000,000

 6                                     2022 Pay-for-Performance Outcome 255
 7
             Executive    Base           Cash        PSAs          RSRs        Total        Target Total
 8                        Salary         Bonus                                 Compensation Compensation
                          Rate
 9           Scharf       2,500,000      5,365,854   10,812,195    5,821,951   24,500,500    27,000,000
             Santomassimo 1,750,000      3,149,625   3,674,563     3,674,563   12,248,750    11,000,000
10           Weiss        1,750,000      3,825,675   4,463,288     4,463,288   14,502,250    14,000,000
             Mack         1,750,000      2,527,200   2,948,400     2,948,400   10,174,000    10,750,000
11           Powell       1,750,000      2,476,875   2,889,688     2,889,688   10,006,250    10,000,000
12
               I.        Defendants Failed to Perform Any Investigation of Whether Executive
13                       Compensation Should be Clawed Back Because of the DEI Fraud

14             306.      In 2021, Wells Fargo implemented a major and material amendment of its executive
15   compensation Clawback Policy in an attempt to protect the Company and its stockholders and
16   stakeholders from the avaricious, greedy misconduct of its executives. The primary impetus was the huge
17   financial and reputational harm caused to Wells Fargo by the now infamous “fake account” scandal,
18   pursuant to which the Company’s senior executives had made substantial incentive compensation from
19   pressuring lower-level employees to open fake accounts without customer knowledge or authorization.
20   The senior executives made more money based on the reported increased number of opened accounts,
21   but the Company and its stockholders were left to pay for the billions of dollars in fines, penalties,
22   reputational harm, and continued imposition of the Asset Cap. See, e.g., Jack Kelly, “Wells Fargo Forced
23   to Pay $3 Billion For The Bank’s Fake Account Scandal,” FORBES, Feb. 24, 2020 (“Wells Fargo, the
24

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26
     254
           2022 Proxy at 67.
27
     255
           2023 Proxy at 57.
28
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 1   fourth largest bank in the United States, agreed on Friday to pay $3 billion to settle its long-running civil

 2   and criminal probes into the heinous accusations of rampant fraudulent sales practices.”). 256

 3             307.      Wells Fargo touted its vastly expanded Clawback Policy in its subsequent Proxy

 4   Statements as a tool that it was actively enforcing in order to improve its risk management procedures

 5   and internal controls. For example, the 2021 Proxy stated that:

 6             We discouraged excessive risk-taking through risk-balancing features and an enhanced
               Clawback and Forfeiture Policy that expands the individuals and compensation subject to
 7             forfeiture or recovery and maintains an expansive set of circumstances that can trigger
 8             forfeiture or recovery. 257

 9             308.      The Proxy further stated that Wells Fargo: 258

10                               Adopted a Clawback and Forfeiture Policy that significantly strengthens the Company’s ability to
       Adopted New
                                 hold named executives and other employees accountable for misconduct or risk events through
       Clawback and
11     Forfeiture Policy
                                 forfeiture or recovery of compensation under appropriate circumstances. See 5. Risk Management
                                 and Accountability for further detail.
12
               309.      The 2021 Proxy also included additional detailed statements and graphs touting the
13
     enhanced, expanded Clawback Policy as a key part of the Company’s enhanced “Risk Management and
14
     Accountability,” as reflected in the following chart:
15

16

17    • Risk-balancing features discourage excessive risk-taking, such as a majority of variable compensation in long-term equity
      • Enhanced Clawback and Forfeiture Policy to strengthen our ability to forfeit and recover compensation under appropriate circumstances
18

19

20

21             310.      The 2021 Proxy further took pains to emphasize and stress that the new, enhanced
22   Clawback Policy would result in clawback and forfeiture of all three major types of compensation
23

24

25   256
        Available at https://www.forbes.com/sites/jackkelly/2020/02/24/wells-fargo-forced-to-pay-3-billion-
26   for-the-banks-fake-account-scandal/?sh=70ba5e642d26, last visited May 6, 2023.
     257
           See 2021 Proxy Statement at 65.
27
     258
           Id. at 68.
28
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 1   awarded to its senior executives and Operating Committee members, as reflected in the following detailed

 2   chart from the Proxy:

 3   Pay                     Purpose &                                                                     Performance
     Element                 Design Features                                                               Metrics
 4         Base Salary       • Intended to provide market-competitive pay to attract and retain named
                                 executives
 5                           • Reflects each executive’s experience and level of responsibility

 6         Cash Bonus        • Rewards executives for achievement of annual goals (see 2. Performance
                                Assessment and Compensation Determination Framework)
                                                                                                           Award level based on
                                                                                                           achievement of annual
                                                                                                           objectives, including:
 7                           • 2020 target and maximum award opportunities of 200% and 300% of salary
                                for Mr. Scharf and 100% and 150% of salary for other executives       • Company Performance;

 8                           • Award paid in cash, in first quarter of following year                      • Individual Performance;
                                                                                                               and

 9                                                                                                         • Risk Accountability
                                                                                                           • Subject to Clawback and
10                                                                                                            Forfeiture Policy
           Performance       • Reinforces a shared success culture and encourages executives to deliver    • Grant value based on
11         Shares               sustained shareholder value                                                   achievement of annual
                                                                                                              objectives
                             • Grant value based on achievement of annual objectives (same objectives as
12                              annual cash bonus)                                                         • Payout level based on
                                                                                                              ROTCE
                             • Payout level based on absolute performance over a three-year performance
13                              period, with HRC consideration of other factors set forth in the adjustment • Subject to reduction for:
                                provision
                                                                                                                  Total Shareholder
14
                                                                                                                ¡


                             • Number of shares earned based on achievement level, with payout ranging              Return
                                from 0% to 150% of target
                                                                                                                  Net Operating Loss
15
                                                                                                                ¡


                             • Subject to robust holding requirements (updated in 2020) while an                    (NOL)1
                                Operating Committee member until one year after retirement2
                                                                                                                  Subject to Clawback
16
                                                                                                                ¡


                             • Dividends are accumulated and paid at vesting                                        and Forfeiture
                                                                                                                    Policy
17         RSRs              • Promotes retention and alignment with shareholders with three year ratable • Grant value based on
                                vesting                                                                      achievement of annual
18                           • Grant value based on achievement of annual objectives (same objectives as
                                                                                                             objectives
                                annual cash bonus)                                                        • Payout level fixed with
19                           • Subject to robust holding requirements (updated in 2020) while an
                                                                                                             ultimate value tied to
                                                                                                             stock price
                                Operating Committee member until one year after retirement2
20                           • Dividends are accumulated and paid at vesting
                                                                                                          • Subject to Clawback and
                                                                                                             Forfeiture Policy

21
         Our executive compensation program reinforces effective risk management through risk-balancing
22    features that discourage and mitigate excessive risk-taking; See 5. Risk Management and Accountability

23
            311.    The Proxy included the following discussion and chart detailing the conditions under
24
     which the Board/HRC will pursue clawback and/or forfeiture of the different elements of executive
25

26

27

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 1   compensation: 259

 2              Clawback and Forfeiture Policy
                To further strengthen the Company’s risk and control practices, we undertook a holistic
 3              review of our clawback policies and forfeiture provisions during 2020. As part of this
 4              review, we engaged an external compensation consultant to complete a market review of
                peer practices and obtained feedback from key internal stakeholders. This resulted in the
 5              HRC implementing a new, holistic Clawback and Forfeiture Policy (Policy) to replace
                two separate recoupment and clawback policies and performance-based vesting provisions
 6              maintained within award agreements. The new Policy is applicable for compensation
                awarded on or after January 1, 2021. By expanding the population of employees and types
 7              of incentive compensation awards subject to the Policy, as well as clawback triggers, the
 8              new Policy strengthens the HRC’s and Board’s ability to forfeit and recover
                compensation (as appropriate). The Policy is designed to discourage employees
 9              (including our named executives) from taking unnecessary or inappropriate risks that
                would adversely impact our Company or harm our customers. The new Policy provides
10              the HRC and the Board with important tools they need to hold employees accountable.
                A summary of the compensation-related actions the Company can take under the Policy
11
                is set forth below.
12
                                                                                               Compensation
13           Trigger                       Description                                         Impacted     Clawback Forfeit

14           Financial Restatement /       • Amount of the award was based upon the             Equity/Cash     ✓       ✓
             Inaccurate Performance           achievement of certain financial results that
             Metrics                          were subsequently reduced due to a financial
15                                            restatement (public restatement)
                                                                                                Equity/Cash     ✓       ✓
16                                         • Amount of the award was based upon one or
                                              more materially inaccurate performance
                                              metrics
17
             Misconduct                    • Employee engages in misconduct or commits an       Equity/Cash     ✓       ✓
18                                            error that causes material financial or
                                              reputational harm
19                                         • Any conduct that constitutes Cause                   Equity                ✓

20           Risk Management Failure       • Failure through willful misconduct/gross             Equity        ✓       ✓
                                              negligence to identify, escalate, monitor, or
                                              manage, risks
21
             Resolution of Outstanding                                                            Equity                ✓
22           Regulatory Matters             • Failure of the employee to achieve progress on
             (Performance Shares granted in    resolving outstanding consent orders and/or
             2019 and later)                   other regulatory matters
23

24              Clawback applies to the most recent incentive compensation that has been vested
                and/or paid, so long as such payment(s) have taken place within five years from when
25              the Committee approves a clawback.
26

27
     259
           Id. at 87.
28
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 1             312.     As the discussion and chart above demonstrate, the vastly enhanced and broad Clawback

 2   Policy that Wells Fargo adopted and implemented, effective January 1, 2021, applies to a very wide range

 3   of employee misconduct, not just a financial restatement.              Misconduct that will result in

 4   clawback/forfeiture includes “any conduct that causes harm,” including but not limited to reputational

 5   harm to Wells Fargo, the “failure through willful misconduct/gross negligence to identify, escalate,

 6   monitor, or manage risks,” and failure of an employee “to achieve progress on resolving outstanding

 7   consent orders and/or other regulatory matters.”

 8             313.     The Proxy also disclosed that the HRC members are responsible for making Clawback

 9   decisions. Their role in doing so was again touted in the Proxy as a major part of what supposedly had

10   caused Wells Fargo to remediate its dismal risk management and internal controls that previously existed

11   and which had allowed the “fake account” scandal to occur. The 2021 Proxy stated: “The HRC has made

12   significant changes to our executive compensation program over the last few years to . . . discourage

13   imprudent risk-taking and hold individuals accountable, as appropriate.” 260

14             314.     The Board and HRC represented to stockholders in the Proxy that “The new Policy

15   provides the HRC and the Board with important tools they need to hold employees accountable.”

16             315.     Therefore, as members of the HRC, Directors Black, Hewett, Morris, and Sargent had

17   decision-making authority and responsibility with respect to the Company’s executive Clawback Policy.

18   That policy, as demonstrated above, allows Wells Fargo to clawback the executive compensation of all

19   senior executives and members of its Operating Committee for “any conduct that causes harm.” The

20   Clawback Policy is strictly NOT LIMITED to instances of financial misconduct relating to an accounting

21   restatement, as many corporations’ clawback policies are.

22             316.     Wells Fargo’s Clawback Policy thus specifically and expressly applies to the severe

23   financial and reputational damage to Wells Fargo, failures of risk management, and false statements

24   and/or SEC filings issued and/or approved by the Individual Defendants related to the Company’s DEI

25   initiatives and Diverse Slate Program, as detailed supra. As a result, the Board as a whole, as well as

26   Directors Black, Hewett, Morris, and Sargent (as members of the HRC) were required to perform an

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     260
           Id. at 68.
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 1   investigation of whether the compensation of the Company’s senior executives and Operating Committee

 2   members should be clawed back/forfeited.

 3               317.   In a September 23, 2022, “Communications & Brand Management Update,” prepared for

 4   the Corporate Responsibility Committee of Wells Fargo Board of Directors, members of the board were

 5   presented with updates on Wells Fargo’s media coverage. According to the report, sentiment for Wells

 6   Fargo declined 33% in Q1 and 24% in Q2 of 2022, “driven by alleged discriminatory practices in

 7   home lending and job interview.” (emphasis added) 261 The report also identified the “Top 5 Negative

 8   Social Media Themes” with number one being “NY Times article on alleged false/staged diverse

 9   interview with comments from politicians.” 262 That topic received 17,109 mentions and more than 1.2

10   billion impressions.263

11               318.   Despite these and other examples of known harm to the Company, the HRC board minutes

12   and packages produced by Wells Fargo in response to Plaintiff’s stockholder inspection demand,

13   however, reveal that no such investigation whatsoever was performed by Defendants Directors Black,

14   Hewett, Morris, and Sargent. As a result, the Board as a whole and Directors Black, Hewett, Morris,

15   and Sargent abdicated their duties as members of the HRC and acted in bad faith.

16               J.     Defendant Santos, Who Was in Charge of the Diverse Slate Program,
                        Engaged in Insider Selling Shortly Before the Truth Was Announced
17

18               319.   On May 3, 2022, shortly before the truth about the fake interviews began to be disclosed,

19   Defendant Santos sold 22,700 shares of his Wells Fargo stock while in possession of material non-public

20   information for proceeds of approximately $1,008,788.

21               320.   The insider selling by Santos was highly unusual in timing and amount. First, Santos did

22   not sell his stock pursuant to a Rule 10b5-1 plan. Second, Santos sold a highly unusual amount of his

23   Wells Fargo stock: 51.4% of all his overall holdings. After his sale, Santos only retained 21,478 shares.

24   Third, the timing of the sale—coming just two weeks before The New York Times published its first

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     261
26         Ex. NN, WF_DS_000005058 – 5065.
     262
           Id.
27
     263
           Id.
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                                                    121
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 1   explosive story which began to expose the truth about the fake account scandal based on reports from

 2   Wells Fargo employees—constitutes strong indicia of scienter. Third, Santos had not engaged in any

 3   major sales of his Wells Fargo stock in the two years prior to his May 3, 2022 sale.

 4   VII.     FIDUCIARY DUTIES OF THE DEFENDANTS

 5            A.     Duties of All Defendants

 6            321.   By reason of their positions as officers or directors of Wells Fargo and because of their

 7   ability to control the business, corporate, and financial affairs of the Company, Defendants owed Wells

 8   Fargo and its stockholders the duty to exercise due care and diligence in the management and

 9   administration of the affairs of the Company, including ensuring that Wells Fargo operated in compliance

10   with all applicable federal and state laws, rules, and regulations. This included ensuring that Wells Fargo

11   did not violate laws and regulations designed to prevent and deter discriminatory lending practices—such

12   as any form of illegal redlining.

13            322.   Defendants were required to act in furtherance of the best interests of Wells Fargo and its

14   stockholders so as to benefit all stockholders equally and not in furtherance of Defendants’ personal

15   interest or benefit. Each director and officer owed to Wells Fargo and its stockholders the fiduciary duty

16   of loyalty, which includes (i) the obligation to exercise good faith and diligence in the administration of

17   the affairs of the Company and in the use and preservation of its property and assets, and (ii) the highest

18   obligations of fair dealing.

19            323.   Because of their positions of control and authority as directors or officers of Wells Fargo,

20   Defendants were able to and did, directly or indirectly, exercise control over the wrongful acts detailed

21   in this Second Amended Complaint. Due to their positions with Wells Fargo, Defendants had knowledge

22   of material non-public information regarding the Company.

23            324.   To discharge their duties, Defendants were required to exercise reasonable and prudent

24   supervision over the management, policies, practices, controls, and financial and corporate affairs of the

25   Company. By virtue of such duties, the officers and directors of Wells Fargo were required to, among

26   other things:

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 1                   1.      Manage, conduct, supervise, and direct the employees’ businesses, and affairs of

 2   Wells Fargo in accordance with existing laws, rules, and regulations, as well as the charter and by-laws

 3   of Wells Fargo;

 4                   2.      Ensure that Wells Fargo did not engage in imprudent or unlawful practices and

 5   that the Company complied with all applicable laws and regulations;

 6                   3.      Remain informed as to how Wells Fargo was, in fact, operating, and, upon

 7   receiving notice or information of imprudent, unsound or illegal business practices, to take reasonable

 8   corrective and preventative actions, including maintaining and implementing adequate financial and

 9   operational controls;

10                   4.      Supervise the preparation, filing, or dissemination of any SEC filings, press

11   releases, audits, reports, or other information disseminated by Wells Fargo, and to examine and evaluate

12   any reports of examinations or investigations concerning the practices, products, or conduct of Company

13   officers; and

14                   5.      Preserve and enhance Wells Fargo’s reputation as befits a public corporation and;

15   exercise good faith to ensure that the affairs of the Company were conducted in an efficient, business-

16   like manner so as to make it possible to provide the highest quality performance of its business.

17          B.       Fiduciary Duties of Directors of Federal Banking Institutions

18          325.     The Board has a responsibility, as part of its fiduciary duties to Wells Fargo and its

19   stockholders, to oversee the operations of the Company and to maintain sufficient systems or controls to

20   be reasonably certain that misconduct at the operational level would be elevated to the Board and

21   executive management for remediation. The Board fails in that responsibility if it (i) fails to implement

22   appropriate reporting systems or controls to identify potential imprudent, unsound, or illegal business

23   practices, or (ii) consciously fails to monitor or oversee the systems and controls it put in place for this

24   purpose.

25          326.     While all directors of Delaware corporations have this oversight duty, federal regulatory

26   bodies place special emphasis on the oversight function of boards of banking institutions. Indeed,

27   following the 2007-2008 global financial crisis that threw a spotlight on imprudent, unsound, and illegal

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 1   banking practices, the federal government enacted regulations and issued guidance on the duties of banks

 2   and, in particular, their boards of directors, to oversee their Companies’ operations. Each of these

 3   regulatory schemes is meant to drive home the core principle that banks must employ systems and

 4   controls designed to monitor policies and procedures required by statutes or regulations. By any measure,

 5   this includes statutes and regulations ensuring that Wells Fargo does not violate laws and regulations that

 6   pertain to the banking industry, including laws and regulations prohibiting discriminatory lending

 7   practices such as redlining.

 8           327.   The FDIC has enumerated the duties of bank directors as follows:

 9           Th[e] [fiduciary duties of care and loyalty mean] that directors are responsible for
             selecting, monitoring, and evaluating competent management; establishing business
10           strategies and policies; monitoring and assessing the progress of business operations;
11           establishing and monitoring adherence to policies and procedures required by statute,
             regulation, and principles of safety and soundness; and for making business decisions
12           on the basis of fully informed and meaningful deliberation.264

13           328.   Similarly, the Office of Comptroller of the Currency (“OCC”), another banking regulator,
14   describes the primary fiduciary duties of bank directors as follows:
15           While holding companies of large banks are typically managed on a line of business basis,
16           directors at the bank level are responsible for oversight of the bank’s charter—the legal
             entity. Such responsibility requires separate and focused governance. We have reminded
17           the boards of banks that their primary fiduciary duty is to ensure the safety and
             soundness of the national bank or federal savings association. Execution of this
18           responsibility involves focus on the risk and control infrastructure necessary to
             maintain it. Directors must be certain that appropriate personnel, strategic planning,
19           risk tolerance, operating processes, delegations of authority, controls, and reports are
20           in place to effectively oversee the performance of the bank. The bank should not simply
             function as a booking entity for the holding company. It is incumbent upon bank
21           directors to be mindful of this primary fiduciary duty as they execute their
             responsibilities. 265
22

23

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     264
25       Financial Institution Letter FIL–87–92 (FDIC dated December 3, 1992) (emphasis added),
     https://www.fdic.gov/regulations/laws/rules/responsibilities-bank-directors-officers.pdf.
26   265
         Testimony of Thomas J. Curry, Comptroller of the Currency, before the Financial Services
27   Committee, U.S. House of Representatives (June 19, 2012), (emphasis added) https://occ.gov/news-
     issuances/congressional-testimony/2012/pub-test-2012-91-written.pdf.
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                                                124
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 1              329.    In November 2020, the OCC updated its “Director’s Book: Role of Directors for National

 2   Banks and Federal Savings Association.” (the “November 2020 Director’s Book”), 266 a guidance

 3   document that describes the role of duties of directors of national banks. The November 2020 Director’s

 4   Book makes it clear that boards of banks like Wells Fargo must among other things:

 5              •   provide effective oversight;

 6              •   exercised independent judgment;

 7              •   provide a credible challenge to management;

 8              •   establish an appropriate culture and set the tone at the top;

 9              •   understand the legal and regulatory framework applicable to the bank’s activities; and

10              •   comply with fiduciary duties and all applicable laws and regulations. 267

11              330.    In addition to the above, the November 2020 Director’s Book states that the board must

12   set an appropriate corporate culture at the bank, including a culture that “does not condone or encourage

13   imprudent risk taking, unethical behavior, or the circumvention of laws, regulations, or safe and sound

14   policies and procedures in pursuit of profits or business objectives.” 268

15              331.    The November 2020 Director’s Book also recognizes that “[b]anking laws and regulations

16   cover a wide range of areas . . . [and] [t]he board and management should recognize the scope and

17   implications of laws and regulations that apply to the bank and its activities.” 269 Additionally, it states

18   that “the board and management should understand the potential consequences of violations of law and

19   regulations that could result in financial losses, reputational and legal risks, and enforcement actions.”270

20

21

22

23
     266
         https://www.occ.gov/publications-and-resources/publications/banker-education/files/pub-directors-
24   book.pdf.
     267
25         Id. at 22-23.
     268
26         Id. at 25.
     269
           Id. at 62.
27
     270
           Id. at 62.
28
                                                    125
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                  C.     The Board’s Committees Were Expressly Charged with Overseeing and
 1                       Monitoring Risk to Wells Fargo
 2                332.   Among the Board’s most-critical duties is overseeing the Company’s risk management
 3   structure. 271 Wells Fargo’s 2022 Annual Report to stockholders, for example, states:
 4                The Board carries out its risk oversight responsibilities directly and through its
 5                committees. The Risk Committee reviews and approves the Company’s risk management
                  framework and oversees management’s implementation of the framework, including how
 6                the Company manages and governs risk. The Risk Committee also oversees the
                  Company’s adherence to its risk appetite. In addition, the Risk Committee supports the
 7                stature, authority and independence of IRM and oversees and receives reports on its
                  operation. The Chief Risk Officer (CRO) reports functionally to the Risk Committee and
 8                administratively to the CEO.” 272
 9
                  333.   Further, the Board’s standing committees are charged with monitoring specific aspects of
10
     Wells Fargo’s business. Among these are the Risk Committee, the Audit and Examination Committee,
11
     the CRC, the HRC, and the Governance and Nominations Committee. Each committee has its own
12
     charter setting forth duties for their respective members, in addition to the duties of board members
13
     generally.
14
                  334.   During the Relevant Period (from January 1, 2019 to the present) the members of the
15
     Board’s standing committees were:
16
                  Director        Risk        Audit and       Corporate        Governance        Human
17               Defendant                   Examination     Responsibility       and           Resources
18                                                                             Nominating
            Black                                                                              2020, 2021
19

20          Chancy            2020, 2021     2020, 2021,
                                             2022
21
            Clark                                            2019, 2020,       2019, 2020,
22                                                           2021, 2022        2021, 2022
23          Craver                           2019, 2020,                       2021, 2022
                                             2021, 2022
24
            Davis             2022
25

26
     271
           See Wells Fargo & Co., Annual Report, at 28 (Form 10-K) (2022).
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     272
           Id.
28
                                                     126
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            Director           Risk         Audit and       Corporate         Governance        Human
 1         Defendant                       Examination     Responsibility        and           Resources
 2                                                                            Nominating
          Hewett           2019, 2020,                     2019, 2020,       2021, 2022       2019, 2020,
 3                         2021, 2022                      2021, 2022                         2021, 2022

 4        James                                                              2019, 2020       2019, 2020

 5
          Morken                           2022            2022
 6

 7        Morris           2019, 2020,                                                        2019, 2020,
                           2021, 2022                                                         2021, 2022
 8
          Norwood          2022
 9

10        Noski                            2019, 2020                        2019, 2020
11
          Payne            2020, 2021,
12                         2022
13        Pujadas                          2019, 2020,
                                           2021
14
          Sargent                          2019, 2020,                       2019, 2020,      2019, 2020,
15                                         2021, 2022                        2021, 2022       2021, 2022
16        Vautrinot        2019, 2020,                     2019, 2020,
                           2021, 2022                      2021, 2022
17

18                    1.     Duties of Risk Committee Members

19           335.     According to its charter, the purpose of the Board’s Risk Committee is to “assist the Board

20   of Directors in fulfilling its responsibilities to oversee the Company’s company-wide risk management

21   framework and Independent Risk Management function, including the significant programs, policies, and

22   plans established by management to identify, assess, measure, monitor, and manage the material risks

23   facing the Company, including compliance risk . . . credit risk, interest rate risk, liquidity risk, market

24   risk, reputation risk, and strategic risk.”

25           336.     Regarding the Risk Committee’s expected communications with management, the charter

26   states that “the Committee chair, or other individual Committee member designated by the Committee,

27   is expected to have regular communication between Committee meetings with the Chief Risk Officer

28
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 1   and, as needed, other members of management. The Chief Risk Officer and, as needed, other members

 2   of management are expected to communicate with the Chair on any significant risk issues that arise

 3   between Committee meetings, including issues raised or escalated by management’s Enterprise Risk &

 4   Control Committee.”

 5          337.   The Risk Committee charter states that the committee shall, among other things:

 6          •   Approve and periodically review the Company’s risk management framework and
                oversee management’s establishment and implementation of the framework, including
 7
                how the Company supports a strong risk management culture, manages and governs
 8              its risk, and defines the risk roles and responsibilities of the Company’s three lines of
                defense;
 9
            •   Oversee and receive reports from management on the operation of the Company’s
10              company-wide risk management framework, including policies, procedures,
                processes, controls, systems, and governance structures for the identification,
11              measurement, assessment, control, mitigation, reporting, and monitoring of risks
12              facing the Company;

13          •   Periodically review and, as appropriate or unless otherwise reviewed or approved by
                another Board committee with primary oversight of the specific risk type, approve
14              significant risk management policies relating to the material risk types identified
                through the Company’s enterprise risk identification and assessment program;
15

16          •   Review regular reports from the Chief Risk Officer and other members of management
                regarding emerging risks, escalated risks or issues, and other selected company-wide
17              risks and issues and/or risk topics; and

18          •   Review and receive regular reports from the Chief Risk Officer and other members of
                management regarding management’s assessment of the effectiveness of the
19              Company’s risk management program, including risk management effectiveness and
                actions taken by management to address risk matters and the implementation of risk
20
                management enhancements.
21
            338.   In order to comply with these enumerated responsibilities, the charter states that the Risk
22
     Committee shall oversee and periodically review and receive reports from management on:
23
            •   compliance risk and general condition of compliance risk management, including the
24              effectiveness of the Company’s compliance program, the annual compliance plan, and
                the related annual Compliance function staffing plan (including the Compliance
25
                financial forecast, staffing, and resource needs);
26
            •   conduct risk, including conduct management activities and Independent Risk
27              Management’s conduct risk oversight; financial crimes risk and general condition of
                financial crimes risk management and internal controls, including the effectiveness of
28
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                 the Company’s financial crimes program and suspicious activity monitoring and
 1               reporting;
 2
             •   model risk and the general condition of model risk management, including model
 3               governance;

 4           •   operational risk and general condition of operational risk management, including the
                 Company’s operational risk program, operational risk profile, and the effectiveness of
 5               the Company’s operational risk program and control environment;
 6
             •   reputation risk, including periodic reporting on reputation risk through enterprise risk
 7               reporting; and

 8           •   strategic risk, including the alignment of the risk profile and risk management
                 effectiveness with the Company’s strategic plan and risk appetite, and risks that may
 9               be associated with significant new business or strategic initiatives (including any
                 acquisition activities) as it may deem appropriate.
10

11           339.    During the Relevant Period, and as set forth in ¶ 336, Defendants Chancy, Davis, Hewett,
12   Morris, Norwood, Payne, and Vautrinot served on the Risk Committee. In light of the duties described
13   above as set forth in Wells Fargo’s Risk Committee charter, these individuals should have received and
14   reviewed data consistent with the data described in the Bloomberg publication showing how Wells
15   Fargo’s minority lending practices, and specifically the Company’s approval/denial gap for Blacks and
16   other minority groups, compared with other large banking institutions like JPMorgan Chase, Citi, and
17   Bank of America.
18           340.    Moreover, after reviewing such data, the Risk Committee should have immediately taken
19   steps to prevent and correct the problem as it placed Wells Fargo at risk of violating laws and regulations
20   prohibiting redlining. Yet, based on documents produced by Wells Fargo during Plaintiffs’ § 220
21   investigation, the Risk Committee failed to discuss or consider, prior to the Bloomberg publication, fair
22   lending risks at all, much less the approval/denial gap for Blacks and other minority groups, including
23   the fact that Wells Fargo’s approval rates were far lower than its banking peers. Additionally, the Risk
24   Committee never discussed discriminatory pricing exceptions even though Wells Fargo had a long history
25   of settlements related to this issue.
26

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 1                 2.      Duties of Audit and Examination Committee Members

 2          341.   According to its charter, the Board’s Audit and Examination Committee (the “Audit

 3   Committee”) is responsible for ensuring that the Company has “appropriate oversight of risk and other

 4   issues, including the Company’s allowance for credit losses and compliance with legal and regulatory

 5   requirements, without unnecessary duplication, the Chairs of the Audit Committee and each of the other

 6   Board committees communicate as they deem advisable.            In addition, the Committee shall share

 7   information of common interest with the Risk Committee as determined appropriate by the committees.

 8   The Audit Committee Chair and other members of the Audit Committee, as appropriate, are expected to

 9   bring to the attention of the Risk Committee Chair any risks that such committee members believe should

10   be discussed by the Risk Committee.”

11          342.   Specifically, the Audit Committee is responsible to:

12          •   Review and discuss, prior to filing, the Company’s annual audited financial statements
                (and Form 10-K) and quarterly unaudited financial statements (and Form 10-Q) with
13              management and the independent auditor, including the Company’s disclosures under
14              “Management’s Discussion and Analysis of Financial Condition and Results of
                Operations.”
15
            •   Review at least annually, and receive on a timely basis from the independent auditor
16              their report regarding, all critical accounting policies used by management in the
                preparation of the financial statements as well as any critical audit matters. Discuss
17              with the independent auditor their judgments about the quality and acceptability of the
18              Company’s accounting principles as applied to its financial reporting.

19          •   Review and discuss with management and the independent auditor any major issues
                regarding accounting principles and financial statement presentations, including any
20              significant changes in the selection or application of accounting principles, as well as
                the financial effects of regulatory and accounting initiatives and off-balance sheet
21              structures.
22
            •   Review disclosures to the Committee by the CEO and CFO in connection with their
23              certification of the Company’s Forms 10-K and 10-Q regarding any significant
                deficiencies or material weaknesses in the design or operation of internal controls over
24              financial reporting and any fraud involving any employees who have a significant role
                in the Company’s internal controls over financial reporting.
25
            •   Periodically review and approve the Company’s policy establishing its disclosure
26
                framework for financial and regulatory reports prepared for the Board, management,
27              and bank regulatory agencies.

28
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            •   Periodically review updates from management regarding the Company’s data
 1
                environment impacting regulatory reporting and compliance with its regulatory
 2              reporting governance and oversight policy.

 3          •   Monitor the Company’s progress in appropriately and promptly addressing,
                correcting, and resolving any matters reported to the Committee that in the
 4              Committee’s judgment could materially jeopardize the Company’s financial
                condition, results of operations and accuracy of the Company’s financial statements.
 5

 6          •   Review reports on significant changes in staffing, processes, and industry trends as
                needed, and review results of the quality assessment review required by the Institute
 7              of Internal Auditors every five years.

 8          •   Review the audit results prepared annually by the internal audit function, and reported
                to both the Risk Committee and the Audit Committee, assessing the effectiveness of
 9              the Company’s risk management framework and capabilities.
10
            •   Review and discuss with management, at least annually, the implementation and
11              effectiveness of the Company’s compliance risk management program.

12          •   Periodically review updates and reports from management, including the Chief
                Compliance Officer, Chief Risk Officer, General Counsel and Chief Auditor,
13              regarding compliance and legal matters that may have a significant impact on the
                Company’s compliance risk management or financial statements.
14

15          •   In accordance with NYSE rules and taking into consideration the Risk Committee’s
                oversight of the Company’s company-wide risk management framework and oversight
16              of all of the Company’s major risks and the allocation of certain risk oversight
                responsibilities to other committees of the Board, discuss at least annually the
17              Company’s guidelines and policies for assessing and managing risk, including
                reputation risk, the Company’s major financial risk exposures and the steps
18
                management has taken to monitor and control such exposures.
19
            343.    During the Relevant Period, and as set forth in ¶ 336, Defendants Chancy, Craver, Morken,
20
     Noski, Pujadas, and Sargent served on the Audit Committee. In light of the duties described above and
21
     as set forth in the Audit Committee’s charter, members of the Audit Committee should have known,
22
     through reports from management “regarding compliance and legal matters that may have a significant
23
     impact on the Company’s compliance risk management,” that they were not receiving reports concerning
24
     Wells Fargo’s approval/denial gap, data that would allowed Audit Committee members to take action
25
     and otherwise ensure that the Company’s lending practices did not violate laws and regulations
26
     prohibiting redlining.
27

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 1                  3.      Duties of Corporate Responsibility Committee Members

 2          344.    According to its charter, the purpose of the Board’s Corporate Responsibility Committee

 3   (“CRC”) is to “assist the Board of Directors in fulfilling its responsibilities to oversee the Company’s

 4   significant strategies, policies, and programs on social and public responsibility matters and the

 5   Company’s relationships and enterprise reputation with external stakeholders on those matters.” This

 6   includes the following:

 7          •   Overseeing the Company’s significant strategies, policies, and programs on social and
                public responsibility matters, including environmental sustainability and climate
 8
                change, human rights, and supplier diversity;
 9
            •   Overseeing the Company’s community development and reinvestment activities and
10              performance;

11          •   Overseeing the Company’s social impact and sustainability strategy and impacts
                through the support of non-profit organizations by the Company or a Company
12              sponsored charitable foundation;
13
            •   Monitoring the state of the Company’s relationships and enterprise reputation with
14              external stakeholders on social and public responsibility matters; and

15          •   Reviewing stockholder proposals related to social and public responsibility matters.

16          345.    During the Relevant Period, and as set forth in ¶ 336, Defendants Clark, Hewett, Morken,
17   and Vautrinot served as members of Wells Fargo’s CRC. In light of the duties described above and as
18   set forth in the Committee’s charter, including that members of the CRC “shall oversee significant
19   strategies, policies, and programs on social and public responsibility matters,” these individuals should
20   have received and reviewed the same or similar approval/denial gap data described in the Bloomberg
21   investigation, data that showed Wells Fargo’s approval rates for Black and other minorities was far below
22   that of its peers. After reviewing such data, the CRC should have immediately taken steps to prevent and
23   correct the problem.
24          346.    According to documents produced during Plaintiffs’ § 220 investigation, on August 11,
25   2020, the CRC received one report that “minority lending distribution” was an “emerging risk” to the
26

27

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 1   Company and that regulators considered redlining a “priority issue.” 273 After receiving the report, the

 2   CRC did nothing. At a minimum, the CRC should have provided the August 11, 2020 report to the Risk

 3   Committee so that it could further evaluate this “priority” “emerging risk.” However, it was not until

 4   April 2022, after the Bloomberg report was published, that the Risk Committee was made aware of this

 5   issue and received reporting on Wells Fargo’s approval/denial gap data.

 6           347.   In order to comply with their fiduciary duties of oversight, at a minimum, the CRC

 7   members should have provided information on the “emerging risk” of redlining to the Risk Committee

 8   for further evaluation and action if necessary. However, according to Plaintiffs’ § 220 investigation,

 9   made prior to the publication of the Bloomberg article, the Risk Committee was unaware that this was an

10   “emerging risk” for the Company.

11           348.   Because the CRC failed to take action regarding this “priority” risk—and failed to follow

12   up regarding managements’ (incorrect) report that Wells Fargo did not have a “systematic fair lending

13   risk,” the CRC members failed to faithfully exercise their fiduciary duties as directors of Wells Fargo.

14                   4.     Duties of Human Resource Committee Members

15           349.   According to its charter, the Board’s Human Resource Committee (“HRC”), among other

16   responsibilities, oversees the following:

17           •      approval of the Company’s compensation philosophy and principles;

18           •      executive compensation, including conducting the annual CEO performance

19                  evaluation process;

20           •      the Company’s incentive compensation risk management program, human capital

21                  risk, and human capital management;

22           •      the Company’s culture and Code of Conduct; and

23           •      reputational risk related to the HRC’s responsibilities described in this Charter.

24           350.   Additionally, the HRC was responsible for Wells Fargo’s Diverse Search Requirement

25   Program, an initiative that required hiring managers to interview (rather than hire) at least one woman

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     273
27      Ex. V, Minutes of the Meeting of the Corporate Responsibility Committee of the Board of Directors
     of Wells Fargo & Co. Held on August 11, 2020 (WF_DS_000003600 at 3605).
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 1   and one person of color for job openings with salaries of $100,000 or more. According to The New York

 2   Times investigation, see supra ¶¶ 182-99, the Company’s diverse hiring program was merely a check-

 3   the-box step in the hiring process, rather than a meaningful effort to hire diverse candidates.

 4             351.    Members of the HRC, in order to comply with their fiduciary duties as directors, should

 5   have ensured that the diverse hiring program was not implemented in a way that was abused or mere

 6   window dressing. Additionally, they should have known that the “interview” program could easily be

 7   implemented as a checking-the-box program. Yet, prior to The New York Times investigation, none of

 8   the materials produced by Wells Fargo in response to Plaintiffs’ § 220 investigation demonstrates that

 9   the HRC was engaged on this issue—or even discussed the likelihood that the diverse interview

10   requirement could be abused or implemented in a way that would not result in Wells Fargo actually

11   increasing diversity among its workforce.

12             352.    Two months after the May 2022 New York Times report, on June 28, 2022, the HRC held

13   a meeting at which it received a “Conduct Update” regarding “Allegations from Employees” stating that

14   the “[v]olume of allegations by employees remains high” and noting “16,000 employee-reported

15   allegations over the past year” of “harassment and discrimination,” which were a “high number given the

16   employee base.” The report also noted a 17% “substantiation rate across all employee allegations” with

17   “Retaliation (subcategory within Harassment)” being “the largest allegation subcategory (over

18   1,600) . . . .”

19             D.      Defendants’ Fiduciary Duties Under Caremark and Marchand

20             353.    As directors, officers, and/or senior employees, Defendants owed fiduciary duties to Wells

21   Fargo and its stockholders, including the duty of care and the duty of loyalty.

22             354.    Under the relevant line of Delaware Supreme Court cases, including Caremark, 274

23   Marchard, 275 and their progeny, a board of directors of a Delaware corporation, as well as its officers,

24   have specific duties to: (a) implement a reasonable information and reporting system and controls of

25   compliance particularly as it relates to mission-critical issues; and (b) oversee and monitor the operations

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     274
           In re Caremark Int’l. Inc. Derivative Litig., 698 A.2d 959 (Del. Ch. 1996).
27
     275
           Marchand v. Barnhill, 212 A.3d 805, 807 (Del. 2019).
28
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 1   of that information and reporting system. Under the second prong of Caremark, directors and officers

 2   breach their fiduciary duty of loyalty if, having implemented a regular reporting and information system

 3   and controls, they consciously failed to monitor or oversee its operations thus disabling themselves from

 4   being informed of risks or problems requiring their attention. 276

 5             355.   The Caremark duty focuses on monitoring fraudulent or illegal conduct, as opposed to

 6   other, more general business risks. As the Delaware Court of Chancery has stated, “[d]irectors should,

 7   indeed must under Delaware law, ensure that reasonable information and reporting systems exist that

 8   would put them on notice of fraudulent or criminal conduct within the company. Such oversight programs

 9   allow directors to intervene and prevent frauds or other wrongdoing that could expose the company to

10   risk of loss as a result of such conduct.” 277

11             356.   Moreover, the Delaware Court of Chancery has recently confirmed that Caremark duties

12   extend to corporate officers. As Vice Chancellor Laster noted, “[t]he same policies that motivated

13   Chancellor Allen to recognize the duty of oversight for directors apply equally, if not to a greater degree,

14   to officers. The Delaware Supreme Court has held that under Delaware law, corporate officers owe the

15   same fiduciary duties as corporate directors, which logically include a duty of oversight.” 278

16             357.   As noted above, it is an axiomatic tenet of Delaware corporate law that Delaware

17   corporations may only pursue “lawful business” by “lawful acts.” 8 Del. C. §§ 101(b), 102(a)(3).

18   “Delaware law does not charter law breakers. Delaware law allows corporations to pursue diverse means

19   to make a profit, subject to a critical statutory floor, which is the requirement that Delaware corporations

20   only pursue ‘lawful business’ by ‘lawful acts.’ As a result, a fiduciary of a Delaware corporation cannot

21   be loyal to a Delaware corporation by knowingly causing it to seek profit by violating the law.” 279

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24      Stone v. Ritter, 2006 WL 302558, at *1-2 (Del. Ch. 2006), aff’d sub nom. Stone ex rel. AmSouth
     Bancorporation v. Ritter, 911 A.2d 362, 370 (Del. 2006).
25   277
           In re Citigroup Inc. S’holder Deriv. Litig., 964 A.2d 106, 131 (Del. Ch. 2009).
26   278
           In re McDonald’s Corp. S’holder Deriv. Litig., 289 A.3d 343, 349 (Del. Ch. 2023).
     279
27      In re Massey Energy Co. Deriv. & Class Action Litig., 2011 WL 2176479, at *20 (Del. Ch. May 31,
     2011) (quoting 8 Del. C. §§ 101(b), 102(a)(3), 102(b)(7)).
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 1           358.    Here, Wells Fargo’s pattern of discriminatory practices against minority groups in

 2   mortgage lending and hiring, is a mission-critical risk that exposes the Company to civil (and potentially

 3   criminal) liability under various federal and state statutes, including those referenced below.

 4           359.    First, the Equal Credit Opportunity Act, 15 U.S.C. § 1691, et seq., makes it “unlawful for

 5   any creditor to discriminate against any applicant, with respect to any aspect of a credit transaction –

 6   (1) on the basis of race, color, religion, national origin, sex or marital status, or age (provided the applicant

 7   has the capacity to contract); (2) because all or part of the applicant’s income derives from any public

 8   assistance program.” 15 U.S.C § 1691(a). The Equal Credit Opportunity Act applies to applications for

 9   residential loans for original purchase mortgages, mortgage refinancing, and other forms of credit. Here,

10   Wells Fargo is a creditor because it regularly issues, extends, and renews credit to borrowers. The

11   Company’s systematic and discriminatory denials of loan applications—including residential, small

12   business, and/or personal loans or lines of credit—submitted by minority applicants constituted race-

13   based discrimination forbidden by the Equal Credit Opportunity Act.

14           360.    Second, the Fair Housing Act, 42 U.S.C. § 3601, et seq., prohibits discrimination by direct

15   providers of housing, such as landlords and real estate companies as well as other entities, such as

16   municipalities, banks or other lending institutions and homeowners insurance companies whose

17   discriminatory practices make housing unavailable to persons because of race or color, religion, sex,

18   national origin, familial status, or disability. The Fair Housing Act makes it unlawful to discriminate

19   against designated classes of individuals in residential real estate transactions, including residential

20   lending. Here, Wells Fargo discriminated against minority borrowers by denying residential and other

21   loan applications, or by not approving residential loan applications on the same terms and timelines as

22   those of similarly qualified applicants who were not members of a protected class, or by causing

23   applicants to withdraw their applications due to roadblocks and feigned difficulties.

24           361.    Third, 42 U.S.C. § 1981 (§ 1 of the Civil Rights Act of 1866 as revised and amended by

25   subsequent Acts of Congress, including the Civil Rights Acts of 1964 and 1991) guarantees persons

26   “[e]qual rights under the law” to “make and enforce contracts,” regardless of race. The term “make and

27   enforce” contracts including “making, performance, modification, and termination of contracts, and the

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 1   enjoyment of all benefits, privileges, terms, and conditions of the contractual relationship.” Id. Section

 2   1981 creates a federal cause of action for individuals claiming intentional racial discrimination. Here,

 3   Wells Fargo’s discrimination—including its lending, refinancing, hiring, and promotion practices—

 4   violated minorities rights to make and enforce contracts and exposes the Company and its employees to

 5   liability under Section 1981.

 6          362.    Fourth, the Unruh Civil Rights Act (California Civil Code Section 51) provides that “[a]ll

 7   persons within the jurisdiction of [the State of California] are free and equal, and no matter what their

 8   sex, race, color, religion, ancestry, national origin, disability, medical condition, genetic information,

 9   marital status, or sexual orientation are entitled to the full and equal accommodations, advantages,

10   facilities, privileges, or services in all business establishments of every kind whatsoever.” The Unruh

11   Civil Rights Act provides that all persons within the State of California are free and equal no Matter their

12   race and are entitled to full and equal treatment in all business establishments and thus prohibits

13   discrimination of any kind against any person in any business establishment. Here, Wells Fargo’s

14   discrimination—including its discriminatory lending, refinancing, hiring, and promotion practices—

15   harmed minority loan applicants by the Company’s refusal to transact business with them and therefore

16   denied these applicants full and equal treatment as required by the Unruh Civil Rights.

17          363.    Fifth, the California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200,

18   prohibits “unfair competition” including “any unlawful, unfair or fraudulent business act or practice.”

19   “Any person who engages, has engaged, or proposes to engage in unfair competition may be enjoined in

20   any court of competent jurisdiction” and that “[t]he court may make such orders or judgments . . . as may

21   be necessary to restore to any person in interest any money or property, real or personal, which may have

22   been acquired by means of such unfair competition.” Cal. Bus. & Prof. Code § 17203. The UCL confers

23   standing on both private parties and public prosecutors. Id. Here, Wells Fargo’s discrimination—

24   including its lending, refinancing, hiring, and promotion practices—constituted an unlawful, unfair,

25   and/or fraudulent business act or practice as defined by the UCL.

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 1          364.    Thus, given the liability Wells Fargo faces under these and other statutes, the Board should

 2   have been especially vigilant in ensuring that the proper reporting systems and internal controls were in

 3   place to monitor, detect, and prevent discriminatory lending and hiring.

 4          365.    As set forth herein, Defendants breached their fiduciary duties by both failing to

 5   implement reporting systems or controls to detect, prevent and address (under the first prong of

 6   Caremark): (1) redlining in any form, including digital or algorithmic redlining; (2) pricing exceptions

 7   in any form; and (3) discriminatory hiring practices. When evidence of these illegal practices finally

 8   trickled up to the Board, Defendants breached their fiduciary duties by ignoring the red flags (under the

 9   second prong of Caremark).

10          366.    As alleged herein, Defendants owed very specific responsibilities to monitor reporting

11   systems (to the extent they existed) to ensure that Company’s business practices complied with all legal

12   and regulatory requirements, including laws and regulations prohibiting discrimination in lending and

13   hiring. These were especially salient issues for Wells Fargo given the Company’s prior settlements in

14   these areas.

15          367.    Moreover, Defendants indisputably knew about these responsibilities.           In conscious

16   disregard of these responsibilities, Defendants failed to monitor or oversee the operations of Wells

17   Fargo’s information and reporting system (or even ensure that a meaningful a reporting structure was in

18   place), thereby disabling themselves from being informed of non-compliance and unlawful practices. By

19   failing to act in the face of a known duty to act, and by demonstrating a conscious disregard for their

20   responsibilities, Defendants failed to act in good faith and breached their fiduciary duty of loyalty.

21   VIII. IN EXCHANGE FOR TAKING ON THE FIDUCIARY DUTIES DESCRIBED
           HEREIN, DEFENDANTS ARE HIGHLY PAID
22
            368.    While Defendants agree to take on a myriad of duties and responsibilities to serve on Wells
23
     Fargo’s Board, these individuals are paid handsomely for their service. For example, in 2021, the year
24
     before the Bloomberg expose was published, Wells Fargo’s board members received, on average,
25
     $354,519.58 in compensation. This calculation does not include Defendant Scharf’s 2021 compensation
26

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 1   which was $24,500,000.00. Below is a chart showing how much each Board member was compensated

 2   during the years 2019-2022.

 3                                 Wells Fargo Director Compensation Totals
 4             Member           2019           2020        2021        2022                   Total
             Baker*          $353,025.00    $72,542.00                                      $425,567.00
 5           Clark           $337,858.00 $358,004.00 $342,044.00 $370,769.00              $1,408,675.00
             Craver          $360,025.00 $372,004.00 $378,211.00 $411,269.00              $1,521,509.00
 6
             Duke*           $635,025.00    $94,282.00                                      $729,307.00
 7           Hewett          $423,841.00 $373,004.00 $354,923.00 $380,769.00              $1,532,537.00
             James           $376,025.00 $374,004.00     $66,222.00                         $816,251.00
 8           Morris          $453,358.00 $478,004.00 $440,044.00 $425,019.00              $1,796,425.00
 9           Noski           $232,786.00 $534,633.00 $443,504.00                          $1,210,923.00
             Payne           $128,871.00 $365,837.00 $349,211.00 $367,269.00              $1,211,188.00
10           Peetz*           $67,111.00                                                     $67,111.00
             Pujadas         $381,089.00 $421,004.00 $383,044.00 $367,769.00              $1,552,906.00
11
             Quigley*        $425,025.00    $55,185.00                                      $480,210.00
12           Sargent         $394,025.00 $382,004.00 $374,044.00 $397,519.00              $1,547,592.00
             Vautrinot       $349,191.00 $379,004.00 $337,044.00 $355,269.00              $1,420,508.00
13           Black                         $258,629.00 $428,900.00 $599,769.00            $1,287,298.00
14           Chancy                        $190,094.00 $357,044.00 $372,311.00              $919,449.00
             Davis                                                  $313,866.00             $313,866.00
15           Morken                                                 $308,075.00             $308,075.00
             Norwood                                                $308,075.00             $308,075.00
16
             Average                                    $354,519.58
17           The asterisk (*) denotes non-party.

18
     IX.     DERIVATIVE ALLEGATIONS
19
             369.   Plaintiffs bring this action derivatively in the right and for the benefit of Wells Fargo to
20
     redress injuries suffered by the Company as a direct result of Defendants’ breaches of fiduciary duty and
21
     other wrongful acts.
22
             370.   Wells Fargo is named solely as a nominal party in this action. This is not a collusive action
23
     to confer jurisdiction on this Court that it would not otherwise have.
24
             371.   Plaintiffs have owned Wells Fargo stock continuously during Defendants’ wrongful
25
     course of conduct as alleged herein, and they continue to hold Wells Fargo stock.
26

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 1            372.   Plaintiffs will adequately and fairly represent the interests of Wells Fargo and its

 2   stockholders in enforcing and prosecuting the Company’s rights. Plaintiffs have retained counsel

 3   experienced in prosecuting this type of derivative action.

 4            373.   Plaintiffs did not make any demand on the Wells Fargo Board to institute this action

 5   because such a demand would be a futile, wasteful, and useless act for the reasons set forth herein and

 6   below.

 7   X.       DEMAND ON THE BOARD IS EXCUSED BECAUSE IT IS FUTILE

 8            A.     Demand Is Futile Because at Least Half of the Demand Board Has
                     Disabling Conflicts of Interest
 9

10            374.   There were fourteen directors on the Wells Fargo Board when this action was initiated:

11   Defendants Black; Chancy; Clark; Craver; Davis; Hewett; Morken; Morris; Norwood; Payne; Pujadas;

12   Sargent; Scharf; and Vautrinot (the “Demand Board,” and each director on the Demand Board, a

13   “Demand Director”). 280

14            375.   Delaware law applies a director-by-director “three-part test as the universal test for

15   assessing whether demand should be futile.” United Food & Com. Workers Union and Participating

16   Food Indus. Emps. Tr-State Pension Fund v. Zuckerberg, 262 A.3d 1034, 1057-58 (Del. 2021). The

17   three-part test asks with respect to each Demand Director: “(i) whether the director received a material

18   personal benefit from the alleged misconduct that is the subject of the litigation demand; (ii) whether the

19   director would face a substantial likelihood of liability on any of the claims that are the subject of the

20   litigation demand; and (iii) whether the director lacks independence from someone who received a

21   material personal benefit from the alleged misconduct that is the subject of the litigation demand or who

22
     280
23       Although Defendant Pujadas resigned from the Board in April 2023—before Pontiac and Plantation
     filed their initial complaint in July 2023—this consolidated action relates back to the initial complaint
24   filed on September 9, 2022 (see ECF No. 1). Thus, Pujadas should be counted among the 14 Demand
     Directors who make up the Demand Board. However, whether or not Pujadas is counted as a Demand
25   Director, the numerical demand-futility analysis is the same because the Demand Board will have either
     14 members (with Pujadas) or 13 members (without Pujadas) and in either case at least half—seven
26
     members—have a disabling conflict of interest and faces a substantial likelihood of personal liability that
27   renders them incapable of fairly and impartially considering demand to pursue this litigation on the
     Company’s behalf.
28
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 1   would face a substantial likelihood of liability on any of the claims that are the subject of the litigation

 2   demand.” Id.

 3           376.    When a demand board is comprised of an even number of directors, a stockholder must

 4   demonstrate demand futility for at least half the directors. See id. at 1059 (“If the answer to any of the

 5   questions is ‘yes’ for at least half of the members of the demand board, then demand is excused as futile.”)

 6   Here, since the Demand Board has fourteen members, demand is futile because seven, or at least half of

 7   the Demand Board, have a disabling conflict of interest.

 8           B.      Each Demand Director Faces a Substantial Likelihood of Personal
                     Liability for Lack of Oversight
 9
             377.    The second inquiry in the demand futility test under Delaware law is whether a director
10
     faces a substantial likelihood of liability on any of the claims that are the subject of the litigation demand.
11
     Here, each Demand Director faces a substantial likelihood of liability for breaching his or her oversight
12
     duties in bad faith.
13
             378.    Preventing lending discrimination and hiring discrimination are mission-critical issues for
14
     a company like Wells Fargo. As detailed above, these were priority issues for lawmakers, regulators, and
15
     the Company’s internal and external stakeholders. The Board knew that. In fact, an April 27, 2021
16
     presentation to the full Board described certain diversity initiatives as “critical.” 281
17
             379.    The Wells Fargo directors had a duty to ensure the Company had internal controls to
18
     prevent discrimination. They had a duty to fix any internal controls that they learned were inadequate.
19
     They also had a duty to act in response to red flags of lending and hiring discrimination. They failed in
20
     those duties.
21
             380.    Seven of the Demand Directors—Clark, Craver, Davis, Morris, Pujadas, Sargent, and
22
     Vautrinot—were on the Board when the Company signed the 2018 Consent Order. Five of the Demand
23
     Directors—Clark, Craver, Davis, Morris, and Pujadas—personally signed the 2018 Consent Order.
24
     Accordingly, the Demand Directors understood the critical importance of establishing reporting systems
25

26
     281
27     Ex. KK, Kieber Santos (Head of Diverse Segments, Representation and Inclusion), Diverse Segments,
     Representation and Inclusion: Status Update (Apr. 27, 2021) (WF_DS_000000754)
28
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 1   that would automatically alert the Board of problems in mission-critical areas. Nevertheless, the Demand

 2   Board established no internal controls or reporting systems that would automatically alert the Board of

 3   the risk that Wells Fargo’s lending practices resulted in disparate impact towards minorities. At best, the

 4   Company’s internal documents demonstrate that the Board received isolated or discretionary reports from

 5   Wells Fargo management about the inherent risk of fair lending. But receiving isolated reports about a

 6   risk is not the same as receiving consistent reporting about the then-current state of compliance. Any fair

 7   reading of the Section 220 materials is that the Demand Directors never received consistent reports on

 8   the issue of fair lending, despite the fact that for years the Company was utterly failing to prevent disparate

 9   impacts that resulted from Wells Fargo lending practices, as demonstrated by documents produced in the

10   Mortgage Discrimination Class Action. See supra § VI.B.7.

11          381.    The Demand Directors also failed to act on numerous red flags related to discriminatory

12   lending. To recount just a few of the red flags alleged above, in 2012 and 2019, respectively, Wells Fargo

13   settled the DOJ and Philadelphia Actions, which alleged that the Company charged minority borrowers

14   higher interest rates than White borrowers for similar loan products, resulting in discriminatory pricing

15   exceptions. This prompted two stockholders from Wells Fargo to send a demand letter to the Board

16   seeking action related to, among other things, the Company’s “controls relating to[] minority borrowing

17   practices.” ¶ 96. The Board summarily dismissed the demand ten later months, somehow missing the

18   trove of information produced in the Mortgage Discrimination Class Action, which identified significant

19   gaps and weaknesses in Company-level controls related to fair lending, and confirm that Wells Fargo’s

20   automated underwriting systems, in fact, resulted in disparate impact towards minorities. § VI.B.7. That

21   the Board (allegedly) investigated these same issues — and determined no action was required — months

22   before the Bloomberg article (¶ 100), speaks volumes about whether the Demand Directors exercised

23   good faith in evaluating these mission critical compliance issues. And, internal documents produced in

24   the Mortgage Discrimination Class Action show that for nearly ten years the Company’s lending policies

25   were having a disparate impact on minorities. ¶¶ 132-33. Had the Director Defendants, in fact, ensured

26   that the Board had in place consistent monitoring of these issues they would have identified the problem

27   much sooner, and long before Bloomberg in 2022.

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 1          382.    Other red flags were also missed. On May 6, 2021, Wells Fargo managers and employees

 2   published a whitepaper on the issue of underwriting algorithms and the likelihood that they result in

 3   discriminatory or disparate impact. ¶¶ 97-99. On February 17, 2022, the first of fourteen stockholders

 4   filed a class action challenging the Company’s discriminatory lending practices, including redlining.

 5          383.    These events have proven to be prescient. In March 2022, Bloomberg published two

 6   articles exposing the Company’s discriminatory lending practices. Also, on December 11, 2023, CNBC

 7   reported that Wells Fargo is (again) under a federal investigation by the CFPB related to discriminatory

 8   pricing exceptions (the investigation remains on-going).

 9          384.    The books and records Plaintiffs received confirm that the Board was aware that fair

10   lending was a risk at Wells Fargo. Yet, there is no indication the Board did anything to ensure the

11   Company’s underwriting algorithms were changed to address the risk that disparate impact was occurring

12   or that discriminatory pricing exceptions continued unabated. Indeed, the Section 220 documents

13   confirm that the Board failed to consistently monitor either of these issues. See § VI.B.8 above. The

14   conscious decision not to monitor for these widely known and publicized discriminatory lending risks—

15   risks that materialized at Wells Fargo in the past – was bad faith.

16          385.    In addition, the Demand Directors acted in bad faith regarding the Company’s

17   discriminatory hiring practices. Through most of the Relevant Period, the Board had established no

18   reporting system that required management to alert the Board of potential violations or abuses regarding

19   the DEI policy and the Guidelines. As a result, the Board did not learn about the whistleblower’s

20   disclosures until The New York Times contacted the Company shortly before the May 19, 2022 article.

21   Likewise, the Board did not learn of the February 18, 2021 Miller email, which disclosed the

22   discrimination one interviewee experienced in September 2020. That was so despite the fact that the

23   Miller email was sent to the Board’s email “inbox.” Given management’s long track record of failing to

24   comply with the law or make progress under the consent orders, no reasonable director acting in good

25   faith would have left such important issues solely to management’s discretion.

26          386.    Once the Board finally learned about the hiring discrimination problem, the Demand

27   Directors consciously ignored the red flags. One red flag was when the Governance & Nominating

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 1   Committee—consisting of Clark, Craver, Hewett, and Sargent—learned about the Miller email on

 2   December 13, 2021. Another red flag was the May 19, 2022 New York Times article detailing allegations

 3   by certain bank managers that they were directed by the Company to conduct sham interviews. An

 4   additional red flag was the June 9, 2022 New York Times article that referenced ten more current and

 5   former employees who confirmed the Company’s practice of sham interviews.

 6          387.    Despite the clear evidence of discriminatory hiring practices, the Demand Directors

 7   supposedly determined at the June 27-28, 2022 Board meeting the Company lacked a systematic problem

 8   with its hiring practices and policies. In other words, rather than address the issues raised by these red

 9   flags, the Demand Directors pretended Wells Fargo lacked any issues with its diverse hiring initiative.

10   Given the overwhelming evidence to the contrary, no reasonable director acting in good faith could have

11   reached this conclusion. The Board continued to bury its head in the sand, even after the SEC opened an

12   investigation into the Company’s hiring practices related to diversity.

13          C.      Additional Red Flags Waved in Front of the Pre-2022 Directors—Black,
                    Chancy, Clark, Craver, Davis, Hewett, Morken, Morris, Norwood, Payne,
14                  Pujadas, Sargent, Scharf, and Vautrinot
15          388.    Additional red flags arose prior to Davis, Morken, and Norwood joining the Board. These
16   red flags waived in front of Defendants Black, Chancy, Clark, Craver, Davis, Hewett, Morken, Morris,
17   Norwood, Payne, Pujadas, Sargent, Scharf, and Vautrinot (the “Pre-2022 Directors”).
18          389.    For example, in December 2020, the Pre-2022 Directors received the December 2020
19   Demand, which alleged that Wells Fargo was engaging in discriminatory lending practices. That demand
20   requested that the Board “take action to recover damages for alleged misconduct and correct alleged
21   deficiencies in the Company’s controls relating to: (i) minority borrowing practices.” Rather than take
22   substantive action in response to this red flag, the Pre-2022 Directors took ten months to reject the demand
23   and decide that no further investigation was warranted into the alleged practices. See ¶ 100 above.
24          390.    On May 6, 2021, the Pre-2022 Directors received another red flag when six Wells Fargo
25   PhDs published the May 2021 Article highlighting the potential discriminatory effects of lending
26   algorithms like those at Wells Fargo.
27

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 1           391.   In March 2022, Bloomberg published its articles discussing the HMDA data from 2020

 2   and 2021. Those articles provided two additional red flags related to Wells Fargo’s discriminatory

 3   lending practices.

 4           392.   Rather than take action in response to the Bloomberg articles, the Pre-2022 Directors

 5   participated in the April 25-26, 2022 Board meeting where the Board discussed the Bloomberg articles,

 6   but failed to investigate (either way) whether Wells Fargo’s lending algorithms resulted in redlining.

 7           D.     Additional Red Flags Waved in Front of the Corporate Responsibility
                    Committee Members—Clark, Hewett, Morken, and Vautrinot
 8
             393.   Clark, Hewett, Morken, and Vautrinot served on the Board’s Corporate Responsibility
 9
     Committee (previously defined as the “CRC”). According to its charter, the CRC was responsible to
10
     assist the Board in fulfilling its responsibilities to oversee the Company’s significant strategies, policies,
11
     and programs on social and public responsibility matters and the Company’s relationships and enterprise
12
     reputation with external stakeholders on those matters.” Among other things, that included “oversee[ing]
13
     the Company’s significant strategies, policies, and programs on social and public responsibility matters,
14
     including environmental sustainability and climate change, human rights, and supplier diversity.
15
             394.   In August 2020, the CRC members were told that “minority lending distribution” and
16
     “residential mortgage redlining” “continues to be a priority” for regulators and that “(redlining)” was an
17
     “emerging risk.” 282 This information and the CRC’s mandate should have led the CRC members to seek
18
     sufficient information from Wells Fargo management to confirm that the Company (and its underwriting
19
     algorithm) did not result in disparate impact towards minorities. They completely failed to do so.
20
             395.   The CRC should have acted in response to the Bloomberg articles. Other directors
21
     understood that the discrimination described in the Bloomberg articles fell with the CRC’s jurisdiction.
22
     Non-CRC members Clark, Hewett, and Vautrinot attended the meeting of the CRC on April 25, 2022,
23
     just before the April 25-26, 2022 meeting at which the Board discussed the articles. Nevertheless, neither
24
     the CRC members nor the Board as a whole took action to address the discrimination described in the
25
     Bloomberg articles. See ¶ 147.
26
     282
27     Ex. V, Minutes of the Meeting of the CRC of the Board of Directors of Wells Fargo & Co. Held on
     August 11, 2020 (WF_DS_000003600 at 3605).
28
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             E.     Additional Red Flags Waved in Front of the Human Resource Committee
 1                  Members—Black, Hewett, Morris, and Sargent—Who Failed to
 2                  Investigate Whether Executives’ Compensation Should Be Clawed Back

 3           396.   Black, Hewett, Morris, and Sargent served on the Board’s Human Resource Committee

 4   (previously defined as the “HRC”) during the Relevant Period. As detailed above and summarized below,

 5   the HRC Committee was directly responsible for the Diverse Search Requirement Program and received

 6   regular updates and detailed information about the program. See ¶¶ 8, 208, 211 supra.

 7           397.    The HRC’s charter provides that the members of the HRC “shall oversee the Company’s

 8   human capital risk and human capital management, including . . . diversity, equity, and inclusion.” The

 9   charter also required that the members of the HRC “oversee the Company’s culture, including

10   management’s efforts to foster ethical behavior and decision-making throughout the Company and the

11   Company’s Code of Ethics and Business Conduct and any significant changes or exceptions thereto.”283

12   Due to the breaches of duty alleged herein, the directors who served on the HRC abdicated their duties

13   under the HRC’s charter.

14           398.   On October 8, 2020, the HRC (comprised at the time by Directors Hewett, James, Morris,

15   and Sargent) received a report entitled “Wells Fargo Human Resources Risk and Regulatory Update:

16   Culture-Monitoring Company Culture Report (MCCR).” The report found that, even though remote

17   work was likely driving the numbers down, harassment, discrimination, and retaliation allegations were

18   rising. The report also found that fewer Wells Fargo employees believed Wells Fargo champions

19   diversity and inclusion in the workplace.

20           399.   On June 29, 2021, the HRC received a presentation noting that “Diversity and inclusion

21   opportunities create emerging risks” and that “YTD-2021 Insufficient Diversity in the Workforce has

22   accounted for $330K or 89% of Internal Losses; losses primarily attributed for settlements for alleged

23   discrimination.” But the HRC failed to act.

24           400.   In addition, as members of the HRC, Directors Black, Hewett, Morris, and Sargent had

25   decision-making authority and responsibility with respect to the Company’s executive Clawback Policy.

26
     283
27     The 2022 Proxy disclosed that the “Board and its HRC oversee the Company’s DE&I strategy and
     monitor its activities and progress.”
28
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 1   That policy allows Wells Fargo to claw back the executive compensation of all senior executives and

 2   members of its Operating Committee for any serious misconduct. The Clawback Policy is strictly NOT

 3   LIMITED to instances of financial misconduct relating to an accounting restatement, as many corporate

 4   clawback policies are. Instead, as detailed above, the policy specifically and expressly applies to any

 5   serious misconduct, including but not limited to reputational damage to Wells Fargo and failures or

 6   risk management. Given the major reputational damage to Wells Fargo and the material failures of risk

 7   management at the Company were caused by the Individual Defendants’ wrongdoing, Directors Black,

 8   Hewett, Morris, and Sargent were responsible for clawing back a portion of the compensation of the

 9   Company’s senior executives and Operating Committee members. The HRC’s meeting minutes and

10   packages produced by Wells Fargo in response to Plaintiffs’ stockholder inspection demands reveal that

11   the HRC members even considered doing so. That failure to take any remedial action was a bad faith

12   abdication of the HRC members’ duties.

13           401.   Here, Plaintiffs seek to recover the executive compensation unjustly received/retained by

14   Defendants Scharf and Powell. Because the HRC members abdicated their duties to apply the Company’s

15   Clawback Policy, Directors Black, Hewett, Morris, and Sargent face a substantial likelihood of liability

16   and cannot impartially evaluate whether to pursue Plaintiffs’ claims.

17           402.   Due to their membership on the HRC, Black, Hewett, Morris, and Sargent knew or

18   recklessly disregarded the fact that discriminatory lending and hiring was rampant at Wells Fargo. Due

19   to their failure to take any actions to stop this practice, to recover executive compensation under the

20   Clawback Policy, and to prevent the dissemination of disclosures about the Diverse Search Requirement

21   Program they knew were false, they face a substantial likelihood of liability, and demand is futile as to

22   them.

23           F.     Additional Red Flags Waved in Front of the Risk Committee Members—
                    Chancy, Hewett, Morris, Payne, Norwood, and Vautrinot
24
             403.   Directors Chancy, Hewett, Morris, Payne, Norwood, and Vautrinot served on the Risk
25
     Committee during the Relevant Period. According to the Risk Committee’s charter, the committee’s
26
     purpose “is to assist the Board of Directors in fulfilling its responsibilities to oversee the Company’s
27

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 1   company-wide risk management framework. This includes reviewing and approving significant

 2   programs and/or policies relating to the following risks: “compliance risk, financial crimes risk

 3   (including Bank Secrecy Act and anti-money laundering risk), model risk, operational risk, information

 4   security risk (including cybersecurity risk), technology risk, data management risk, credit risk, liquidity

 5   and funding risks, market risk, interest rate risk, and investment risk, including the Company’s business

 6   resiliency program, compliance program policy, technology and data management strategies, financial

 7   crimes program, and third-party risk management policy.”

 8          404.    On August 13, 2020, the Company’s Chief Risk Officer reported to the Risk Committee

 9   (comprised at the time by Directors Hewett, Morris, Pujadas, and Vautrinot) that the number of

10   substantiated reports of harassment, discrimination, and retaliation in Q2 2020 was 201, well above the

11   “upper bound” that Wells Fargo had set of 116. The report noted that the “backlog of allegations is

12   resulting in elevated levels of confirmed allegations.”

13          405.    On October 26, 2020, the Risk Committee (comprised at the time of Directors Hewett,

14   Morris, Pujadas and Vautrinot) received a report entitled “IRM Update (incl. Notable Risk Updates and

15   Emerging Risks,” noted that the Company’s social conversation risk advisory was “Critical,” which was

16   the “Highest Level.”

17          406.    Given their mandate and the information they received, the Risk Committee members had

18   a duty to act to address Wells Fargo’s discrimination related to the approval/denial gap for Blacks and

19   other minority groups. Based on Plaintiffs’ Section 220 investigation, the Risk Committee members did

20   nothing.

21          G.      Each Demand Director Faces a Substantial Likelihood of Liability for
                    Approving the Issuance of False and Misleading Public Statements
22
            407.    As explained above, Wells Fargo issued numerous false and misleading disclosures about
23
     its discriminatory practices during the Relevant Period. The securities-fraud plaintiffs address these
24
     wrongful disclosures in their September 8, 2023 Amended Complaint for Violations of the Federal
25
     Securities Laws (ECF No. 116), which alleges that:
26

27          “despite publicly lauding the Diverse Search Requirement, in reality, Wells Fargo was
            conducting “fake” interviews of diverse candidates simply to claim compliance with the
28
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               Diverse Search Requirement since it was first implemented in 2020. These fake interviews
 1             were systemic, and occurred across many of Wells Fargo’s business lines both prior to
 2             and throughout the Class Period.” Id. ¶ 11. The Amended Complaint further alleged that
               “[o]n June 9, 2022, the relevant truth was revealed” when “The New York Times
 3             published an article disclosing that . . . it had spoken with ten additional current and former
               Wells Fargo employees who confirmed that ‘fake’ interviews were prevalent throughout
 4             the Company, and also occurred in many of the Company’s other business lines, including
               the mortgage servicing, home lending, and retail banking businesses.” Id. ¶ 22. The
 5             Amended Complaint corroborated The New York Times’ investigation with “additional
 6             accounts of 11 former Wells Fargo employees and contractors, who worked in six different
               divisions of the Company, which were developed through Plaintiffs’ Counsel’s
 7             independent investigation, corroborate the widespread nature of these fake
               interviews. Id. “In response to these revelations, Wells Fargo’s common stock price fell
 8             more than 10% over two days, declining from a close of $44.63 per share on June 8, 2022,
               to a close of $40.08 on June 10, 2022—wiping out an astonishing $17 billion in market
 9
               capitalization.” [Id. ¶ 23.]
10
               408.   The Wells Fargo directors were ultimately responsible for the Company’s public
11
     disclosures. Each Demand Director approved one or more of the false and misleading statements alleged
12
     herein.
13
               409.   Each Demand Director had actual knowledge of the undisclosed material facts alleged
14
     herein and knowingly or consciously disregarded them in bad faith when approving the false and
15
     misleading statements. A reasonable inference of the Demand Directors’ actual knowledge can be drawn
16
     from the Company’s admission that Wells Fargo directors were provided with detailed and frequent
17
     updates regarding the Company’s Diverse Search Requirement program and DEI operations. The
18
     Company’s Corporate Governance Guidelines state:
19
               Board members have complete access to the Company’s management. In addition, the
20             Company’s management is expected to update the Board on any significant Company or
               competitive developments or matters between Board meetings. Non-Board members who
21             are members of the Company’s Operating Committee regularly attend Board and most
22             committee meetings. 284

23             410.   In its March 2020 Proxy, March 2021 Proxy, and March 2022 Proxy, Wells Fargo

24   admitted that it monitored its progress on enhancing diversity at all levels of the Company using

25   numerous internal and external metrics. Indeed, Wells Fargo’s then-Chairman of the Board, Charles H.

26
     284
27           See    Wells     Fargo     Corporate      Governance       Guidelines,     available                at
     https://www08.wellsfargomedia.com/assets/pdf/about/corporate/governance-guidelines.pdf.
28
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 1   Noski, stated in a signed letter at the front of the March 2021 Proxy that “[t]he Board and its [HRC] are

 2   fully engaged in overseeing Wells Fargo’s diversity, equity, and inclusion initiatives and human capital

 3   management to support management in its efforts to drive meaningful change.”

 4          411.    DEI metrics and activities were also included in all regular business reviews to gauge

 5   whether the Company was meeting its DEI goals. Wells Fargo’s Board and the HRC received regular

 6   reporting on the Company’s DEI initiatives, including updates on the Company’s progress and

 7   accomplishments across its DEI commitments and information related to talent acquisition and

 8   development and diversity reporting. Beginning in the fall of 2020, the full Board received DEI updates

 9   at each regularly scheduled Board meeting, including regarding the Company’s progress on its DEI

10   commitments. As demonstrated by the detailed allegations from Wells Fargo’s Board and Board

11   committee minutes, see supra § VI.B.8, each Demand Director knew or recklessly disregarded the true

12   facts in approving the false and misleading disclosures. The Demand Directors’ conscious disregard with

13   respect to the Company’s disclosures was bad faith, disloyal conduct. Such conduct cannot be exculpated

14   under Delaware law.      Accordingly, the Demand Directors’ conscious dissemination of false and

15   misleading disclosures creates a substantial likelihood of liability and a pre-suit litigation demand on the

16   Demand Board would have been a futile and useless act.

17          H.      Each Demand Director Has a Disabling Personal Interest Based on the
                    Operation of Wells Fargo’s D&O Insurance Policy
18
            412.    Wells Fargo’s annual report discloses that the Company maintains insurance coverage for
19
     legal actions. Given its size and frequent participation in litigation, Wells Fargo undoubtedly has D&O
20
     insurance that applies to the Demand Directors for the claims in this action. Standard D&O insurance
21
     policies contain provisions that eliminate coverage for any action brought by Wells Fargo against the
22
     Individual Defendants, known as the “insured versus insured exclusion.” As a result, if the Demand
23
     Directors were to sue themselves or certain of the officers of Wells Fargo, there would be no D&O
24
     insurance protection. By contrast, if the suit is brought derivatively, as this action is brought, such
25
     insurance coverage exists and will provide a basis for the Company to effectuate recovery. Therefore,
26

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 1   the Board cannot be expected to file the claims asserted in this derivative lawsuit because such claims

 2   would not be covered under Wells Fargo’s D&O insurance policy.

 3          I.      Demand Is Futile as to Scharf for Additional Reasons

 4          413.    Defendant Scharf has been Wells Fargo’s CEO and President and a member of the Board

 5   since October 2019. Demand is futile as to him under each of the three subparts of Delaware’s universal

 6   demand futility test.

 7          414.    First, Scharf received a personal benefit from the wrongful actions Plaintiffs challenge.

 8   His compensation was tied in part to the success of the Company’s diversity and inclusion efforts. As

 9   the 2022 Proxy reported at page 72: “In determining [Named Executive Officer] performance, the HRC

10   utilizes a performance assessment and variable incentive determination process that provides the HRC

11   with the ability to assess performance through the evaluation of pre-established financial and nonfinancial

12   goals, including risk and DE&I. For DE&I, the HRC evaluates the CEO’s progress on key Company-

13   wide DE&I priorities, and for other NEOs, the HRC uses progress on diverse representation and inclusion

14   across specific diversity dimensions of NEO leadership teams with potential adjustments to variable

15   incentive compensation based on a holistic assessment of progress in one or more diversity dimensions.”

16   Likewise, the 2021 Proxy reported at page 125 that, “[i]n assessing Mr. Scharf’s individual performance,

17   the Board considered, among other factors, his increased focus on advancing diversity, equity, and

18   inclusion, and his prioritization of progress on regulatory work.”         As a result of his supposed

19   extraordinary success in leading DEI initiatives, including the Diverse Search Requirement program,

20   Scharf received $5,365,854 in incentive-based compensation for 2021, and total compensation of

21   $21,350,906. From 2019 to 2021, Scharf received total compensation from Wells Fargo of $76,029,526.

22   The 2023 Proxy Statement identifies “ESG (including DE&I and Community Engagement)” as “a key

23   non-financial goal[]” in evaluating Scharf’s performance.

24          415.    Notably, in 2021, Wells Fargo implemented an extremely broad compensation clawback

25   policy. Pursuant to this policy, Wells Fargo can recoup compensation based on merely reputational

26   damage to the Company and/or failures of risk management. The clawback policy applies to all senior

27   executives and members of the Company’s Operating Committee, and thus applies to at least Defendants

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 1   Scharf and Powell. Demand is futile as to Scharf because instituting any action would jeopardize the

 2   lavish compensation Scharf received during the time of the discriminatory lending and hiring.

 3           416.   Second, Scharf faces a substantial likelihood of liability for breaching his duty of loyalty

 4   as a director. Among other things, and as described herein, he abdicated his responsibility to exercise

 5   proper oversight of Wells Fargo’s hiring and lending policies and practices and failed to implement

 6   adequate remedial measures and risk and compliance management programs related to those policies and

 7   practices. He also faces a substantial likelihood of liability for breaching his duty of loyalty and care as

 8   an officer. 285 As Company CEO, Scharf had direct oversight of the DEI programs that are at issue in this

 9   case. He was also responsible for ensuring that the Company’s disclosures were accurate. Scharf was

10   one of the Wells Fargo officers who received the September 7, 2021 Bruno email confirming the HR

11   practice of sham interviews. Scharf is a named defendant in the SEB Action, which alleges that he violated

12   Section 10(b) of the Exchange Act and Rule 10b-5 when he disseminated or approved the false and

13   misleading statements set forth above. Because pursuing Plaintiffs’ derivative claims would expose his

14   violations of the federal securities laws, Scharf is fatally conflicted and cannot render a disinterested

15   decision regarding these derivative claims.

16           417.   Third, Scharf lacks independence from others who have disabling conflicts concerning

17   these derivative claims. As explained in more detail herein Defendants Black, Chancy, Clark, Craver,

18   Davis, Hewett, Morken, Morris, Norwood, Payne, Sargent, and Vautrinot face a substantial likelihood of

19   liability for breaching their duty of loyalty. These Defendants are a supermajority of the Board. They

20   control Scharf’s compensation and can remove him from his position at the Company. Given his lavish

21   compensation—$24,500,000 in 2022 alone—Scharf lacks independence from the current Wells Fargo

22   Board. Unsurprisingly, Wells Fargo’s annual proxy statement filed on Form DEF 14A with the SEC on

23   March 15, 2023, admits Scharf lacks independence due to his employment with Wells Fargo. That

24   decision as to Scharf’s lack of independence was made by the Board itself.

25

26
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27       Wells Fargo’s certificate of incorporation exculpates directors from breaches of the duty of care, but
     it does not exculpate officers from breaches of the duty of care.
28
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            J.      Prior Courts Have Already Determined that Demand Is Futile Against
 1                  Certain of the Director Defendants on Related Issues
 2          418.    Judge Andrew Y.S. Cheng of the Superior Court of California, County of San Francisco
 3   Department 613, previously found demand on the Wells Fargo Board (which at the time included
 4   Defendants Scharf, Vautrinot, Clark, Sargent, Craver, Morris, Payne, and Hewett) excused because the
 5   Board faced a substantial likelihood of liability for their alleged breaches of fiduciary duty for abdicating
 6   their responsibility to exercise proper oversight to ensure the Company complied with the consent orders
 7   including by engaging in sustained, knowing inaction and ignoring red flags (the “2022 Consent Order
 8   Demand Futility Ruling”). Timothy Himstreet and Montini Family Trust v. Scharf, et. al., Case No. CGC-
 9   22-599223 (Cal. Super. Ct. Oct. 5, 2022).
10          419.    Moreover, Judge Jon S. Tigar, United States District Judge for the Northern District of
11   California, previously found demand excused on the Wells Fargo Board, which at the time included
12   Defendant Vautrinot related to derivative allegations that the Wells Fargo Board “knew or consciously
13   disregarded that Wells Fargo employees were illicitly creating millions of deposit and credit card
14   accounts for their customers, without those customers’ knowledge or consent.” Shaev v. Baker, No. 16-
15   cv-05541-JST (N.D. Cal. May 4, 2017). In finding demand on the Wells Fargo Board futile, Judge Tigar
16   explained that: “the abundance of particularized allegations in the Consolidated Complaint support an
17   inference that a majority of the Director Defendants—and in particular those Director Defendants who
18   were on the risk committee, audit and examination committee [which included Defendant Vautrinot], and
19   corporate responsibility committee—knew about widespread illegal activity and consciously disregarded
20   their fiduciary duties to oversee and monitor the company.”
21
            K.      Demand on the Board Is Futile for the Securities Claims Against the
22                  Officer Defendants Because Such Investigation or Litigation Would
                    Implicate the Director Defendants’ Own Wrongdoing
23

24          420.    As explained above, Wells Fargo issued numerous false and misleading disclosures about

25   its discriminatory practices during the Relevant Period.

26          421.    The Wells Fargo Directors were responsible for the Company’s public disclosures. Each

27   Demand Director had control over or approved one or more of the false and misleading statements

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 1   concerning the discriminatory hiring practices alleged herein, including the false statements that implicate

 2   or were made by the Officer Defendants. For example, Defendant Powell signed a letter that was included

 3   in Wells Fargo’s 2020 Social Impact and Sustainability Highlights, which included false statements. See

 4   ¶¶ 230-231. Defendant Sanchez gave an October 7, 2021 interview describing the Company’s diverse

 5   hiring programs, which included false statements. See ¶¶237-239. Defendant Santos provided Business

 6   Insider with false statements in May of 2022 that related to the Company’s diverse hiring programs. See

 7   ¶¶252-254. Defendant Santos made additional false statements related to the Company’s diverse hiring

 8   programs in the 2022 DE&I Report (¶¶255-257) and on June 3, 2022 in a Business Insider article. See

 9   ¶¶259-261. The Court has found that each of the statements referenced above are actionable. See ECF

10   No. 176 at 40.

11          422.      Each of these false statements, made by Officer Defendants, implicates and is intertwined

12   with the same facts and allegations concerning the Director Defendants’ liability for false and misleading

13   statements concerning the Company’s diverse hiring programs. Therefore, the factual allegations and

14   false statements are congruous, and the analysis of the claims against the Officer Defendants tread the

15   same path as the claims against the Director Defendants. As such, the false and misleading statements

16   alleged above create a substantial likelihood of liability for the Officer Defendants who made or were

17   responsible for the statements and the Director Defendants who were responsible for the Company’s

18   public disclosures.

19          423.      Accordingly, each Demand Director cannot impartially consider a demand to investigate

20   the securities claims asserted against the Officer Defendants in Counts II, III, and IV. In other words, the

21   Director Defendants could not bring their business judgment to bear on a demand to investigate or

22   prosecute any securities claims against the Officer Defendants because such litigation would implicate

23   their own wrongdoing. Therefore, a conflict exists, and a pre-suit litigation demand on the Demand Board

24   would have been futile and useless.

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 1   XI.     CLAIMS FOR RELIEF
                                               COUNT I
 2                                   BREACH OF FIDUCIARY DUTY
 3                              (AGAINST THE INDIVIDUAL DEFENDANTS)
             424.   Plaintiffs repeat and reallege each and every allegation contained above as though fully
 4
     set forth in this paragraph.
 5
             425.   As Wells Fargo’s directors and/or officers, the Individual Defendants owed Wells Fargo
 6
     the fiduciary duties of loyalty and care.
 7
             426.   The fiduciary duties the Individual Defendants owed to Wells Fargo included, without
 8
     limitation, implementing and overseeing a system of internal controls to monitor, detect and prevent the
 9
     illegal redlining and discriminatory hiring practices alleged herein. The Individual Defendants duty of
10
     loyalty required them to make good faith efforts to ensure that the Company’s policies, procedures, and
11
     practices did not systematically discriminate against or otherwise result in unfair treatment of minority
12
     customers, prospective customers, company employees and applicants for hire.
13
             427.   The Individual Defendants consciously breached their fiduciary duties and violated their
14
     corporate responsibilities in at least the following ways:
15
                    a.      despite knowing that racial discrimination, particularly in the areas of lending and
16
     hiring, is and has been illegal, harmful, and financially devasting to Black Americans and other minority
17
     groups, they consciously and repeatedly failed to ensure that the Company’s reporting systems were
18
     adequately designed to detect systemic discriminatory practices such as redlining and sham interviews
19
     thus disabling them from being informed of risks or problems requiring their attention;
20
                    b.      consciously disregarding their duty to investigate red flags and to remedy any
21
     misconduct uncovered; and
22
                    c.      consciously issuing false and misleading statements to stockholders, including in
23
     the Company’s 2021 and 2022 Proxy Statements.
24
             428.   The conduct of the Individual Defendants, individually and collectively, as set forth
25
     herein, was due to their conscious intentional, knowing, and/or reckless disregard for the fiduciary duties
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     owed to the Company.
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 1          429.    The Individual Defendants consciously turned a blind eye to the fact that they were not

 2   receiving relevant data or reports that would have placed them on notice of the Company’s discriminatory

 3   practices in lending and hiring. The Individual Defendants, consistent with their fiduciary duties, were

 4   required to implement and monitor policies and systems to monitor such illegal conduct.

 5          430.    The Individual Defendants had actual or constructive knowledge that they caused the

 6   Company to fail to maintain adequate internal controls and failed to provide adequate oversight to protect

 7   the Company from liability related to the Company’s unlawful discriminatory practices.

 8          431.    These actions were not good-faith exercises of prudent business judgment to protect and

 9   promote the Company’s corporate interests and those of its stockholders.

10          432.    As a direct and proximate result of the Individual Defendants’ conscious failure to perform

11   their fiduciary duties, Wells Fargo has sustained significant damages, both financially and to its corporate

12   image and goodwill. Such damages to Wells Fargo include, and will include, substantial risk of liability,

13   legal costs, increased regulatory scrutiny, reputational damages, declining customer base, declining

14   revenue, declining stock price, increased cost of capital, and other costs, damages and liabilities.

15          433.    For their conscious and bad faith misconduct alleged herein, the Individual Defendants

16   are liable to the Company.

17          434.    In addition, the Director Defendants have further breached their fiduciary duties by

18   deciding not to exercise the HRC’s and Board’s authorities and responsibilities under the Clawback

19   Policy to claw back, forfeit, and recover the executive compensation of Defendants Scharf, Santos, Mack,

20   Powell, and others—to the extent that compensation was earned as a result of misconduct and failures in

21   risk management resulting in discriminatory hiring practices and sham interviews—the Director

22   Defendants have caused the Company to waste its valuable corporate assets by paying Scharf, Santos,

23   Mack, Powell, and others highly wasteful executive compensation and allowing them to retain that

24   compensation despite the misconduct and failures in risk management that led to the Company’s

25   discriminatory hiring practices, including sham interviews.

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                                          COUNT II
 1                  VIOLATION OF SECTION 10(B) OF THE EXCHANGE ACT AND
 2                       SEC RULE 10B-5 PROMULGATED THEREUNDER
                                   (AGAINST DEFENDANTS)
 3
            435.    Plaintiffs incorporate by reference and reallege each and every allegation contained above,
 4
     as though fully set forth in this paragraph.
 5
            436.    During the Relevant Period, Defendants disseminated or approved false or misleading
 6
     statements about Wells Fargo related to its discriminatory practices, which they knew or recklessly
 7
     disregarded were false or misleading and were intended to deceive, manipulate, or defraud. Those false
 8
     or misleading statements and Defendants’ course of conduct were designed to artificially inflate the price
 9
     of the Company’s common stock.
10
            437.    At the same time that the price of the Company’s common stock was inflated due to the
11
     false or misleading statements made by Defendants, Defendants caused the Company to repurchase more
12
     than $7 billion of shares of its own common stock at prices that were artificially inflated due to
13
     Defendants’ false or misleading statements.
14
            438.    Defendants violated Section 10(b) of the Exchange Act and SEC Rule 10b-5 in that they
15
     (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of material facts or
16
     omitted to state material facts necessary in order to make the statements made, in light of the
17
     circumstances under which they were made, not misleading; and/or (c) engaged in acts, practices, and a
18
     course of business that operated as a fraud or deceit upon Wells Fargo in connection with the Company’s
19
     purchases of its stock during the Relevant Period.
20
            439.     Defendants, individually and in concert, directly and indirectly, by the use of means or
21
     instrumentalities of interstate commerce or of the mails; (a) engaged and participated in a continuous
22
     course of conduct that operated as a fraud and deceit upon the Company; (b) made various false or
23
     misleading statements of material facts and omitted to state material facts necessary in order to make the
24
     statements made, in light of the circumstances under which they were made, not misleading; (c) made the
25
     above statements intentionally or with a severely reckless disregard for the truth; and (d) employed
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     devices and artifices to defraud in connection with the purchase and sale of Wells Fargo stock, which
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     were intended to, and did, (a) deceive Wells Fargo regarding, among other things, the Company’s lack
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 1   of internal controls to monitor, detect and prevent illegal redlining and hiring practices; (b) artificially

 2   inflate and maintain the market price of Wells Fargo stock.

 3          440.    Defendants were among the senior management and the directors of the Company, and

 4   were therefore directly responsible for, and are liable for, all materially false or misleading statements

 5   made during the Relevant Period, as alleged above.

 6          441.    As described above, Defendants acted with scienter throughout the Relevant Period, in

 7   that they acted either with intent to deceive, manipulate, or defraud, or with recklessness.           The

 8   misstatements and omissions of material facts set forth in this Second Amended Complaint were either

 9   known to Defendants or were so obvious that Defendants should have been aware of them. Throughout

10   the Relevant Period, Defendants also had a duty to disclose new information that came to their attention

11   and rendered their prior statements to the market materially false or misleading.

12          442.    As a direct and proximate result of Defendants’ wrongful conduct, the Company suffered

13   damages in connection with its purchases of Wells Fargo stock during the Relevant Period. By reason of

14   such conduct, Defendants are liable to the Company pursuant to Section 10(b) of the Exchange Act and

15   SEC Rule 10b-5.

16          443.    Plaintiffs brought this claim within two years of their discovery of the facts constituting

17   the violation and within five years of the violation.
                                                     COUNT III
18                     VIOLATION OF SECTION 20(A) OF THE EXCHANGE ACT
19                              (AGAINST THE INDIVIDUAL DEFENDANTS)
            444.    Plaintiffs incorporate by reference and reallege each and every allegation contained above,
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     as though fully set forth in this paragraph.
21
            445.    During their tenures as officers and/or directors of Wells Fargo, each of these Defendants
22
     was a controlling person of the Company within the meaning of Section 20(a) of the Exchange Act. By
23
     reason of their positions of control and authority as officers and/or directors of Wells Fargo, these
24
     Defendants had the power and authority to direct the management and activities of the Company and its
25
     employees, and to cause the Company to engage in the wrongful conduct complained of herein. These
26
     Defendants were able to and did control, directly and indirectly, the content of the public statements made
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 1   by Wells Fargo, including its materially misleading 2021 and 2022 proxy statements, thereby causing the

 2   dissemination of the false and misleading statements and omissions of material facts as alleged herein.

 3          446.    As set forth above, Wells Fargo violated Section 10(b) of the Exchange Act by its acts and

 4   omissions as alleged in this Second Amended Complaint. By virtue of their positions as controlling

 5   persons of Wells Fargo and as a result of their own aforementioned conduct, the Individual Defendants

 6   are liable pursuant to Section 20(a) of the Exchange Act, jointly and severally. Moreover, as detailed

 7   above, during the respective times these Defendants served as officers and/or directors of Wells Fargo,

 8   each of these Defendants was culpable for the material misstatements and omissions made by Wells

 9   Fargo, including such misstatements as the Company’s misleading 2021 and 2022 proxy statements, as

10   set forth above.

11                                            COUNT IV
                                   VIOLATION OF § 20A OF THE 1934 ACT
12                                        (AGAINST SANTOS)
13          447.    Plaintiffs incorporate by reference and reallege each and every allegation contained above,
14   as though fully set forth in this paragraph.
15          448.    While Wells Fargo securities traded at artificially inflated and distorted prices, Defendant
16   Santos personally profited by selling 22,700 shares of Wells Fargo common stock on May 3, 2022—
17   while he was in possession adverse, material non-public information about the Company—for proceeds
18   of more than $1 million.
19          449.        By contrast, Wells Fargo was contemporaneously repurchasing shares during this same
20   period. According to public filings, during May 2022 the Company repurchased 25,465,000 shares of
21   Wells Fargo common stock.
22          450.    Wells Fargo suffered damages because: (a) in reliance on the integrity of the market,
23   Wells Fargo paid artificially inflated prices as a result of Defendants’ violations of §§ 10(b) and 20 (a) of
24   the 1934 Act as alleged herein; and (b) Wells Fargo would not have repurchased its shares at the same
25   prices if had been aware that the market for Wells Fargo stock had been artificially inflated by the false
26   and misleading statements and omissions alleged herein.
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 1            451.   By reason of the foregoing, Defendant Santos violated §20A of the 1934 Act and is liable

 2   to Wells Fargo for the substantial damages the Company sustained in connection with its purchases of

 3   Wells Fargo common stock during the Relevant Period.

 4   XII.     PRAYER FOR RELIEF

 5            WHEREFORE, Plaintiffs respectfully pray for judgment in the form of an order:

 6            A.     Declaring that Plaintiffs may maintain this action on behalf of Wells Fargo and that

 7   Plaintiffs are adequate representatives of the Company;

 8            B.     Declaring that Defendants have breached their fiduciary duties to Wells Fargo;

 9            C.     Determining and awarding to Wells Fargo the damages sustained as a result of the

10   violations set forth above by all Defendants, jointly and severally, together with pre-judgment and post-

11   judgment interest thereon;

12            D.     Directing Wells Fargo to take all necessary actions to reform and improve its corporate

13   governance, internal controls, and policies by implementing a Board-level reporting and information

14   system—and to monitor that system—to ensure that the Company addresses redlining in any form,

15   including digital or algorithmic redlining, and the discriminatory hiring practices alleged herein, and any

16   other civil and criminal laws relating to racial discrimination in lending and hiring;

17            E.     Awarding against all Defendants and in favor of the Company extraordinary equitable and

18   injunctive relief as permitted by law and/or equity as this Court deems just and appropriate;

19            F.     Awarding Plaintiffs’ costs and disbursements for this action, including reasonable

20   attorneys’ fees and expenses; and

21            G.     Granting such other relief as this Court deems just and appropriate.

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 1   XIII. JURY DEMAND

 2        Plaintiffs demand a trial by jury of all issues so triable.

 3
     Dated: October 3, 2024                            Respectfully submitted,
 4

 5                                                     COTCHETT, PITRE & MCCARTHY LLP

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                                                        VERIFICATION

            City of Pontiac Reestablished General Employees’ Retirement System

            I, Sheldon Albritton, do hereby declare:

                     1.      I am the Chairman and a duly recognized agent and representative for City of

            Pontiac Reestablished General Employees’ Retirement System (the “Fund”), located in Auburn

            Hills, MI.

                     2.      I verify that I have reviewed the Second Amended Consolidated Stockholder

            Derivative Complaint (the “Complaint”) to be filed in this action and that the facts stated in the

            Complaint, as they concern the Fund, are true to my personal knowledge. I believe the facts

            pleaded in the Complaint on information and belief or investigation of counsel are true.

                     3.      The Fund has not received, been promised or offered, and will not accept any form

            of compensation, directly or indirectly, for prosecuting this action or serving as a representative

            party in this action except: (i) such fees, costs, or other payments as the Court expressly approves

            to be paid to the Fund; or (ii) reimbursement, by its attorneys, of actual and reasonable out-of-

            pocket expenditures incurred directly in connection with the prosecution of this action.

                     I declare under penalty of perjury that the foregoing is true and correct.

                                      2 day of October, 2024
                     Executed on the ____




                                                             Sheldon Albritton
                                                             Chairman
                                                             City of Pontiac Reestablished General Employees’
                                                             Retirement System
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